             CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 1 of 129




                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MINNESOTA

ERIC MACKIE, JOSHUA BIGGS, and                  Civ. No.: 0:22-cv-00736
RUTH MATTISON, individually and on
behalf of others similarly situated,
                                                           CLASS ACTION

                  Plaintiffs,

           vs.                                    CLASS ACTION COMPLAINT
                                                     AND JURY DEMAND
AMERICAN HONDA MOTOR CO.,
INC. and HONDA MOTOR COMPANY,
LTD.,


                            Defendants.

      Plaintiffs Eric Mackie, Joshua Biggs, and Ruth Mattison bring this action

against Defendants American Honda Motor Co., Inc. and Honda Motor Company,

LTD. (“Defendants” or “Honda”), by and through their attorneys, individually and

behalf of all others similarly situated, and allege as follows:

                                  INTRODUCTION

      1.     This is a class action lawsuit brought by Plaintiffs on behalf of

themselves and a class of current and former Honda vehicle owners and lessees of

model years (“MY”) 2019-2021 Honda CR-V and Civic vehicles and MY2018-

2021 Accord vehicles equipped with “Earth Dreams” 1.5L direct injection engines




                                          -1-
              CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 2 of 129




(the “Class Vehicles” or “Vehicles”).1

       2.      This action arises from Honda’s failure, despite its longstanding

knowledge of this material and manufacturing defect, to disclose to Plaintiffs and

other consumers that the Class Vehicles are predisposed to an engine defect that

causes fuel contamination of the engine oil, resulting in oil dilution, decreased oil

viscosity, premature wear and ultimate failure of the engines, engine bearings and

other internal engine components and an increased cost of maintenance (the “Engine

Defect”). Such premature failures can also result in stalling events and other

dangerous situations for Class Vehicle occupants and others on the road.

       3.      Significantly, and as a result of the Engine Defect, the engine oil within

the Class Vehicles will lose its original viscosity, meaning the lubricating properties

of the engine oil diminish and become less capable of withstanding the higher loads

of an internal combustion engine. This can result in contact between metal surfaces

within the engine, leading to rapid wear of internal bearings, the rotating assembly

and other internal parts that rely on lubrication to function correctly.

       4.      Not only did Honda actively conceal the fact that the Class Vehicles’

engines were defective (and require costly repairs to fix), it did not reveal that the

existence of this defect would diminish the intrinsic and resale value of the Class



1
 Plaintiffs reserve the right to amend or add to the vehicle models included in the definition of
Class Vehicles after conducting discovery.


                                               -2-
            CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 3 of 129




Vehicles.

      5.     Honda has long been aware of the Engine Defect. Despite its

longstanding knowledge of this defect, Honda has failed to adequately repair the

Class Vehicles when the defect manifests.

      6.     Many owners and lessees of Class Vehicles have communicated with

Defendants and their agents to request that Honda remedy and/or address the

Engine Defect and resultant damage at no expense. Defendants have failed and/or

refused to do so – often conveying to Vehicle owners and lessees that Class

Vehicles are operating as intended and therefore cannot be repaired under warranty

or otherwise.

      7.     For customers whose Vehicles are within the Powertrain Limited

Warranty period (which extends for the shorter of five years or 60,000 miles),

Honda has done nothing to address or correct the Engine Defect when it manifests

in the Class Vehicles. Instead, Honda has blamed Class members for not driving

the Class Vehicles for longer distances.

      8.     In or around June 2019, Defendants extended the factory warranty on

more than 1 million Honda CR-V (MY 2017-2018) and Honda Civic (MY 2016-

2018) vehicles after reports of gasoline mixing with engine oil in those vehicles

(also equipped with the 1.5L direct injection “Earth Dreams” engines). The oil

dilution problem in those vehicles “raised concerns about the durability of the 1.5-



                                           -3-
             CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 4 of 129




liter turbo engine and about the vehicles potentially stalling, especially in cold

weather.”2 As a result, Defendants provided owners of these vehicles with an extra

one-year of warranty coverage on certain powertrain components (including the

camshaft, rocker-arm assemblies, and spark plugs) with no mileage limitations

(herein, the “Extended Warranty”).

       9.     Despite notice and knowledge of the Engine Defect from the

numerous consumer complaints it has received, information received from Honda

dealerships, pre-sale durability testing, National Highway Traffic Safety

Administration (“NHTSA”) complaints, and its own internal records, Honda has

not recalled the Class Vehicles to repair the Engine Defect, offered its customers a

suitable repair or replacement free of charge, or offered to reimburse its customers

who have incurred out-of-pocket expenses to repair the Engine Defect.

       10.    As a result of Honda’s unfair, deceptive and/or fraudulent business

practices, owners and/or lessees of Class Vehicles, including Plaintiffs, have

suffered an ascertainable loss of money and/or property and/or loss in value. The

unfair and deceptive trade practices committed by Honda were conducted in a

manner giving rise to substantial aggravating circumstances.

       11.    Had Plaintiffs and other Class members known about the Engine



2
  https://www.consumerreports.org/car-recalls-defects/honda-extends-warranty-on-troubled-
turbo-engines/ (last visited Mar. 21, 2022).


                                            -4-
             CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 5 of 129




Defect at the time of purchase or lease, they would not have purchased or leased

the Class Vehicles, or would have paid substantially less for the Class Vehicles.

      12.    As a result of the Engine Defect and the considerable monetary costs

associated with attempting to repair such defect, Plaintiffs and Class members have

suffered injury in fact, incurred damages and have otherwise been harmed by

Honda’s conduct.

      13.    Accordingly, Plaintiffs bring this action to redress Honda’s violations

of the Minnesota Prevention of Consumer Fraud Act, Colorado Consumer

Protection Act, and Illinois Consumer Fraud and Deceptive Business Practices Act,

and also to seek recovery for Honda’s breach of express warranty, breach of

implied warranty, common law fraud, breach of the covenant of good faith and fair

dealing and, alternatively, unjust enrichment.

                          JURISDICTION AND VENUE

      14.    This Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. §1332 of the Class Action Fairness Act of 2005 because: (i) there are

100 or more class members, (ii) there is an aggregate amount in controversy

exceeding $5,000,000, exclusive of interest and costs, and (iii) there is minimal

diversity because at least one plaintiff and one defendant are citizens of different

states. This Court has supplemental jurisdiction over the state law claims pursuant

to 28 U.S.C. § 1367.



                                         -5-
              CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 6 of 129




       15.    Venue is proper in this judicial district pursuant to 28 U.S.C. §1391

because Honda transacts business in this district, is subject to personal jurisdiction

in this district, and therefore is deemed to be a citizen of this district. Additionally,

Honda has advertised in this district and has received substantial revenue and

profits from its sales and/or leases of Class Vehicles in this district; therefore, a

substantial part of the events and/or omissions giving rise to the claims occurred, in

part, within this district.

       16.    This Court has personal jurisdiction over Honda because it has

conducted substantial business in this judicial district, and intentionally and

purposefully placed Class Vehicles into the stream of commerce within the

districts of Minnesota and throughout the United States.

                                    THE PARTIES
Plaintiff Eric Mackie

       17.    Plaintiff Eric Mackie is a citizen of the State of Minnesota and resides

in Duluth, Minnesota.

       18.    In or around October 30, 2019, Plaintiff Mackie purchased new 2019

Honda CR-V with a 1.5T engine from Krenzen Auto, Inc., an authorized Honda

dealer and repair center located in Duluth, Minnesota.

       19.    Plaintiff Mackie purchased (and still owns) this vehicle, which is used

for personal, family and/or household uses. His vehicle bears Vehicle




                                          -6-
             CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 7 of 129




Identification Number 7FARW2H56KE052579.

      20.    On or about January 13, 2022, when his CR-V had 25,152 miles on

the odometer, he took his vehicle into the dealership for a routine oil change. The

technician noted the smell of gasoline in his oil and advised Plaintiff to call Honda

corporate, which he did on the same day. Honda advised Plaintiff Mackie to

perform a diagnosis on his vehicle.

      21.    On or about January 27, 2022, when his CR-V had 25,563 miles on

the odometer, he again brought his vehicle to the dealership. The technician noted

that the “[o]il level is 20mm over full due to fuel in oil,” as detailed in the below

service record. Recommending that the oil be changed, Plaintiff agreed and paid a

total of $42.57, exactly two weeks after his previous oil change, despite having

purchased an extended warranty for the vehicle.

      22.    Plaintiff Mackie was again advised to call Honda corporate, which he

did on the same day. Honda, however, stated there was nothing they could do. He

was not reimbursed for the oil change.

      23.    Plaintiff Mackie has suffered an ascertainable loss as a result of

Defendants’ omissions and/or misrepresentations associated with the Engine

Defect, including, but not limited to, out of pocket loss associated with the Engine

Defect and future attempted repairs and diminished value of his vehicle.

      24.    Neither Defendants, nor their agents, agents, dealers or other



                                         -7-
              CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 8 of 129




representatives informed Plaintiff of the existence of the Engine Defect prior to

purchase. Had Defendants disclosed the Engine Defect prior to Plaintiff’s

purchase, Plaintiff would not have purchased the vehicle, or would have paid

substantially less for it.

Plaintiff Joshua Biggs

       25.    Plaintiff Joshua Biggs is a citizen of the State of Colorado and resides

in Milliken, Colorado.

       26.    In or around February 16, 2019, Plaintiff Biggs purchased a new 2019

Honda CR-V with a 1.5L direct injected turbocharged engine from Frontier Honda

of Longmont (now d/b/a Fowler Honda of Longmont), an authorized Honda dealer

and repair center located in Longmont, Colorado.

       27.    Plaintiff Biggs purchased (and still owns) this vehicle, which is used

for personal, family and/or household uses. His vehicle bears Vehicle

Identification Number JHLRW2H59KX008242.

       28.    When Plaintiff Biggs’ vehicle reached approximately 5,000 miles, he

obtained an oil sample from it and sent it to a laboratory for testing. The laboratory

analysis revealed that it was diluted approximately 3% by gasoline and no longer

within appropriate oil viscosity specifications.

       29.    Due to the results of both this initial oil analysis and subsequent

analysis results, Plaintiff Biggs has adopted an earlier oil change interval than that



                                          -8-
             CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 9 of 129




provided by the vehicle’s on-board maintenance minder.

      30.    With each oil change, Plaintiff Biggs has obtained an oil sample for

laboratory analysis. The laboratory analysis has always revealed the presence of

gasoline, ranging from .5% to 3%.

      31.    Each time that Plaintiff Biggs has pulled a sample of his oil, he has

noticed that the oil smelled heavily of gasoline.

      32.    Additionally, Plaintiff Biggs has observed that the oil levels in his

vehicle often exceed the highest mark on his dipstick.

      33.    On or about August 5, 2019, Plaintiff Biggs brought his vehicle to

Greeley Honda to diagnose the cause of his oil dilution issue and to see if there

were any open service campaigns for his vehicle that could address the issue.

      34.    Greeley Honda did not offer Plaintiff Biggs a resolution, and provided

him with the contact information for American Honda Corporation.

      35.    On or about August 8, 2019, Plaintiff Biggs contacted American

Honda Corporation and was assigned Case # 09762043. Plaintiff Biggs provided

Honda with the results of his laboratory testing, but was not provided with a

resolution for his issue.

      36.    Plaintiff Biggs has suffered an ascertainable loss as a result of

Defendant’s omissions and/or misrepresentations associated with the Engine

Defect, including, but not limited to, out of pocket loss associated with the Engine



                                         -9-
             CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 10 of 129




Defect and future attempted repairs and diminished value of his vehicle.

       37.    Neither Defendants, nor their agents, agents, dealers or other

representatives informed Plaintiff of the existence of the Engine Defect prior to

purchase. Had Defendants disclosed the Engine Defect prior to Plaintiff’s

purchase, Plaintiff would not have purchased the vehicle, or would have paid

substantially less for it.

Plaintiff Ruth Mattison

       38.    Plaintiff Ruth Mattison is a citizen of the State of Illinois and resides

in Shorewood, Illinois.

       39.    On or around May 26, 2019, Plaintiff Mattison purchased a new 2019

Honda CR-V with a 1.5L 4-cylinder engine from Community Honda, an

authorized Honda dealer and repair center located in Orland Park, Illinois.

       40.    Plaintiff Mattison purchased this vehicle, which was used for

personal, family and/or household uses. Her vehicle bore Vehicle Identification

Number: 7FARW2H8XKE0120146.

       41.    Plaintiff Mattison’s husband routinely checked the vehicle’s oil level,

and noticed around the time of the first scheduled oil change that the oil level was

too high – approximately an inch above the highest mark on the dipstick.

       42.    Plaintiff Mattison’s husband also noted that the vehicle’s engine




                                         - 10 -
            CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 11 of 129




smelled like gasoline.

      43.    Plaintiff Mattison brought her vehicle to Community Honda, where

her oil level was checked. The service manager at Community Honda advised her

that the oil level was “fine” and that he did not smell gas. He asked another

employee to verify his conclusions. Community Honda did not offer Plaintiff

Mattison a resolution, but did change her vehicle’s oil.

      44.    Approximately two weeks after the service visit at Community

Honda, Plaintiff Mattison again experienced a high oil level in her vehicle and

smelled gasoline, so she returned to Community Honda. Again, she was not

offered a resolution.

      45.    Plaintiff Mattison then brought her vehicle to Joliet Honda, an

authorized Honda dealer and repair center located in Joliet, Illinois. She explained

the issue with her vehicle to a mechanic at Joliet Honda. The mechanic laughed at

her story and responded by saying, “We all know that there is an issue with a gas

smell in oil in CR-Vs.” The mechanic proceeded to measure her vehicle’s oil and

remarked that it was over-filled. He also remarked that Honda is aware of the oil

dilution issue, and that he could “go out in the lot and find a gas smell in every

2019 CR-V.” Joliet Honda did not offer her a resolution, but again changed her oil

for which it charged her the regular oil change fee.

      46.    Plaintiff Mattison subsequently brought her vehicle to Community



                                        - 11 -
             CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 12 of 129




Honda to attempt to have the oil dilution issue diagnosed, and was told by a Honda

mechanic, “Don’t worry, if your engine blows up, we will replace it for you.” That

scared her into thinking the car was unsafe so she decided to trade it in.

       47.    Based on the foregoing, Plaintiff Mattison traded in her vehicle in

February 2020, eight months after she purchased it, losing approximately $8,000 -

$10,000 as a result.

       48.    Plaintiff Mattison has suffered an ascertainable loss as a result of

Defendant’s omissions and/or misrepresentations associated with the Engine

Defect, including, but not limited to, out of pocket loss associated with the Engine

Defect and future attempted repairs and diminished value of her vehicle.

       49.    Neither Defendants, nor their agents, agents, dealers or other

representatives informed Plaintiff of the existence of the Engine Defect prior to

purchase. Had Defendants disclosed the Engine Defect prior to Plaintiff’s

purchase, Plaintiff would not have purchased the vehicle, or would have paid

substantially less for it.

Defendants

       50.    Defendants American Honda and Honda Motor Company are

automobile design, manufacturing, distribution, and/or servicing corporations

doing business within the United States. Furthermore, Defendants design,

manufacture, distribute, market, service, repair, sell and lease passenger vehicles,



                                         - 12 -
            CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 13 of 129




including the Class Vehicles.

      51.    Defendant Honda Motor Company, Ltd., 2-1-1, Minami-Aoyama,

Minato-ku, Tokyo 107-8556, Japan is an automobile design, manufacturing, sale,

leasing, distribution, and servicing corporation organized under the laws of Japan.

Honda Motor Company is the parent corporation of American Honda.

      52.    American Honda has its principal place of business at 1919 Torrance

Boulevard, Torrance, California 90501-2746.

      53.    Upon information and belief, Defendant Honda Motor Company

communicates with Defendant American Honda concerning virtually all aspects of

the Honda products it distributes within the United States.

      54.    Upon information and belief, the design, manufacture, distribution,

service, repair, modification, installation and decisions regarding the engines

within the Class Vehicles were performed exclusively by Defendants.

      55.    Upon information and belief, the design, manufacture, distribution,

service, repair, modification, installation and decisions regarding the engines

within the Class Vehicles were performed exclusively by Honda.

      56.    Upon information and belief, Honda develops the owner’s manuals,

warranty booklets and information included in maintenance recommendations

and/or schedules for the Class Vehicles.

      57.    Defendants American Honda and Honda Motor Company engage in



                                        - 13 -
            CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 14 of 129




continuous and substantial business in Minnesota.

                 TOLLING OF STATUTES OF LIMITATION

      58.    Any applicable statute(s) of limitations has been tolled by Honda’s

knowing and active concealment and denial of the facts alleged herein. Plaintiffs

and members of the Class could not have reasonably discovered the true, latent

defective nature of the Engine Defect until shortly before this class action litigation

was commenced.

      59.    Honda was and remains under a continuing duty to disclose to

Plaintiffs and members of the Class the true character, quality and nature of the

Class Vehicles and that it will require costly repairs and diminishes the resale value

of the Class Vehicles. As a result of the active concealment by Honda, any and all

applicable statutes of limitations otherwise applicable to the allegations herein

have been tolled.

                           FACTUAL ALLEGATIONS

A.    The Engine Defect within the Class Vehicles.

      60.    The Honda CR-V was introduced in the United States in 1996. Honda

first introduced the Earth Dreams 2.4L engine in the model year 2015 CR-V.

Production of the fifth-generation CR-V began in late 2016, with sales beginning

on or about December 21, 2016 as a 2017 model year. The MY 2019 CR-V

vehicles were offered in “EX”, “EX-L” and “Touring” trim levels and came



                                        - 14 -
             CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 15 of 129




standard with the 1.5L turbocharged Earth Dreams engine, while the “LX” trim

level came standard with the 2.4L Earth Dreams engine. The MY 2020-2021 CR-

V vehicles were also offered in “EX”, “EX-L”, “Touring” and “LX” trim levels,

and all came equipped with the 1.5L turbocharged Earth Dreams engine.

       61.    The Honda Civic was introduced in the United States in 1972. The

tenth-generation Civic sedan, the subject of this matter, was first unveiled in

September 2015, for the 2016 model year. The MY 2019-21 Civic vehicles were

offered in “EX”, “EX-L”, “Touring,” and “Sport Touring” trim levels and came

standard with the 1.5L turbocharged Earth Dreams engine, while the “LX” and

“Sport” trims came standard with the 2.0L Earth Dreams engine.

       62.    The Honda Accord was introduced in the United States in 1976. The

tenth-generation Accord sedan, the subject of this matter, was first unveiled in July

2017 for the 2018 model year. The MY2018-2021 Accord vehicles were offered in

“LX 1.5T”, “Sport 1.5T”, “EX 1.5T”, and “EX-L 1.5T” levels and came standard

with the 1.5L turbocharged Earth Dreams engine, while the “Sport 2.0T”, “EX-L

2.0T”, and “Touring 2.0T” trims came standard with the 2.0L Earth Dreams

engine.3

       63.    Earth Dreams Technology is Honda’s latest generation of engines


3
  The MY2018 Accord also included the “Touring 1.5T” trim level, and the MY2021 Accord
replaced the EX 1.5T with the “Sport Special Edition 1.5T” trim level, and also did not include
the “EX-L 2.0T” trim.


                                             - 15 -
            CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 16 of 129




which attempt to increase fuel-efficiency and reduce environmental impact. Honda

attempts to accomplish these goals in the Class Vehicles by employing variable

timing control, direct injection technology and use of an Atkinson cycle. Upon

information and belief, Honda has also implemented extensive friction reduction

measures in the Class Vehicles, including reduced tension piston and oil control

rings. The below picture depicts the 1.5L Earth Dreams engine contained in the

Class Vehicles.




      64.   As background, the engines contained in the Class Vehicles use four

reciprocating pistons to convert pressure into a rotating motion. Gasoline is mixed

with air in the combustion chambers of the engine. To generate such rotating



                                       - 16 -
            CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 17 of 129




motion, a four-step sequence is used (the “Combustion Cycle”). First, the intake

stroke begins with the inlet valve opening and a vaporized fuel mixture is pulled

into the combustion chamber. Second, in most vehicles the compression stroke

would begin with the inlet valve closing and the piston beginning its movement

upward, compressing the fuel mixture in the combustion chamber. However, in

the Class Vehicles, the Atkinson cycle modifies that process by leaving the intake

valve open for the first moments of the compression stroke, as the piston travels

toward top dead center, which effectively lowers the compression ratio and reduces

the force on the piston during the power stroke. Third, the power stroke begins

when the spark plug ignites the fuel mixture, expanding the gases and generating

power that is transmitted to the crankshaft. And fourth, the exhaust stroke begins

with the exhaust valve opening and the piston moving back up, forcing the exhaust

gases out of the cylinder. The exhaust valve then closes, the inlet valve opens, and

the Combustion Cycle repeats itself. A diagram of a Combustion Cycle is below:




                                       - 17 -
            CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 18 of 129




      65.    The engines in the Class Vehicles utilize fuel injectors mounted on the

cylinder head, rather than on the intake manifold as in traditional engine

applications. This fuel delivery method in the Class Vehicles is known as gasoline

direct injection (“GDI”) whereby fuel is injected at a very high pressure directly

into the combustion chamber rather than through the intake manifold.

      66.    Because of the high fuel pressures required for the GDI system in the

Class Vehicles, some of the fuel injected into the combustion chamber remains

unburned. The unburned mixture of air and gasoline is then pulled down by the

piston, slipping by the piston and oil control rings, and goes directly into the

crankcase, which is the protective cover that insulates the crankshaft. This is

commonly referred to as “blow-by” and it is undesirable because the unburned

gasoline in the mixture enters the engine’s crankcase and can significantly



                                        - 18 -
            CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 19 of 129




contaminate the engine oil contained in the oil pan. Once blow-by occurs, the fuel

dilutes the lubricity and viscosity of the engine oil, attacking engine bearings, the

valve train, fuel injectors and cylinder walls. Additionally, the oil dilution will

cause the oil level in the crankcase of the Class Vehicles to increase.

      67.    To reduce the risk of crankcase contamination and improve vehicle

emissions, the positive crankshaft ventilation (“PCV”) system was invented in the

early 1960s. The PCV system involves the recycling of these unwanted gases

through a valve (the “PCV valve”) and circulates them back into the intake

manifold, where they are pumped back into the cylinders for another chance at

being burned during the combustion cycle. A diagram of a typical PCV system is

below:




                                         - 19 -
            CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 20 of 129




      68.    In the Class Vehicles, the PCV system is simply inadequate to prevent

and address contamination of the crankcase. This is because the volume of

contamination is so massive due to, inter alia, (1) the increased amount of

unburned fuel in the combustion chamber due to the high fuel pressures of the GDI

system; and (2) increased blow-by as a result of the reduced piston and oil control

ring tensions in an effort to decrease overall friction within the engine in the hopes

of gaining greater miles per gallon (“MPG”).

      69.    In the Class Vehicles, the engine pistons are connected to the

crankshaft via the connecting rods. As the connecting rods move up and down

during the Combustion Cycle, this causes the crankshaft to rotate, ultimately



                                        - 20 -
            CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 21 of 129




resulting in power to the drive wheels of the vehicle. During this cycle, the

crankshaft rotates many thousands of times per minute within each connecting rod.

In order to reduce friction and prolong longevity, it utilizes a bearing placed

between each connecting rod and multiple crankshaft surfaces. As a result, the

connecting rod bearings allow the crankshaft to rotate within the connecting rods

during the Combustion Cycle. An exemplar diagram of the piston, connecting rod,

connecting rod bearing and crankshaft is shown below:




                                        - 21 -
            CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 22 of 129




      70.    When the Class Vehicles are in operation, engine oil is used to

lubricate the piston, cylinder wall, connecting rod bearings, main bearings and

other rotating and moving components as the pistons move up and down through

the four-stroke sequence. Engine oil is necessary to reduce wear on the moving

parts throughout the engine, to improve sealing, and to cool the engine by carrying

away heat from the moving parts. Engine oil also cleans and transports

contaminants away from the engine to the engine oil filter. Oil is pumped and

pressurized throughout the engine by the oil pump. The oil pump draws oil from

the oil pan, located underneath the pistons and crankshaft. The oil pump forces

engine oil through the oil filter and then through passages in the engine to properly

lubricate and reduce friction in internal moving engine components. The oil then



                                        - 22 -
            CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 23 of 129




returns to the oil pan through small drainage holes located throughout the engine

where it will be recirculated by the oil pump. Below is a diagram illustrating the

typical path and channels of engine oil lubrication in an overhead cam engine:




      71.    The Engine Defect inherent in the Class Vehicles results in the build-

up of non-combusted fuel within the engine’s oiling system. As the fuel builds up

within the oiling system, the engine oil is diluted and begins to lose its lubricating

properties. This fuel-contaminated engine oil no longer properly coats the bearing

surfaces, compromising the integrity of the oil barrier between the bearings and the

corresponding metal parts which they are designed to protect. When the Engine

Defect manifests, it results in excessive and frequent contact between the

connecting rods and connecting rod bearings, as well as the crankshaft and main

bearings. This contact causes accelerated wear within the engine and on the

bearing surfaces in the Class Vehicles.

                                          - 23 -
            CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 24 of 129




      72.    Additionally, the Engine Defect causes the crankcase of the Class

Vehicles to become overfilled with fuel-contaminated oil. As a result, the engine

oil level can come in contact with the crankshaft. When this happens, engine oil is

turned (or aerated) by the crankshaft thereby becoming oxygenated and of a foamy

quality. This oxygenated oil mixture fails to lubricate effectively and will often

result in overheating as well as damage to the engine’s moving parts. In some

cases, there may even be a loss of oil pressure since aerated oil can result in oil

pump cavitation. Per the below diagrams from the Owner’s Manual of a Class

Vehicle, Honda is well aware that excessive oil in the crankcase will result in

damage to the Class Vehicles:4




4
 http://techinfo.honda.com/rjanisis/pubs/OM/AH/ATLA1919OM/enu/ATLA1919OM.PDF (last
visited Mar. 21, 2022).


                                         - 24 -
             CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 25 of 129




      73.    In addition, the Class Vehicles’ Owner’s Manuals warn: “If you drive

the vehicle with insufficient or deteriorated oil, the engine may fail or be

damaged.”5



5
 http://techinfo.honda.com/rjanisis/pubs/OM/AH/ATLA1919OM/enu/ATLA1919OM.PDF, at
570 (last visited Mar. 21, 2022).


                                        - 25 -
             CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 26 of 129




       74.    Regardless of this known risk, Honda instructs Class Members to

continue to drive their Class Vehicles and simply change the engine oil more

frequently, in some instances recommending class members change their Vehicle’s

oil every 500 miles. Once oil dilution occurs, many Class Vehicles will also

require replacement of fouled spark plugs and even fuel injectors along with risk of

camshaft, rocker-arm assembly, and engine damage. This results in a previously

undisclosed increase in the cost of maintenance for Class members due to the

Engine Defect. Additionally, this results in a greater impact on the environment

due to the necessary and frequent disposal of contaminated engine oil due to the

Engine Defect.

B.     Honda’s Knowledge of the Engine Defect

       75.     After numerous reports of high engine oil levels and fuel smells

reported by Honda customers in northern China, where cooler temperatures are

common, Honda ordered a recall of 350,000 vehicles in February 2018.

       76.    In approximately March 2018, Honda halted the sales of certain CR-V

vehicles in China, after a Chinese watchdog agency rejected Honda’s plan to recall

the vehicles to attempt to fix the Engine Defect.6 “The company needs to improve

the recall plans further,” the watchdog said, suggesting that Honda could extend



6
 https://www.reuters.com/article/us-honda-china-recall/honda-stops-selling-new-cr-vs-in-china-
after-recall-plan-rejected-idUSKCN1GE1P8 (last visited Mar. 21, 2022).


                                            - 26 -
                CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 27 of 129




the warranty coverage period of the affected vehicles.7 Until a new recall is agreed

upon, Honda issued a stop-sale on all new CR-Vs in China.

          77.   Similarly, on February 28, 2018, Honda Canada, Inc. sent a notice to

its Canadian dealerships regarding complaints of misfires and oil pressure

warnings in the Class Vehicles. Honda Canada further advised that these issues

have “been associated with high engine oil level due to fuel or water

contamination.” A copy of this notice is below:




          78.   In an October 2018 memo sent to Honda dealerships in the United

States, “Honda’s manager of auto campaigns and recalls, Brad Ortloff, said oil in

these engines could be diluted because of software settings or potential hardware


7
    Id.


                                         - 27 -
                CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 28 of 129




failures. Some vehicles could experience a lack of power, leading to cylinder

misfires or engine noise.”8

          79.   The October 2018 memo explained that “[i]n some extreme cold

weather states, CR-Vs driven on very short drive cycles may experience engine oil

dilution. In some cases, this may result in increased oil level and can cause a

misfire: DTC P0300 (random misfire detected), P0301 (No. 1 cylinder misfire

detected), P0302 (No. 2 cylinder misfire detected), P0303 (No. 3 cylinder misfire

detected), P0304 (No. 4 cylinder misfire detected), or P0172 (fuel system too

rich).9

          80.   In or around June 2019, Honda extended the factory warranty on more

than 1 million CR-V (MY 2017-2018) and Civic (MY 2016-2018) vehicles in the

United Sates after reports of gasoline mixing with engine oil in those vehicles

which also contained the 1.5L direct injection “Earth Dreams” engine. The oil

dilution problem in those vehicles “raised concerns about the durability of the 1.5-

lited turbo engine and about the vehicles potentially stalling, especially in cold

weather.”10 As a result, Defendants provided owners of these vehicles with an extra

one-year of warranty coverage on certain powertrain components (including the


8
   https://www.consumerreports.org/car-recalls-defects/honda-extends-warranty-on-troubled-
turbo-engines/ (last visited Mar. 21, 2022); https://static.nhtsa.gov/odi/tsbs/2018/MC-10147181-
9999.pdf (last visited Mar. 21, 2022).
9
  https://static.nhtsa.gov/odi/tsbs/2018/MC-10147181-9999.pdf (last visited Mar. 21, 2022).
10
   https://www.consumerreports.org/car-recalls-defects/honda-extends-warranty-on-troubled-
turbo-engines/ (last visited Mar. 21, 2022).


                                             - 28 -
                CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 29 of 129




camshaft, rocker-arm assemblies, and spark plugs) with no mileage limitations.

          81.    Despite acknowledging the Engine Defect on 2018 and earlier Honda

CR-V and Civic vehicles in China, Canada, and the United States, Honda has not

acknowledged the existence of the Engine Defect in the Class Vehicles to Class

Members.

          82.    Furthermore, Honda’s failure to notify the general public or the

owners or lessees of the Class Vehicles of the Engine Defect is particularly

egregious because after the Engine Defect manifests, the Class Vehicles may suffer

catastrophic engine failure while in use, resulting in a very dangerous situation

(and can even be left stranded) placing the driver and occupants at an increased

risk of injury.

          83.    Engines are intended to function for periods (and mileages)

substantially in excess of those specified in Honda’s warranties, and given past

experience, consumers legitimately expect to enjoy the use of an automobile

without worry that the engine will fail for significantly longer than the limited

times and mileages identified in Honda’s warranties.

          84.    Honda markets its vehicles as particularly reliable when compared to

the competition.11




11
     See, e.g., https://automobiles.honda.com/awards (last visited Mar. 21, 2022).


                                                - 29 -
            CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 30 of 129




      85.    Automobiles must be able to withstand foreseeable usage conditions.

A vehicle can suffer extensive damage and costly repairs from customary

environmental and usage conditions when a vehicle suffers from a defect such as

the Engine Defect.

      86.    In many instances, consumers have incurred and will continue to incur

expenses for repair and/or replacement of the engines despite such Engine Defect

having been contained in the Class Vehicles when manufactured by Honda.

      87.    Upon information and belief, Honda, through (1) its own records of

customers’ complaints, (2) dealership repair records, (3) records from the National

Highway Traffic Safety Administration (NHTSA), (4) warranty and post-warranty

claims, (5) internal pre-sale durability testing and TSBs, (6) the Extended Warranty

issued for oil dilution in prior model year Honda CR-V and Civic vehicles with

1.5L Earth Dreams engines, and (7) other various sources, was well aware of the

Engine Defect but failed to notify customers of the nature and extent of the

problems with Class Vehicle engines or to provide any adequate remedy.

      88.    Honda failed to adequately research, test and/or manufacture the

engines and PCV systems in the Class Vehicles before warranting, advertising,

promoting, marketing, and selling the Class Vehicles as suitable and safe for use in

an intended and/or reasonably foreseeable manner.

      89.    Honda is experienced in the manufacture of consumer vehicles. As an



                                       - 30 -
             CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 31 of 129




experienced manufacturer, Honda conduct tests, including pre-sale durability

testing, on incoming components, including the engines, to verify that the parts are

free from defect and align with Honda’s specifications.

       90.    Honda’s presale durability testing includes five metrics that allegedly

“ensure high quality” by conducting “comprehensive quality assurance activities

from the dual perspectives of planning and manufacturing.”12 Honda admits that its

“production departments implement manufacturing controls to keep variability

within applicable standards based on drawings and develop production processes

so that all workers can continue to achieve a consistent level of quality.” Thus,

Honda knew or should have known of the Engine Defect through its

comprehensive quality assurance activities and manufacturing controls.

       91.    First, Honda’s “engineers utilize a database of measures and

techniques previously used to prevent market quality issues and other information.

They communicate closely with manufacturing departments during the initial

development stage and put product function, performance and quality assurance

initiatives in writing. These are shared to ensure efforts are coordinated with

production departments’ process assurance activities and to coordinate quality




12

https://global.honda/content/dam/site/global/about/cq_img/sustainability/report/pdf/2021/Honda-
SR-2021-en-093-108.pdf (last visited Mar. 21, 2022). The quotes in paragraphs 73-80 all refer to
this webpage.


                                             - 31 -
            CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 32 of 129




assurance initiatives.”

      92.    Second, “Honda’s production departments establish manufacturing

control items and criteria for each part, process, and operation to prevent product

quality issues.” These controls are explicitly put in place to “prevent product

quality issues” whereby Honda’s engineers “use these manufacturing control items

and criteria to verify manufacturing variability.”

      93.    Third, for outsourced parts, Honda visits its suppliers’ manufacturing

facilities to conduct quality audits based on the “‘Three Reality Principle,’ which

emphasizes ‘going to the actual place,’ ‘knowing the actual situation’ and ‘being

realistic.’” Honda uses “[e]xperts in the development and production of individual

parts visit manufacturing facilities and conduct audits of suppliers’ quality systems

and their implementation.”

      94.    Fourth, and perhaps most importantly, Honda assures long-term

reliability of its parts and vehicles through “rigorous durability testing.” Honda

states the following about this metric (emphasis added):

      Honda subjects new and redesigned models to rigorous long-distance
      durability testing before beginning mass production to verify that
      there are no quality issues.

      Honda also disassembles vehicles used in the test drives into every
      single part and verifies that there are no quality issues through a
      process consisting of several thousand checks. By accumulating data
      on the issues discovered through these test drives and detailed
      inspections as well as associated countermeasures, the Company is
      able to ensure a high level of quality and reliability.

                                        - 32 -
            CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 33 of 129




      95.    Fifth, Honda developed and implemented the “Line End Tester,” an

inspection and diagnostic system, that is used “in shipping quality inspections of

all electronic control systems, from switches and instruments to air conditioner,

audio, engine and transmission operations.”

      96.    Through these quality control metrics, Honda knew or should have

known that the engines in the Class Vehicles were defective.

      97.    Lastly, as explained in Honda’s Sustainability Report:

      When Honda determines that an issue occurs with a product that requires
      market action, it quickly notifies government authorities in accordance with
      individual countries’ regulations and contacts owners by means of direct
      mail from dealers or by telephone to provide information about how they
      can receive repairs free of charge. In addition to Honda’s website, market
      action information is provided through the news media as necessary.

      98.    Despite such assurances and procedures, Honda has not contacted

Class Members by direct mail or telephone to inform them how they can receive

free repairs related to the Engine Defect within the United States. Additionally,

upon information and belief, Honda has also not provided associated information

regarding the Engine Defect on its website or through the news media.

      99.    Per the below, Honda also expressly warranted the Class Vehicles to

be free from defects for a period of three years or 36,000 miles under the New

Vehicle Limited Warranty and 5 years or 60,000 miles under the Powertrain




                                       - 33 -
            CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 34 of 129




Limited Warranty.13 Both warranties are applicable to the Engine Defect; however,

Honda has failed to correct the issue.




13
 https://owners.honda.com/Documentum/Warranty/Handbooks/2019_Honda_Warranty_Basebo
ok_AWL07531_Petrol_Hybrid_PHEV__SIS.pdf, at 6 (last visited Mar. 21, 2022).


                                         - 34 -
            CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 35 of 129




      100. Buyers, lessees, and other owners of the affected Vehicles were

without access to the information concealed by Honda as described herein, and

therefore reasonably relied on Honda’s representations and warranties regarding

the quality, durability, and other material characteristics of the Vehicles. Had these

buyers and lessees known of the defect and the potential harm, they would have

taken steps to avoid that harm and/or would have paid less for the Vehicles than

the amounts they actually paid, or would not have purchased the Vehicles.

C.    Complaints by Other Class Members.

      101. Plaintiffs’ experiences are by no means an isolated or outlying

occurrence. Indeed, the internet is replete with examples of blogs and other



                                        - 35 -
             CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 36 of 129




websites where consumers have complained of the exact same Engine Defect

within the Class Vehicles.14

       102. Class Vehicle owners have publicly complained to the United States

government about the Engine Defect in Class Vehicles since the vehicle has been

released. The Office of Defects Investigation (“ODI”) is an office within the

National Highway Traffic Safety Administration (“NHTSA”). ODI conducts defect

investigations and administers safety recalls to support the NHTSA’s mission to

improve safety on the Nation’s highways. 15 All automobile manufacturers

routinely monitor and analyze NHTSA complaints because this information is used

in determining if a recall should be issued. Thus, Defendants have knowledge of

any and all NHTSA complaints.

       103. The following is just a small sampling of the many complaints

submitted to ODI by Honda CR-V owners. These publicly available complaints,

filed as early as March 2016, evidence Honda’s prior knowledge of the Engine

Defect, the negative experiences encountered by Class Members, and the financial

burden this places on them.




14
   http://www.hondaproblems.com/news/2020/reasons-avoid-earth-dreams-engine/ (last visited
Mar. 21, 2022).
15
   See https://www-odi.nhtsa.dot.gov/recalls/recallprocess.cfm (last visited Mar. 21, 2022).
Indeed, automobile manufacturers are required by law to monitor NHTSA complaints and report
any potential safety defects to the United States government. See TREAD Act, Pub. L. No. 106-
414, 114 Stat. 1800 (2000).


                                           - 36 -
        CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 37 of 129




NHTSA ID Number: 10864030
Date of Incident: 03/22/2016
Consumer Location: FOX POINT, WI
Vehicle Identification No. (VIN): 5J6RM4H74GL...
SUMMARY:
THE CABIN OF MY BRAND NEW VEHICLE FILLS WITH GAS FUMES
RANDOMLY WHILE THE ENGINE IS RUNNING. THE FUMES FILL THE
CABIN WHILE IDLING, STARTING, AND DRIVING DOWN THE ROAD.
THE FUMES ARE VERY STRONG AND I DO NOT FEEL SAFE DRIVING
THIS VEHICLE FOR ANY DISTANCE. THE HONDA DEALERSHIP
SERVICE DEPARTMENT AND THE HONDA TECH CENTER ARE
AWARE OF THE PROBLEM BUT DO NOT HAVE A REMEDY.


NHTSA ID Number: 11084545
Date of Incident: 09/13/2016
Consumer Location: WAUWATOSA, WI
Vehicle Identification No. (VIN): 2HKRM4H73GH...
SUMMARY:
GAS FUMES IN PASSENGER CABIN. WE GET GAS FUMES IN THE
PASSENGER CABIN ON A REGULAR BASIS. NO GAS LEAKING ON
GROUND THAT WE CAN SEE. HAPPENS MORE OFTEN AFTER CAR
HAS BEEN IDLING FOR A BIT. GAS FUMES STAY IN CABIN WHILE
DRIVING.


NHTSA ID Number: 11075842
Incident Date November 20, 2017
Consumer Location DULUTH, MN
Vehicle Identification Number 5J6RW2H5XHL****
Summary of Complaint
GAS IS MIXING IN THE OIL OF OUR NEW 2017 HONDA CR-V. THE 1.5


                                  - 37 -
      CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 38 of 129




LITER ENGINE DOES NOT WARM UP SUFFICIENTLY IN COLD
WEATHER, RUNS RICH, AND LEAVES UN-COMBUSTED GAS IN THE
OIL. THIS TRIGGERS ENGINE WARNING LIGHTS AND REQUIRES
FREQUENT OIL CHANGES. ENGINE PERFORMANCE AND
DRIVABILITY SUFFER. THIS PROBLEM IS ALSO BEING REPORTED
ON SOCIAL MEDIA BY OTHER HONDA CR-V OWNERS WHO DRIVE
IN COLDER CLIMATES. WE ARE CONCERNED THAT IT IS CAUSING
LONG TERM DAMAGE TO THE ENGINE OF OUR NEW VEHICLE. I
CAUTION PROSPECTIVE BUYERS TO POSTPONE THE PURCHASE OF
A 2017 OR NEWER HONDA CR-V WITH THE 1.5 LITER ENGINE UNTIL
HONDA SOLVES TO THIS PROBLEM. THE FIFTH GENERATION CR-V
IS AN EXCELLENT CAR IN MANY RESPECTS, BUT THIS IS A MAJOR
PROBLEM. I CANNOT RECOMMEND THE CAR, PARTICULARLY TO
THOSE WHO DRIVE IN COLDER CLIMATES, UNTIL A FIX IS FOUND.
REUTERS REPORTED IN FEBRUARY THAT HONDA HAS
ANNOUNCED A RECALL OF 350,000 CR-V'S IN CHINA FOR WHAT
APPEARS TO BE A SIMILAR ISSUE.
WE'VE DRIVEN OUR CAR FOR ABOUT SIX MONTHS, AND IT HAS
LESS THAN 2,000 MILES ON IT. WE TYPICALLY USE THE CAR FOR
SHORT DRIVES WITHIN THE CITY. OUR CAR WAS AT THE DEALER
FOR OVER TWO WEEKS WHEN THE PROBLEM FIRST OCCURRED. A
FIELD REP FROM HONDA WAS SENT OUT TO THE DEALER TO TRY
TO ASSIST. SENSORS AND FUEL INJECTORS WERE REPLACED. THE
OIL AND FILTER WAS CHANGED. AT THIS TIME OUR ENGINE HAD
LESS THAN 1100 MILES ON IT.
THESE REPAIRS DID NOT CORRECT THE PROBLEM. IN MID-
JANUARY THE ENGINE WARNING LIGHTS WERE TRIGGERED
AGAIN. OUR DEALER NOTED THE SMELL OF GAS IN OUR OIL AND
ONCE AGAIN CHANGED THE OIL AND FILTER. WE HAD LESS THAN
1500 MILES ON THE CAR FOR THIS SERVICE.
HONDA DOES NOT APPEAR TO HAVE A SOLUTION TO THIS
PROBLEM. THE OIL AND FILTER CHANGES ARE A BANDAID, AND
LONG TERM DAMAGE MAY BE OCCURRING TO OUR ENGINE.
HONDA MAY HAVE A MAJOR PROBLEM ON ITS HANDS WITH THE
1.5 LITER ENGINE.


NHTSA ID Number: 11072826

                               - 38 -
        CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 39 of 129




Date of Incident: 12/19/2017
Consumer Location: HAYWARD, WI
Vehicle Identification No. (VIN): 2HKRW2H57HH...
SUMMARY:
GAS IN GETTING IN CRANKCASE OIL ON BRAND NEW ENGINE.
STARTED FROM DAY ONE. IT IS WASHING DOWN CYLINDER
WALLS,, DILUTING THE OIL AND CAUSING PREMATURE ENGINE
FAILURE. I AM SCARED TO DEATH IT WILL BLOW UP AT HIGHWAY
SPEEDS AND CAUSE MY DEATH.


NHTSA ID Number: 11076415
Incident Date January 6, 2018
Consumer Location SILVER BAY, MN
Vehicle Identification Number 2HKRW2H80HH****
Summary of Complaint
JANUARY 6TH, 2018 CAR SMELLED OF EGGS AND GAS. DROVE CAR
70 MILES THE EMMISIONS AND ENGINE LIGHT CAME ON AND CAR
WAS TOWED FROM A BUSY HWY 61 MN TO HONDA SERVICE
CENTER. THEY HAD CRV FOR 3 WEEKS. CHANGED OIL &
PROGRAMMED INJECTORS THE OIL HAD 1QUART OVER OF GAS
MIXED INTO THE OIL. 700 MILES LATER AND CAR NOW HAS GAS
MIXED INTO OIL AGAIN AND OVER THE ORANGE DIPSTICK AND
SMELLS OF VERY STRONG GAS. A SERVICE APPOINTMENT MADE
FOR MARCH 14TH, 2018 FOR OIL CHANGE, RATTLE IN THE DASH
BEHIND HEAD UNIT AND THE HEAT PROBLEM AS WELL. THE NO
HEAT FOR WINTER DRIVING WITH FROZEN WINDSHIELD BEFORE
DRIVING AND WHILE DRIVING IS VERY DANGEROUS! BREAKING
DOWN ON A INTERSTATE HWY IS ALSO DANGORUS WAITING 4
HOURS WITH NO HEAT IN CAR AT -1 TEMP WAITING FOR TOW IS
DANGORUS. NOT HAPPY ABOUT THIS AT ALL!


NHTSA ID Number: 11098079
Date of Incident: 01/10/2018

                                 - 39 -
        CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 40 of 129




Consumer Location: MILLVILLE, NJ
Vehicle Identification No. (VIN): 2HKRW2H51HH...
SUMMARY:
I HAVE HAD THE BRAKES ENGAGE TWICE THROUGH THE
COLLISION AVOIDANCE SYSTEM WITH NO OTHER VEHICLES
AROUND ME.DANGEROUS AS I COULD BE REAR ENDED.AND THE
OIL LEVEL RISES WITH FUEL DILUTION AND GAS FUMES ENTER
THE PASSENGER COMPARTMENT.VEHICLE MISFIRED AND
SHUTDOWN ON HIGHWAY DANGEROUS SITUATION AND
BREATHING GAS FUMES.


NHTSA ID Number: 11081970
Date of Incident: 02/05/2018
Consumer Location: CINNAMINSON, NJ
Vehicle Identification No. (VIN): 2HKRW2H58HH...
SUMMARY:
THE 1.5 TURBO ENGINE'S ALL EXPERIENCE A COOLANT HEATING
UP UNDER 32DEGREES F PROBLEM. AT IDLE THE TEMPERATURE
COOLS DOWN AND HEATER DOES NOT SUPPLY WARM AIR. ALSO
THE ENGINE OIL IS BEING DILUTED BY AN OVERLY RICH MIXTURE
CAUSING UNBURNED GAS TO ENTER THE CRANKCASE DILUTING
THE ENGINE OIL AND CAUSING ENGINE DAMAGE. DEALER HAS NO
CLUE WHEN I TOOK IT IN TO WHY SO I HAVE TO CHANGE OIL
EVE3RY 1000 MILES TO PROTECT THE ENGINE


NHTSA ID Number: 11072515
Date of Incident: 02/13/2018
Consumer Location: BURLINGTON, MA
Vehicle Identification No. (VIN): 5J6RM4H43GL...
SUMMARY:
FROM NEW, THE CABIN FILLS WITH NOXIOUS GAS FUMES. HONDA


                                 - 40 -
        CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 41 of 129




DEALERSHIP SAYS HONDA IS AWARE OF THE PROBLEM BUT WILL
NOT DO ANYTHING TO FIX IT AS THEY ARE UNAWARE OF A FIX.
UNACCEPTABLE FROM HONDA


NHTSA ID Number: 11097244
Incident Date February 14, 2018
Consumer Location BRIDGEWATER, VA
Vehicle Identification Number 2HKRW2H52HH****
Summary of Complaint
OIL/DILUTION ON DIP STICK. GAS SMELL ON DIP STICK.
OVERFILLED DIP STICK.


Date of Incident: 02/20/2018
NHTSA ID Number: 11081944
Consumer Location: LOS ANGELES, CA
Vehicle Identification No. (VIN):
SUMMARY:
ENGINE OIL IS OVERFILLING AND BEING DILUTED WITH GAS.
STRONG GAS SMELL. WHEN CHANGING OIL, MORE THAN WHAT
WAS NEEDED TO FILL ENGINE OIL TO FULL


NHTSA ID Number: 11078754
Incident Date February 22, 2018
Consumer Location ASHLAND, WI
Vehicle Identification Number 5J6RW2H8XHL****
Summary of Complaint
I PURCHASED A 2017 CRV FROM ASHLAND HONDA AND TOYOTA IN
ASHLAND, WI IN AUGUST 2017. ON FEBRUARY 23, 2018, MY CAR
WHICH HAS 5500 MILES ON IT, STARTED MAKING A HORRIBLE


                                    - 41 -
        CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 42 of 129




NOISE AND BEGAN LOSING POWER WHILE ON THE HIGHWAY. THE
NOISE CONTINUED THROUGHOUT THE WEEKEND. WE MADE AN
APPOINTMENT WITH ASHLAND HONDA AND TOYOTA TO SERVICE
THE CALL.
HONDA CORPORATE AND THE SERVICE MANAGER (JERRY) AT
ASHLAND HONDA AND TOYOTA DETERMINED THROUGH VIDEO
CHATS AND CONFERENCE CALLS THAT THE CAMS WERE
DESTROYED IN MY ENGINE. THEY BELIEVE THIS HAD TO DO WITH
FUEL AND OIL MIXING AND GETTING INTO THE ENGINE. HONDA
REQUESTED THAT ASHLAND HONDA REPLACE THE HEAD OF THE
ENGINE. THEY HAVE NO FIX FOR THE PROBLEM WITH THE FUEL
AND OIL MIXING AND DESTROYING THE ENGINE. THE SERVICE
MANAGER SAID BECAUSE THE GOVERNMENT IS INVOLVED DUE
TO EMISSIONS, THIS ISSUE WILL BE CONTINUING, AND AT THIS
TIME THERE IS NO FIX. HE ALSO STATED THAT CORPORATE
INFORMED HIM THIS WAS A REGIONAL ISSUE DUE TO OUR
CLIMATE, AND THEY ARE CURRENTLY TRYING TO FIGURE OUT A
SOFTWARE FIX FOR THE PROBLEM. NO RESOLUTION AT THIS
POINT. CORPORATE FURTHER STATED THAT THEY ARE SEEING
THIS ISSUE WHEN THE TEMPERATURE IS BETWEEN 10 AND 30
DEGREES. I WAS OFFERED A 100,000 EXTENDED WARRANTY AND
RECOMMENDED THAT I GO TO THE DEALER EVERY 500 MILES TO
GET AN OIL CHANGE TO SEE IF FUEL IS MIXING WITH THE OIL.
SHOCKED AT THE LACK OF RESOLUTION, I ASKED THE SERVICE
MANAGER IF HONDA CORPORATE WAS COMFORTABLE GIVING ME
MY CAR BACK AFTER THE CAMS WERE REPLACED WITH NO
RESOLUTION, AND HE SAID YES.
I DO NOT BELIEVE THIS IS ETHICAL AT ALL FOR HONDA TO NOT
HAVE A FIX TO AN ENGINE PROBLEM THAT COULD ENDANGER
MYSELF AND/OR MY FAMILY. THE CAR ENGINE IS BEING
REPLACED WHEN PARTS ARE DELIVERED. AGAIN, NO RESOLUTION
TO THE PROBLEM WITH THE OIL AND GAS COMBINING AND
FIXING ISSUE.


NHTSA ID Number: 11079561
Incident Date March 8, 2018
Consumer Location ACTON, MA

                                 - 42 -
       CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 43 of 129




Vehicle Identification Number 5J6RW2H58HL****
Summary of Complaint
I PURCHASED A 2017 HONDA CRV-EX WITH THE 1.5 TURBO ENGINE
IN NOVEMBER 2017 AND PLAN TO GIVE THIS CAR TO MY NIECE AS
A GRADUATION PRESENT IN 2019. I TOOK IT FOR ITS FIRST OIL
CHANGE, AT 137 MILES, AND THE DEALER TOLD ME THAT THERE
WAS GASOLINE IN THE OIL. AFTER THE OIL CHANGE, I
RESEARCHED THE ISSUE AND DISCOVERED THAT MANY PEOPLE
(2017 HONDA CRV OWNERS WITH THE 1.5 TURBO ENGINE) IN THE
USA HAD THIS PROBLEM. THE DETAILS ARE LISTED IN THE HONDA
FORUMS AND ON EDMUNDS. I ALSO SAW THAT HONDA WAS
RECALLING 350K 2017-2018 CRVS WITH THE 1.5 TURBO ENGINE , IN
CHINA, AS THE SOFTWARE NEEDED TO BE UPDATED. IT APPEARS
THAT THE FUEL EJECTORS WERE SUPPLYING TOO MUCH
GASOLINE AND THE RESIDUAL GASOLINE WAS LEAKING AROUND
THE CYLINDERS INTO THE OIL. I REQUESTED HONDA-USA TO GET
ACCESS TO THIS SOFTWARE UPDATE VIA MY LOCAL DEALER
(BOCH HONDA WEST IN WESTFORD, MA). IT IS MY
UNDERSTANDING THAT THE SOFTWARE UPDATE IS AVAILABLE.
HONDA-USA SENT ME A RESPONSE INDICATING THAT THERE WAS
NO RECALL ON MY VEHICLE AND I SHOULD GO BACK TO THE
DEALER. I HAVE CALLED THE DEALER, AGAIN, BUT THEY CANNOT
DO MUCH WITHOUT THE SOFTWARE UPDATE. I TOLD HONDA-USA
THAT THIS PROBLEM IS VERY CONCERNING FOR THE FUTURE OF
THE ENGINE REMINDED THEM THAT THEIR DEALER FOUND THE
PROBLEM OF GASOLINE IN THE ENGINE AND THAT BOTH I AND
THE DEALER WERE CONCERNED. MY CASE NUMBER WITH HONDA
IS 07116734. SOME OF THE WEB SITES (LINKS) THAT FURTHER
DEFINE THE PROBLEM ATE AS FOLLOW: 1)
HTTPS://WWW.REUTERS.COM/ARTICLE/US-HONDA-CHINA-
RECALL/HONDA-STOPS-SELLING-NEW-CR-VS-IN-CHINA-AFTER-
RECALL-PLAN-REJECTED-IDUSKCN1GE1P8 2)
HTTP://WWW.CRVOWNERSCLUB.COM/FORUMS/14-PROBLEMS-
ISSUES/170193-POTENTIAL-MAJOR-ISSUE-2017-CR-V-GASOLINE-
GETS-INTO-ENGINE-OIL-TANK.HTML 3)
HTTPS://FORUMS.EDMUNDS.COM/DISCUSSION/50438/HONDA/CR-
V/NEW-CR-V-COLD-WEATHER-RUNS-RICH-GAS-IN-OIL-MULTIPLE-
COMPLAINTS



                                - 43 -
        CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 44 of 129




NHTSA ID Number: 11081991
Date of Incident: 03/08/2018
Consumer Location: HUNTLEY, IL
Vehicle Identification No. (VIN): 5J6RW2H80HL...
SUMMARY:
WE PURCHASED OUR HONDA CRV EX-L IN OCTOBER OF 2017,
WITHIN 5 MONTHS WE NOTICED A STRONG GASOLINE SMALL IN
OUR CABIN. ONE DAY I CHECKED THE OIL LEVEL BY PULLING THE
DIPSTICK AND NOTICED THAT THE OIL LEVEL WAS 1 FULL INCH
ABOVE THE FULL MARK. I ALSO NOTICED THAT THE OIL ON THE
DIPSTICK REEKED OF GAS AND WAS VERY DARK AND WATERY. I
IMMEDIATELY DID A GOOGLE SEARCH OF THIS ISSUE, KNOWING
THAT OUR LAST OIL CHANGE WAS LESS THAN 3,000 MILES AGO
FROM OUR LOCAL HONDA DEALER AND I WAS SHOCKED WITH
THE RESULTS. THOUSANDS OF OWNERS WITH THE 2017-2018 CRV
WITH THE 1.5 LITER TURBO ENGINE ARE HAVING THIS EXACT
SAME ISSUE. THE ISSUE IS CALLED OIL DILUTION AND A LARGE
AMOUNT OF GAS IS GETTING INTO THE OIL BUT THE REASONS ARE
UNKNOWN. I IMMEDIATELY CALLED MY LOCAL DEALER AND HAD
MY CAR IN THE NEXT DAY. THEY CLAIMED THEY HAVE NEVER
SEEN ANYTHING LIKE THIS BEFORE AS MY OIL HAD SO MUCH
GASOLINE IN IT THAT IT POURED OUT LIKE WATER. THEY
SCHEDULED A CALL WITH HONDA ENGINEERS THE FOLLOWING
MONDAY AND THEY WERE ADVISED TO CHANGE THE OIL AND
DRIVE THE CAR AGAIN. THEY DID SO AND THE GAS VOLUME
FILLED UP VERY QUICKLY IN THE NEW OIL SO THE NEXT STEP
WAS TO REPLACE THE FUEL INJECTORS. BASED ON MY RESEARCH
ONLINE MANY OTHER OWNERS HAVE HAD THE SAME PROCEDURE
PERFORMED WHICH DIDN'T FIX THE ISSUE. HOWEVER THE
INJECTORS WERE REPLACED ON MY CAR AND THE VEHICLE WAS
GIVEN BACK TO ME, CLAIMED TO HAVE BEEN FULLY FIXED.
NEEDLESS TO SAY LESS THAN 2 WEEKS AFTER I GOT MY VEHICLE
BACK I CHECKED THE OIL LEVEL AND ONCE AGAIN IT'S WELL
ABOVE THE FULL MARK WITH A STRONG SMELL OF GASOLINE.
I'VE CALLED HONDA CORPORATE AND THEIR CUSTOMER SERVICE
JUST PLAIN SUCKS. LACK OF EMPATHY, LACK OF

                                 - 44 -
        CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 45 of 129




ACKNOWLEDGEMENT OF THIS BEING A WIDESPREAD ISSUE AND
NO RESOLUTION OF CONCERNS. I'M CURRENTLY FIGHTING WITH
THEM, PLEADING TO GET A EXTENSION ON THE POWERTRAIN
WARRANTY AS THERE IS NO DOUBT THAT ENGINE DAMAGE HAS
ALREADY OCCURRED


NHTSA ID Number: 11080270
Incident Date March 17, 2018
Consumer Location LIVERPOOL, NY
Vehicle Identification Number 5J6RW2H58HL****
Summary of Complaint
GAS IS LEAKING INTO CRANKCASE AND DILUTING THE ENGINE
OIL THEREFORE RAISING THE OIL LEVEL ABOVE THE MAX FILL
LINE. ENGINE OIL HAS GAS ODOR AND OIL SEEMS THINNER DUE
TO DILUTION WITH GASOLINE.


NHTSA ID Number: 11080300
Incident Date March 16, 2018
Consumer Location RALEIGH, NC
Vehicle Identification Number 7FARW1H91HE****
Summary of Complaint
THE OIL LEVEL IN THE CRANK CASE CONTINUALLY RISES AND
SMELLS STRONGLY OF GASOLINE. WITHIN 5000 MILES, AND 40%
OIL LIFE ACCORDING TO THE MAINTENANCE MINDER, IT HAD
RISEN WELL ABOVE THE MAX LINE ON THE DIP STICK.


NHTSA ID Number: 11081407
Incident Date March 18, 2018
Consumer Location WILLIAMSPORT, PA
Vehicle Identification Number 2HKRW2H94HH****


                                 - 45 -
        CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 46 of 129




Summary of Complaint
MY CAR IS A 2017 HONDA CRV TOURING WITH THE 1.5 LITER
TURBOCHARGED ENGINE AND 3200 MILES. ON 3/18/2018 I WAS
DRIVING AT 70MPH ON INTERSTATE 180 IN PENNSYLVANIA WHEN
THE CAR SUDDENLY SLOWED, LOST POWER, THE CHECK ENGINE
LIGHT CAME ON, AND MULTIPLE ELECTRICAL SYSTEMS
REPORTED MALFUNCTIONS IN THE DASH DISPLAY.
THE CAR WAS TOWED TO THE HONDA DEALER AND DIAGNOSED
WITH EXCESS GAS (APPROXIMATELY ONE QUART) IN THE OIL. THE
OIL AND FILTER WAS CHANGED AS A TEMPORARY SOLUTION,
AND A TECH LINE CASE (REF # 4089104) WAS OPENED WITH
HONDA. I WAS TOLD AT THIS TIME THERE IS NO PERMANENT
RECALL OR FIX. I WAS ADVISED THAT THIS IS A KNOWN PROBLEM
IN COLD CLIMATES WHERE THE CAR IS USED FOR SHORT DRIVES
AND DOES NOT WARM UP COMPLETELY. SINCE THEN I HAVE
LEARNED THAT ALL CRVS WITH THE 1.5 LITER TURBOCHARGED
ENGINE HAVE BEEN RECALLED IN CHINA FOR THE SAME
PROBLEM.


NHTSA ID Number: 11080313
Date of Incident: 03/19/2018
Consumer Location: HILLSBORO, OR
Vehicle Identification No. (VIN): 2HKRW2H57HH...
SUMMARY:
I CHECKED THE LEVEL OF THE OIL ON THE DIPSTICK AND THE
LEVEL SHOWS AS BEING HIGH, PAST THE 'FULL" REFERENCE
POINT WITH A FEW MILLIMETERS. ALSO, THE OIL HAS A STRONG
GAS ODOR. THE MILEAGE ON THE ENGINE IS 8454, AND THE FIRST
OIL CHANGE WAS PERFORMED AT 6547 MILES, 2 MONTHS AGO.


NHTSA ID Number: 11098691
Date of Incident: 04/06/2018
Consumer Location: PLAINVIEW, MN


                                 - 46 -
        CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 47 of 129




Vehicle Identification No. (VIN): 5J6RW2H51HL...
SUMMARY:
DURING THE FIRST OIL CHANGE WE REMOVED OVER 5 QUARTS OF
LIQUID. THE OWNERS MANUAL STATES THAT THE CAR HOLDS
ONLY 3.7 QUARTS OF OIL. WE CONTACTED THE DEALERSHIP WE
BOUGHT IT FROM AND THEY INFORMED US THAT THIS IS A
KNOWN ISSUE FOR THE 2017 HONDA CR-V. GAS IS GETTING INTO
THE OIL. I AM NOW GETTING FREE OIL CHANGES, THEY STATED I
SHOULD COME IN FOR AN OIL CHANGE WHENEVER THE LIQUID
RISES ABOVE THE FILL LINE ON THE DIPSTICK. I HAVE MANAGED
TO GET AN OIL CHANGE EVERY 7010 DAYS SINCE APRIL 12, 2018.
THE LAST OIL CHANGE I HAD THERE WAS AT LEAST 1 QUART OF
GAS IN THE OIL DRAINED OUT OF THE RESERVOIR. THAT WAS 10
DAYS AFTER THE LAST OIL CHANGE. I HAVE CONTACTED HONDA
NUMEROUS TIMES AND THE ONE TIME I ACTUALLY TALKED TO
MY CASE MANAGER SHE TOLD ME THAT IT WAS NORMAL
OPERATION AND HONDA IS NOT CONSIDERING THIS AN ISSUE.
EVERYTHING I HAVE READ SO FAR STATES THAT EXCESS GAS IN
THE OIL IS AN ISSUE AND VERY BAD FOR THE ENGINE. I AM
CONCERNED THAT MOST CONSUMERS WHO PURCHASED A 2017
HONDA CR-V ARE NOT AWARE OF THIS ISSUE.


NHTSA ID Number: 11096603
Incident Date April 17, 2018
Consumer Location SUPERIOR, CO
Vehicle Identification Number 2HKRW2H89HH****
Summary of Complaint
I BOUGHT THIS 2017 CRV EXL-NAV AWD IN 05/2017. WE DID THE
FIRST MAINTENANCE ON MARCH 17 TO CHANCE OIL AT 8000
MILES. THERE IS OIL LEAKAGE, I WILL TALK THIS ON ANOTHER
COMPLAINT. I HEARD THAT THERE IS OIL EXCESSIVE PROBLEM ON
THIS 1.5T ENGINE, SO I CHECKED THE ENGINE OIL LEVEL AT
ABOUT 8800 MILES AND FOUND THAT THE OIL LEVEL IS MORE
THAN 10MM HIGHER THAN THE MAXIMUM MARK ON THE
LIPSTICK. I BROUGHT THE CAR TO DEALER AND THEY SAID IT IS


                                 - 47 -
        CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 48 of 129




FINE. I AM VERY UPSET WITH THEIR ANSWER. I HAVE ATTACHED
THE PHOTO, THE OIL LEVEL IS EXCEEDING THE ORANGE PLASTIC
TO THE METAL PART. ACTUALLY CRV HAS BEEN STOPPED FOR
SALE IN CHINA FOR 2 MONTHS UNTIL HONDA INITIATE A RECALL
AND EXTEND THE WARRANTY TO 6 YEARS. RELIABILITY IS THE
MAIN REASON I BOUGHT HONDA, NOW I AM SO DISAPPOINTED.
WILL NOT CONSIDER ANY HONDA UNLESS THEY OFFER A
SATISFACTORY SOLUTION.


NHTSA ID Number: 11092048
Incident Date May 2, 2018
Consumer Location NASHVILLE, TN
Vehicle Identification Number 2HKRW2H51HH****
Summary of Complaint
MY NEW 2017 HONDA CRV EX THAT ONLY HAS 6850 MILES DRIVEN
ON IT HAS A TERRIBLE DEFECT WITH OIL DILUTION ISSUES DUE
TO FUEL LEAKING INTO THE OIL PANS CAUSING OVERFLOW AND
DILUTION TO THE OIL THAT IS SUPPOSED TO BE LUBRICATING THE
ENGINE. THE OIL SMELLS VERY POTENT OF FUEL AND ALMOST 1
QUART OF EXTRA FLUID WAS DRAINED FROM THE OIL PAN WHEN
TAKEN INTO THE DEALER AFTER REPORTING THE ISSUE. THE
DEALER AGREED THAT THERE WAS A MAJOR ISSUE WITH FUEL
DILUTING INTO THE OIL BUT WERE TOLD BY THE HONDA
CORPORATE TECH LINE THAT THEY WERE TO JUST REPLACE THE
OIL UNTIL A FIX COMES OUT. THE DEALER TECHNICIANS ASKED
ABOUT CHANGING THE FUEL INJECTORS OR MAYBE A CYLINDER
HEAD REPLACEMENT BUT WERE TOLD NOT TO DO ANYTHING. IT
IS NOT SAFE TO RELEASE THESE CARS BACK TO THE OWNER
KNOWING THERE IS AN DEFECT ISSUE THAT THEY DIDN'T EVEN
REALLY ATTEMPT TO FIX THAT IS CAUSING INTERNAL ENGINE
PARTS TO BREAK DOWN FASTER THAN NORMAL AND COULD
CAUSE SERIOUS SAFETY CONCERNS DUE TO EVENTUAL
BREAKDOWNS LEADING TO WRECKS. THE COMPANIES "FIX" IS TO
GO IN FOR AN OIL CHANGE EVERY 500-1000 MILES EVEN THOUGH
EXCESSIVE FUEL IS STILL MIXING WITH THE OIL. HONDA HAS
REPORTED THAT THIS IS HAPPENING IN COLDER CLIMATES, BUT I


                                 - 48 -
        CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 49 of 129




AM STILL HAVING MAJOR ISSUES WITH THIS IN TENNESSEE
WEATHER.


NHTSA ID Number: 11090588
Incident Date May 4, 2018
Consumer Location DULUTH, MN
Vehicle Identification Number 5J6RW2H89HL****
Summary of Complaint
2017 HONDA CRV. CONSUMER WRITES IN REGARDS TO DAMAGE
TO THE ENGINE. *LD
THE CONSUMER WAS ADVISED THAT GASOLINE WAS MIXING
WITH ENGINE OIL. *JS


NHTSA ID Number: 11093050
Incident Date May 9, 2018
Consumer Location KENMORE, NY
Vehicle Identification Number 5J6RW2H84HL****
Summary of Complaint
2017 HONDA CRV. CONSUMER WRITES IN REGARDS TO OIL
DILUTION AND GAS FUME PROBLEM. *LD


NHTSA ID Number: 11098362
Incident Date May 21, 2018
Consumer Location VACAVILLE, CA
Vehicle Identification Number 5J6RW1H88HL****
Summary of Complaint
I HEARD THAT THERE IS OIL LEVEL INCREASE PROBLEM ON THIS
MAKE, MODEL, AND YEAR'S ENGINE BECAUSE OF FUEL LEAK, SO I


                                 - 49 -
        CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 50 of 129




CHECKED THE ENGINE OIL LEVEL A FEW HUNDRED MILES AFTER
CHANGING THE OIL AND FOUND THAT THE OIL LEVEL IS MUCH
HIGHER THAN THE MAXIMUM MARK ON THE DIPSTICK. I
BROUGHT THE CAR TO DEALER PREVIOUSLY, COMPLAINING OF A
SMELL OF GAS IN THE OIL WHEN I CHECKED IT INITIALLY, AND
THEY SAID IT IS FINE, THAT NOTHING IS WRONG. BOTH TIMES OF
CHECKING THE OIL, THE CAR WAS IN MY GARAGE, STATIONARY,
ON LEVEL GROUND.


NHTSA ID Number: 11098343
Incident Date May 26, 2018
Consumer Location SEATTLE, WA
Vehicle Identification Number 5J6RW2H97HL****
Summary of Complaint
THERE IS CERTAINLY AN EXCESS AMOUNT OF GAS MIXED IN
ENGINE OIL. ONLY FEW WEEKS AFTER OIL CHANGE, THE OIL
LEVEL IS ALREADY 20 MM ABOVE THE MAX LINE. IT'S CERTAINLY
A DESIGN FLAW AND I THINK HONDA SHOULD BE RESPONSIBLE
FOR THIS MISTAKE AND THE CUSTOMERS. IT'S HUGE SAFETY
CONCERN AND HOPE THE RELEVANT RESOURCES CAN TAKE
ACTION TO INVESTIGATE THIS ISSUE.


NHTSA ID Number: 11098520
Date of Incident: 05/29/2018
Consumer Location: CAMDEN, AR
Vehicle Identification No. (VIN): 5J6RM3H3XGL...
SUMMARY:
OIL ISSUE..THERE SEEMS TO BE A RECALL ON HONDA VEHICLES IN
CHINA DUE TO GASOLINE FLOWING INTO THE OIL..MY SON WAS
CHECKING THE OIL AND IT SMELLS LIKE GAS...I HOPE THIS DOES
NOT CASE A FIRE HAZARD AS MY OIL NOW HAS BECOME
GASOLINE. YET NO RECALL IN AMERICA WHY?


                                 - 50 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 51 of 129




     104. Additionally, the following are some examples of the many

complaints submitted to ODI by Honda Civic owners.

  NHTSA ID Number: 11090346
  Date of Incident: 02/13/2018
  Consumer Location: JACKSONVILLE, FL
  Vehicle Identification No. (VIN): 19XFC1F30HE...
  SUMMARY:
  2016 NEW HONDA CIVIC 2.0 ENGINE OIL LEAKING ! ! ! 2017 NEW
  HONDA CIVIC 1.5T ENGINE OIL INCREASED13 MM THE SAME
  STATION 2017. NEW HONDA CIVIC WIPERS BROKEN , REVERSING
  RADAR BROKEN INCREASED OIL 13MM IS NOT A MALFUNCTION!
  ENGINE OIL INCREASED, REPAIRED TWICE, NOT REPAIRED, HONDA
  SAID NO WAY


  NHTSA ID Number: 11083635
  Date of Incident: 04/06/2018
  Consumer Location: SCHWENKSVILLE, PA
  Vehicle Identification No. (VIN): 19XFC1F98HE...
  SUMMARY:
  I HAVE A 2017 HONDA CIVIC WITH THE 1.5 LITER TURBO. I
  STARTED SEEING LOTS OF INFORMATION ON THE CIVIC FORUM
  ABOUT OIL DILUTION SO I DECIDED TO HAVE MY ENGINE OIL
  ANALYZED. THE REPORT CAME BACK SAYING THAT THE AMOUNT
  OF FUEL IN MY OIL WAS GREATER THAN 5% WHICH WAS DEEMED
  CRITICAL . THIS CONDITION WILL CAUSE ENGINE FAILURE AND
  POSSIBLE UNSAFE CONDITIONS.




                                    - 51 -
            CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 52 of 129




NHTSA ID Number: 11448731

Incident Date January 20, 2022

Complaint Date January 24, 2022

Consumer Location IRONWOOD, MI

Vehicle Identification Number 5J6RW2H50KL****

Summary of Complaint

Gas was getting into the crankcase, mixing with the oil so that the CRV would not
operate. The warning lights did not come on until it was too late. It had to be
towed.



NHTSA ID Number: 11437998
Incident Date August 28, 2021
Complaint Date October 2021
Consumer Location REDMOND, WA
Vehicle Identification Number 2HKRW2H81JH****
Summary of Complaint
Vehicle stalled when accelerating to overtake another vehicle. No errors/warnings,
displays were working but speed suddenly dropped and does not increase no matter
what. It was scary. Luckily I was able to come back to a shoulder lane and stop the
vehicle. Vehicle ran normally after powering off and starting again. I've been
driving the vehicle for couple of hours on freeway by then. This happened 4 times
over the summer. Dealers are asking for $200 to diagnose but not promising that
they will be able to find the problem since the issue does not happen consistently. I
suspect it is due to oil dilution problem for which Honda performed repair last
year.


NHTSA ID Number: 11419506

Incident Date May 29, 2021


                                       - 52 -
            CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 53 of 129




Complaint Date June 3, 2021

Consumer Location MILFORD, DE

Vehicle Identification Number 2HKRW1H58LH****

Summary of Complaint

had the very first oil change for my new 2020 Honda CRV at approx 6200 miles
and was told there was gasoline mixed in with my oil. the shop brought out a
sample and you could smell the gas. took to a Honda dealer and they did not find
any problems. oil change was NOT done at a Honda dealer. was told by the shop
that performed oil change that they have seen this problem with other Honda
motors

NHTSA ID Number: 11419223
Incident Date February 16, 2021
Complaint Date June 1, 2021
Consumer Location HUNTSVILLE, AL
Vehicle Identification Number SHHFK7H86L****
Summary of Complaint
The contact owns a 2020 Honda Civic. The contact stated while inspecting and
changing the oil, he noticed an excessive gasoline smell within the oil. The vehicle
was taken to the dealer where it was diagnosed, the dealer stated gas in the oil is
normal and to bring the car back after driving around a thousand miles. The
mechanic changed the oil. The vehicle was not repaired. The failure recurred. The
vehicle was taken to the dealer to be diagnosed. The technician informed the
contact that he would need to speak with the manufacturer for a further option for
the repair. The manufacturer was contacted by the technician and was informed
that the VIN was not under recall and that the vehicle was performing as designed.
The contact stated that the vehicle had experienced the oil dilution failure. The
contact referenced NHTSA Campaign Number: 21V215000 (Fuel System,
Gasoline) as a possible solution to the failure however, the vin was not included.
The manufacturer was notified of the failure and provided a case number
12258099 for the Vin [XXXXXX]. The mechanic confirmed oil level to be slightly
elevated 12-14MM above full mark, tech contacted tech line re#4404999.
Manufacturer stated within normal operating standards. The vehicle was not


                                       - 53 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 54 of 129




repaired. The failure mileage was approximate 11,000. INFORMATION Redacted
PURSUANT TO THE FREEDOM OF INFORMATION ACT (FOIA), 5 U.S.C.
552(B)(6).”


NHTSA ID Number: 11413815
Incident Date January 13, 2019
Complaint Date April 25, 2021
Consumer Location HOMOSASSA, FL
Vehicle Identification Number 5J6RW1H51JL****
Summary of Complaint
I PURCHASED MY 2018 HONDA CR-V EX 2WD IN FLORIDA APRIL 2018. I
HAVE APPROXIMATELY 15,000 MILES ON IT NOW. I TRAVEL THROUGH
INDIANA AND OHIO DURING THE YEAR, INCLUDING WINTER
MONTHS. I HAVE SMELLED GASOLINE FUMES IN THE CAR AND HAVE
SMELLED GASOLINE IN THE OIL ESPECIALLY IN WINTER MONTHS
WHEN I AM TRAVELING NORTH. I CALLED HONDA CORP ABOUT THE
OIL DILUTION PROBLEM AND THE TSB 18-114 AND TSB 18-124 THAT
WERE ADDRESSED TO FIX THE PROBLEM. THEY TOLD ME THAT IT
ONLY COVERS NORTHERN STATES. I EXPLAINED THAT I TRAVEL
THROUGH NORTHERN STATES DURING THE YEAR AND HAVE
EXPERIENCED GASOLINE FUMES IN THE CABIN AND ALSO IN THE
OIL. THEY TOLD ME TO TAKE IT IN TO A DEALER WHEN I AM IN
INDIANA AND OHIO DURING THE WINTER. THE PROBLEM WITH THAT
IS I AM AT WORK AND UNABLE TO TAKE THE TIME OFF TO GO TO A
DEALER, NOT UNTIL I GET HOME TO FLORIDA AND THEN THE
PROBLEM APPEARS TO BE GONE. SO I AM ONLY REQUESTING THAT
TSB 18-114 AND 18-124 BE APPLIED TO MY VEHICLE ALSO. THE "FIX"
TO OIL DILUTION SHOULD NOT JUST BE APPLIED TO NORTHERN
STATES WHEN MANY OF US TRAVEL THROUGH NORTHERN STATES
IN THE WINTER. I AM GOING TO PURSUE THIS IF I DON'T HEAR BACK
FROM HONDA CORP AFTER THEIR PREVIOUS CALL TO ME DID NOT
DO ANYTHING TO ADDRESS MY PROBLEM. I JUST WANT THE TIB'S
APPLIED TO MY VEHICLE.


NHTSA ID Number: 11405237

                                    - 54 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 55 of 129




Incident Date February 17, 2021
Complaint Date March 28, 2021
Consumer Location ORLANDO, FL
Vehicle Identification Number JHMZC5F18JC****
Summary of Complaint
WHILE I WAS CHECKING THE ENGINE OIL LEVEL, I SMELLED A
STRONG GASOLINE ODOR. SINCE THIS PARTICULAR ENGINE HAS A
KNOWN OIL DILUTION PROBLEM I HAD OIL ANALYSIS DONE AND
THE RESULTS CAME BACK INDICATING THAT THERE IS A
SIGNIFICANT LEVEL OF FUEL IN THE OIL WHICH CAN DAMAGE THE
INTERNAL COMPONENTS OF THE ENGINE AND EVENTUALLY RESULT
IN AN ENGINE FAILURE. I CALLED HONDA CORPORATE OFFICE TO
REGISTER THE ISSUE AND ON FEB 24TH, I HAD MY OIL SAMPLED. I
RECEIVED THE RESULTS ON MARCH 3RD AND IMMEDIATELY CALLED
HONDA THE SAME DAY TO SHARE THE ANALYSIS. I HAVE NOT
RECEIVED ANY RECOURSE AS OF YET AND PENDING A RESPONSE.


NHTSA ID Number: 11402938

Incident Date March 14, 2021

Complaint Date March 14, 2021

Consumer Location BRONX, NY

Vehicle Identification Number 2HKRW2H56MH****

Summary of Complaint

OIL LEVEL RAISED UP TO ABOVE THE UPPER MARK ON DIP STICK
AND SMELL GASOLINE. THIS VEHICLE HAS BEEN OFF AND SITTING
MORE THAN A FEW HOURS ON LEVEL GROUND.

NHTSA ID Number: 11399032
Incident Date January 7, 2021
Complaint Date March 3, 2021

                                    - 55 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 56 of 129




Consumer Location CARROLLTON, VA
Vehicle Identification Number 7FARW1H94KE****
Summary of Complaint
2019 HONDA CRV. I HAVE NOTICED THAT MY OIL HAS AN AMOUNT
OF GAS OVER 5% TWICE BY ANALYSIS. I AM WORRIED ABOUT THE
PROBLEM OF OIL DILUTION THAT HONDA CRV'S (MODEL YEAR 2017 &
2018) HAVE HAD. I FEAR THAT I WILL HAVE PREMATURE ENGINE
DAMAGE AND MORE IMPORTANT LOSS OF POWER OR STALLING ON
THE HIGHWAY AS THE 1.5 LITER DIRECT INJECTION HONDA CRV
ENGINES HAVE EXPERIENCED.



NHTSA ID Number: 11398662

Incident Date March 1, 2021

Complaint Date March 2, 2021

Consumer Location ANIWA, WI

Vehicle Identification Number 1HGCV2F33JA****

Summary of Complaint

2018 HONDA ACCORD SEDAN 2.0 TURBO SPORT. 47,000 MILES ON
ODOMETER. FUEL IS MIXING WITH ENGINE OIL UNDER NORMAL
DRIVING CONDITIONS. CURRENTLY 5K INTO LAST OIL CHANGE AND
THERE IS A STRONG ODOR OF GASOLINE PRESENT ON THE ENGINE
OIL DIPSTICK ALONG WITH AN ODOR OF GASOLINE INSIDE THE
VEHICLE ESPECIALLY WHEN THE DEFROSTER OR HEAT IS TURNED
ON.


NHTSA ID Number: 11396928

Incident Date February 18, 2021

Complaint Date February 19, 2021

Consumer Location BOLINGBROOK, IL


                                    - 56 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 57 of 129




Vehicle Identification Number 1HGCV1F12LA****

Summary of Complaint

HAD OIL CHANGE SERVICE MANAGER SAID TECH CHANGING OIL
NOTICED A STRONG SMELL OF GASOLINE IN OIL . MANAGER SAID
YOU HAVE GAS IN YOUR OIL.

NHTSA ID Number: 11394304
Incident Date January 15, 2021
Complaint Date February 2, 2021
Consumer Location MUSCATINE, IA
Vehicle Identification Number 2HKRW2H80LH****
Summary of Complaint
CRANKCASE FUEL/ OIL DILUTION PROBLEM ON HONDA 1.5L DIRECT
FUEL INJECTED, TURBO ENGINE. UPON THE FIRST OIL CHANGE ON
OUR 2020 HONDA CR-V EXL AT ABOUT 6300 MILES WE FOUND THE
OIL LEVEL IN THE CRANKCASE TO BE OVERFULL BY
APPROXIMATELY 1 PINT. THE OIL SMELLED FAINTLY OF GASOLINE
AND APPEARED THINNER THAN NORMAL. SEE ATTACHED PICTURE.
WE LIVE IN A TOWN OF 22,000. MOST TRIPS AROUND TOWN ARE 2
MILES EACH WAY AT MOST, WHICH ACCORDING TO HONDA IS PART
OF THE PROBLEM AS THE ENGINE DOES NOT RUN AT NORMAL
OPERATING TEMPERATURE LONG ENOUGH TO EVAPORATE FUEL IN
THE CRANKCASE. WE DO TAKE OCCASIONAL TRIPS OF AN HOUR OR
MORE EACH DIRECTION. HONDA SAYS THIS PROBLEM IS MADE
WORSE BY COLD CLIMATES, HOWEVER, OUR WINTER WHERE WE
LIVE HAD BEEN VERY MILD COMPARED TO MOST WINTERS WHEN
OUR OIL WAS CHANGED. MOST DAYS THE OUTSIDE AIR TEMP HAD
BEEN IN THE 30'S TO LOW 40'S. I'VE BEEN TOLD BY MY HONDA
DEALER'S SERVICE MANAGER THIS IS A COMMON PROBLEM AND
HONDA HAS NO FIX FOR THIS PROBLEM. I AM CONCERNED ABOUT
HAVING PROPER OIL VISCOSITY. IF THE OIL LEVEL IN OUR HONDA
ENGINE CRANKCASE WAS A PINT OVER FULL, THAT WOULD BE
EQUIVALENT TO A 13% FUEL CONTENT SINCE THE ENGINE ONLY
HOLDS 3.7 QUARTS OF OIL. THAT SEEMS EXCESSIVE AND VISCOSITY
HAS TO SUFFER ALLOWING EXCESSIVE ENGINE WEAR. HONDA SAYS

                                    - 57 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 58 of 129




IT WILL BE FINE. I HAVE WRITTEN TO HONDA CORP. ABOUT THIS
PROBLEM AND HAVE NOT RECEIVED A REPLY.


NHTSA ID Number: 11386870

Incident Date January 31, 2020

Complaint Date January 6, 2021

Consumer Location SAN RAMON, CA

Vehicle Identification Number 1HGCV1F97JA****

Summary of Complaint

THE CAR HAD A STRONG SMELL OF FUEL IN CABIN WHEN STARTING
ON VARIOUS OCCASSIONS. THE CAR ALSO TEMPORARILY STALLED
AND LOST POWER WHEN COMING TO A CORNER TURNING AND ALSO
THREE TIMES WHEN COMING OFF THE FREEWAY. THE CAR WAS
ALWAYS WARMED UP AND IN CALIFORNIA DURING THE WARM
WEATHER. DEALER NOTED FUEL SMELL IN OIL AND INCREASED OIL
LEVEL. HAD OIL CHANGED AND WAS TOLD A FIX WAS COMING
SOON. TOOK CAR IN TO DEALER MONTHS LATER FOR A RECALL, A
BCM RECALL AND AGAIN I TOLD THEM THAT THE OIL SMELLED OF
FUEL AFTER 500 MILES SINCE OIL CHANGE. WAITING FOR MANAGER
TO CALL ME BACK WITH UPDATE ON FIX. IT IS A 2018 HONDA
ACCORD 1.5 LITR TURBO. 26,000 MILES ON MOTOR. I BOUGHT THE
CAR FROM THE DEALER IN JANUARY 2020.


NHTSA ID Number: 11377796

Incident Date August 7, 2020

Complaint Date December 3, 2020

Consumer Location SHINNSTON, WV

Vehicle Identification Number 2HKRW2H22LH****

Summary of Complaint


                                    - 58 -
          CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 59 of 129




TL* THE CONTACT OWNS A 2020 HONDA CR-V. THE VEHICLE BEGAN
TO EMIT A FUEL LIKE ODOR INSIDE THE VEHICLE. THE FAILURE
ONLY OCCURRED WHILE THE VEHICLE SAT IDLE. THE VEHICLE WAS
TAKEN TO URSE HONDA (772 BARNETTS RUN RD, BRIDGEPORT, WV
26330; (304) 842-5600) WHO STATED THEY WERE UNABLE TO
RECREATE THE FAILURE AND THEREFORE WERE NOT ABLE TO
DIAGNOSE THE VEHICLE. THE FAILURE RECURRED. THE CONTACT
HAD TAKEN THE VEHICLE TO THE SAME DEALER THREE TIMES
HOWEVER, THE INSPECTION RESULTS WERE THE SAME. THE VEHICLE
HAD NOT BEEN REPAIRED. THE MANUFACTURER WAS MADE AWARE
OF THE FAILURE AND SUGGESTED THE CONTACT GO TO ANOTHER
DEALER FOR A SECOND OPINION. THE APPROXIMATE FAILURE
MILEAGE WAS 2,000.*DT*JB *JS


NHTSA ID Number: 11374749

Incident Date November 14, 2020

Complaint Date November 15, 2020

Consumer Location STAFFORD, VA

Vehicle Identification Number 1HGCV1F39JA****

Summary of Complaint

PURCHASED IN MAY 2019. CURRENTLY < 50,000 MILES. ALL SERVICE
PERFORMED AT HONDA DEALERSHIP. SEVERAL WEEKS AGO BEGAN
TO NOTICE GASOLINE SMELL IN THE CABIN WHILE DRIVING. DIDN'T
THINK MUCH OF IT, THOUGH IT WAS COMING FROM THE
OUTSIDE/OTHER VEHICLES. CHECK ENGINE LIGHT CAME ON LAST
WEEK. TOOK THE VEHICLE TO THE DEALERSHIP FOR SERVICE, WAS
TOLD THE FUEL INJECTOR NEEDS TO BE REPLACED, CYLINDER 3
ISSUE. LAST RESORT WAS TO DO A FUEL INJECTOR CLEANING
SERVICE, HAD THAT DONE. TWO DAYS LATER, WHILE DRIVING 70
MPH ON THE HIGHWAY, THE VEHICLE WOULD NO LONGER
ACCELERATE. IMMEDIATELY PULLED OVER WITHOUT INCIDENT BUT
COULD HAVE BEEN VERY BAD. I AM NOT CONVINCED THE FUEL
PUMP PROBLEMS THAT REQUIRED A RECALL FOR MANY 2018



                                   - 59 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 60 of 129




ACCORDS WITH 2.0T ENGINES ARE NOT ALSO IMPACTING 1.5T
ENGINES.


NHTSA ID Number: 11373891

Incident Date September 1, 2020

Complaint Date November 9, 2020

Consumer Location WALLINGFORD, CT

Vehicle Identification Number 2HKRW2H5XLH****

Summary of Complaint

THE CABIN OF MY CRV SMELLS NAUSEATINGLY LIKE GASOLINE
CAUSING SEVERE HEADACHES. IT HAPPENS WHILE THE ENGINE IS
RUNNING AT LOW AND HIGH SPEEDS, AND ALSO WHEN THE ENGINE
IS NOT RUNNING. MY VEHICLE HAS LESS THAN 4000 MILES ON IT. I
THOUGHT THIS PROBLEM WAS FIXED IN THE 2020 MODELS.

NHTSA ID Number: 11354164
Incident Date September 9, 2020
Complaint Date September 10, 2020
Consumer Location EDWARDSBURG, MI
Vehicle Identification Number 7FARW2H94JE****
Summary of Complaint
ON TWO OCCASIONS THE ENGINE LOST POWER AND THERE WAS A
STRONG SMELL OF GASOLINE INSIDE THE CAR. THE VEHICLE WAS IN
FORWARD MOTION ON A BUSY HIGHWAY. THIS OCCURRED ON TWO
OCCASIONS WITHIN THE PAST TWO WEEKS. SYMPTOMS ARE
INDICATIVE OF AN ABNORMAL OIL DILUTION PROBLEM WITH THIS
VEHICLE.


NHTSA ID Number: 11341984


                                    - 60 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 61 of 129




Incident Date February 10, 2019

Complaint Date July 29, 2020

Consumer Location FAIR LAWN, NJ

Vehicle Identification Number 1HGCV1F17JA****

Summary of Complaint

FUEL IS LEAKING INTO ENGINE OIL. MY MECHANIC SAID HE CAN
SMELL THE FUEL IN THE OIL WHEN CHANGING OIL. ALSO THE OIL
LEVEL INCREASES WHEN CHECKING OIL LEVEL OVER TIME. THIS
OCCURS WHILE CAR IS IN MOTION.



NHTSA ID Number: 11330807

Incident Date June 24, 2020

Complaint Day June 25, 2020

Consumer Location Unknown

Vehicle Identification Number 7FARW2H96KE****

Summary of Complaint

WE WERE DRIVING ON A STRAIGHT SECTION OF ROAD AT 80MPH ON
I-24 E WHEN THE ENGINE LIGHT CAME ON AND WE LOST POWER TO
THE WHEELS BUT THE ENGINE WAS STILL RUNNING. THERE WAS NO
JERKING MOTION OR ANY SIGN OF TROUBLE WHEN THIS HAPPENED.
WE HAD TO COAST IN HEAVY TRAFFIC WITH SEMI-TRUCKS ALL
AROUND US TO GET TO THE RIGHT HAND SHOULDER FOR A SAFE
PLACE. HONDA'S REPLY TO THE DEALER WAS TO CHANGE THE OIL
OUT IF THERE WAS GAS IN THE OIL. THERE WAS GAS IN THE OIL
WHEN THE DEALER CHECKED SO THEY REPLACED THE OIL. NO
OTHER FIX WAS SUGGESTED BY HONDA TO THE DEALER EVEN
THOUGH THIS PROBLEM WAS SUPPOSED TO BE FIXED FOR THE 2019
MODELS AS IT HAD INITIATED FIELD REPAIRS FOR THE 2017 & 2018
MODELS. THE FIX WAS SUPPOSED TO BE IMPLEMENTED AT THE
ASSEMBLY PLANTS BEFORE THE 2019 MODELS WERE SOLD. *TR

                                    - 61 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 62 of 129




NHTSA ID Number: 11327256
Incident Date May 30, 2020
Complaint Date June 4, 2020
Consumer Location LINCOLN, IL
Vehicle Identification Number 5J6RW2H59KL****
Summary of Complaint
GASOLINE IN OIL (OIL DILUTION). *TR


NHTSA ID Number: 11323047
Incident Date April 30, 2020
Complaint Date May 2, 2020
Consumer Location GALESVILLE, WI
Vehicle Identification Number 2HKRW2H84KH****
Summary of Complaint
GASOLINE IS GETTING INTO THE OIL. JUST AS IT HAS BEEN
REPORTED IN THE 2017 AND 18 MODELS, 1.5 LITER TURBO CHARGED
ENGINE. I HAVE HEARD THAT THE 2020 MODEL HAS THE
GASOLINE OIL DILUTION PROBLEM ALSO. THIS ISSUE WAS
IDENTIFIED ON THE FIRST OIL CHANGE. WE WERE ASKING BY THE
DEALER TO GET THE OIL LEVEL CHECKED EVERY 1000 MILES, WE
JUST HAD THAT HAPPEN AND THE OIL LEVEL WAS RECORDED AS
SLIGHTLY HIGH. IT SMELLS OF GASOLINE. THE DEALER TOLD US
HONDA IS WORKING ON A SOLUTION. IN THE MEANTIME OUR
ENGINE IS MAKING METAL AND IT'S LIFE IS GETTING SHORTER AND
SHORTER. LACK OF LUBRICATION. PURCHASED CR-V NEW 9/4/19,
LAST OIL LEVEL CHECK WAS 4/30/20.


NHTSA ID Number: 11322951
Incident Date February 1, 2019

                                    - 62 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 63 of 129




Complaint Date May 1, 2020
Consumer Location SCHAUMBURG, IL
Vehicle Identification Number 7FARW2H59JE****
Summary of Complaint
TL* THE CONTACT OWNS A 2018 HONDA CR-V. THE CONTACT STATED
THAT THAT GASOLINE LEAKED INTO THE ENGINE OIL AND CAUSED
ENGINE OIL DILUTION. THE CONTACT STATED THAT THERE WAS
EVIDENCE OF GASOLINE ON THE DIPSTICK. THE VEHICLE WAS
TAKEN TO HONDA MOTOR WORK (1475 SOUTH BARRINGTON ROAD,
BARRINGTON, IL 60010, (847)-381-8900), WHERE THE CONTACT WAS
INFORMED TO MONITOR THE OIL LEVEL AND TO HAVE THE VEHICLE
INSPECTED EVERY 1,000 MILES. THE VEHICLE WAS NOT REPAIRED.
THE MANUFACTURER WAS INFORMED OF THE FAILURE. THE
FAILURE MILEAGE WAS 12,000.


NHTSA ID Number: 11322907
Incident Date April 11, 2020
Complaint Date April 30, 2020
Consumer Location ROCHESTER, MN
Vehicle Identification Number 5J6RW2H57KA****
Summary of Complaint
DEVELOPED OIL DILUTION PROBLEM, TO THE POINT WHERE IT
DAMAGED MY SPARK PLUGS AND THE ENGINE HAD TROUBLE
RUNNING, HAD TO BE TOWED TO DEALERSHIP. CAUSE SMOKING
UNDER THE HOOD AND SHAKINESS IN THE MIDDLE OF DRIVING,
WHEEL LOCKED UP AND I COULDN'T STEER, ALL WARNING LIGHTS
CAME ON THE DASH TOGETHER, NOT SAFE AT ALL.


NHTSA ID Number: 11322203
Incident Date November 9, 2019
Complaint Date April 24, 2020


                                    - 63 -
          CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 64 of 129




Consumer Location DOVER, DE
Vehicle Identification Number 7FARW2H81KE****
Summary of Complaint
2,790 MILES. GAS FUMES IN THE CABIN OF NEWLY PURCHASED 2019
HONDA CR-V AND ON THE OUTSIDE OF CAR NEAR FRONT OF CAR. ON
02/03/2020, I TOOK THE CAR TO HONDA'S SERVICE CENTER WHERE
THEY PERFORMED A MULTI-POINT INSPECTION(VISUAL INSPECTION).
THEY RAN THE CAR IN THE GARAGE FOR 45 MINUTES BUT WERE
UNABLE TO DUPLICATE THE PROBLEM AND THE SMELL COULD NOT
BE NOTICED INSIDE THE CAB, AROUND THE FUEL TANK OR UNDER
THE HOOD. BUT THEY DID SAY, THE OIL HAD A FUEL SMELL. I FOUND
THIS IS A KNOWN OIL DILUTION PROBLEM THAT HAS BEEN FOUND IN
2018 AND 2017 MODELS AND THAT IT WAS TO BE CORRECTED FOR
2019. HONDA IS AWARE THIS IS STILL AN ISSUE BUT SAY THEY
CANNOT DUPLICATE THE ISSUE SO THEY DO NOTHING. I HAVE
RESPIRATORY PROBLEMS AND VERY SENSITIVE TO CERTAIN ODORS
AND FUMES, AND WHEN I DRIVE THE CAR I HAVE TO HAVE THE
MOON ROOF OPEN AND THE WINDOWS CRACKED. IT CAUSES
DISCOMFORT IN MY CHEST AND AIR PASSAGE. I CALLED HONDA
CUSTOMER SERVICE SEVERAL TIMES AND OPENED A CASE. IT WAS
ASSIGNED TO A CASE MANAGER WHO SAID HE WOULD LOOK INTO IT
AND CALL ME BACK IN A COUPLE OF DAYS, THAT WAS 2 MONTHS
AGO. HE NEVER CALLED. I CALLED THEM AGAIN 4/20/2020 AND WAS
TOLD I CAN GET A SECOND OPINION AT ANOTHER HONDA SERVICE
CENTER, BUT IF THE RESULTS ARE THE SAME THERE IS NOTHING
THEY CAN DO. HONDA KNOWS THIS IS AN ISSUE THAT HAS NOT BEEN
CORRECTED FOR THE 2019 AND REFUSES TO DO ANYTHING. THIS CAR
IS A HAZARD FOR THOSE WITH HEALTH ISSUES, SMALL CHILDREN
AND FOR ANYONE BREATHING IN THESE FUMES. I AM A SENIOR
CITIZEN WHO BOUGHT THIS CAR BASED ON GOOD REVIEWS
BECAUSE I WANTED A GOOD CAR THAT WOULD POSSIBILITY BE THE
LAST CAR I HAD TO PURCHASE AND IT MAY BE, BUT NOT FOR THE
REASONS I HOPED. WHEN SOMEONE PURCHASES A BRAND NEW CAR
WITH A 5 YEAR CAR NOTE, THE LEAST THEY SHOULD BE ABLE TO
EXPECT IS THE ABILITY TO DRIVE THE CAR WITHOUT FEELING THEY
ARE PUTTING THEIR LIFE IN JEOPARDY. HONDA IS AWFUL AND
SHAMEFUL.



                                   - 64 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 65 of 129




NHTSA ID Number: 11320909

Incident Date February 21, 2020

Complaint Date April 12, 2020

Consumer Location DULUTH, MN

Vehicle Identification Number 5J6RW2H86KL****

Summary of Complaint

PROBLEM: FUEL GETTING INTO OIL TRANSFER CASE AND
CONTAMINATING/DILUTING THE OIL. WE PURCHASED A 2019 HONDA
CR-V EX-L ON 10/31/19. I HAD DONE SOME RESEARCH ON THIS
PROBLEM SINCE IT HAD BEEN REPORTED WITH THE 2017-2018
MODELS WITH THE SAME 1.5 TURBO ENGINE. I BROUGHT IT TO THE
DEALER'S ATTENTION BEFORE WE BOUGHT THE CAR AND WE WERE
TOLD THAT HONDA HAD "FIXED THE PROBLEM AND THAT OUR
VEHICLE HAD THE FIX". WE WERE PLANNING A TRIP TO DALLAS, TX
ON 02/22/20 AND PLANED TO DRIVE THERE FROM OUR HOME IN
DULUTH, MN. IN PREPARING FOR THE TRIP, I CHECKED THE ENGINE
OIL AND FOUND THAT THE OIL LEVEL WAS 1/2" ABOVE THE FULL
MARK ON THE DIPSTICK, AND THE OIL WAS DARK AND SMELLED
STRONGLY OF GASOLINE. THE CAR HAD 2407 MILES ON IT AT THIS
TIME AND OBVIOUSLY HONDA HAD NOT FIXED THE PROBLEM. I
TOOK THE CAR TO THE DEALER ON 02/21/20 WHERE I PURCHASED
THE CAR AND HAD THEM CHECK THE OIL. THEY OBSERVED THE
SAME ISSUES THAT I AM REPORTING. THEY STATED THAT HONDA
KNOWS ABOUT THIS PROBLEM BUT HAS NOT YET ISSUED A RECALL.
BUT THEY ALSO STATED THAT HONDA WAS NOT PROVIDING ANY
EXPLANATION OR REMEDY OTHER THAN TO CHANGE THE OIL AT
THE OWNER'S EXPENSE. MY DEALERSHIP, TO THEIR CREDIT, AGREED
TO CHANGE THE OIL AND FILTER AT NO CHARGE TO ME. THE
SERVICE MANAGER ALSO EXPLAINED WHY THE ISSUE IS OCCURRING
AND ACKNOWLEDGED THAT HONDA MAY YET BE FORCED TO ISSUE
A RECALL. HONDA HAS ALREADY OFFERED AN EXTENDED
WARRANTY FOR THE 2017-18 MODELS AS THE RESULT OF A CLASS
ACTION SUIT, BUT NOTHING IS BEING DONE FOR THE 2019 OR 2020
MODELS THAT HAVE THE SAME ENGINE AND SAME PROBLEM. I AM
CONCERNED ABOUT PREMATURE ENGINE WEAR, DAMAGE, OR


                                    - 65 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 66 of 129




POTENTIAL OF FIRE OR EXPLOSION. DEALER REPAIR #122992,
KRENZEN HONDA DULUTH, MN.



NHTSA ID Number: 11318160
Incident Date March 13, 2020
Complaint Date March 15, 2020
Consumer Location ANN ARBOR, MI
Vehicle Identification Number 2HKRW2H52LH****
Summary of Complaint
I AM EXPERIENCING THE ENGINE OIL DILUTION PROBLEM. I HAD THE
OIL CHANGED AFTER LESS THAN 2000 MILES DRIVEN BECAUSE IT
LOOKED LIKE SPENT OIL (DARK AND CLOUDY) AND SMELLED
HEAVILY OF GASOLINE. TECHNICIANS AT HONDA ADVISED THAT I
KEEP GETTING THE OIL CHANGED REGULARLY, BUT THAT THERE
WAS NO FIX THAT THEY COULD MAKE TO THE OIL DILUTION
PROBLEM.


NHTSA ID Number: 11317517
Incident Date March 9, 2020
Complaint Date March 11, 2020
Consumer Location OAK ISLAND, NC
Vehicle Identification Number 5J6RW1H81JL****
Summary of Complaint
STALLING WHILE DRIVING WHEN STOPPED THE FUEL LEVEL IS HIGH,
KNOWN HONDA OIL DILUTION PROBLEM CHECKED BY EAST COAST
HONDA MYRTLE BEACH S C THEY REPLACED THE FUEL INJECTORS
PIPES AND OIL AGAIN FOR 3RD TIME. CONTINUALLY OVERFULL
CRANKCAS. HONDA HAS AN OPEN CASE ALSO #10008784 AND
DEALERSHIP IS WORKING ON THE SOLUTION BUT IT STILL EXISTS! I
ALREADY HAVE A NHTSA CASE # 11277446 BUT I CAN NOT LOCATE IT


                                    - 66 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 67 of 129




AND TELEPHONE CLERK WAS SNOTTY ABOUT ME GIVING HER THE
INFO AND ME ASKING FOR SPECIFIC INSTRUCTIONS.


NHTSA ID Number: 11315528
Incident Date March 1, 2020
Complaint Date March 2, 2020
Consumer Location CONWAY, SC
Vehicle Identification Number 5J6RW2H53JL****
Summary of Complaint
FROM THE DATE I PURCHASED (SO HONDA ALREADY KNEW OF
PROBLEM) MY VEHICLE OIL IS BEING OVER FILLED (AND DILUTED)
WITH GASOLINE. IT DILUTES AND OVERFILLS TO THE POINT OF PCV
VALVE BURN OFF. NOW 33000 MILES ON AUTO, HONDA WANTS TO
CHANGE INJECTORS TO "SEE" IF THIS SOLVES PROBLEM. ONE: IT'S
HAPPENED SINCE NEW. INJECTORS OR DOUBTFULLY THE PROBLEM.
TWO: 33000 MILES OF GAS/ OIL DILUTION HAS UNDOUBTEDLY
CAUSED WEAR TO CRANK AND CYLINDERS. HOW IS INJECTORS
BEING REPLACED GOING TO "SOLVE" THE WEAR THAT THEY HAVE
ALLOWED, SINCE MY CONTINUED CONCERNS AT EVERY SINGLE OIL
CHANGE FOR 33000 MILES WERE IGNORED? I HAVE READ THIS IS NOT
AN UNCOMMON PROBLEM, BUT VERY COMMON WITH THIS ENGINE.
ONE: WHY HAVEN'T THEY ADDRESSED MY CONCERNS FOR 33000
MILES? TWO: WITH A KNOWN PROBLEM, AND THE CUSTOMER
COMPLAINING FROM THE START OF DILUTION, WHY HAVEN'T THEY
ADDRESSED THE WEAR TO MY ENGINE? AN EXTENDED WARRANTY
DOES NOT STOP THE DAMAGE CAUSED BY HONDA IGNORING MY
COMPLAINTS FOR 33000 MILES TO START A REPAIR. NOTE, I HAVE
ADDRESSED OVERFILLING WITH GASOLINE AT EVERY OIL CHANGE
(GARAGE VISIT) TO THE POINT OF ARGUMENT JUST TO GET IT
DOCUMENTED THAT I RAISED THE ISSUE! IT DILUTES TO PCV VALVE
BURNOFF BEFORE 1000 MILES (AS TESTED AND VERIFIED BY HONDA
DEALERSHIP!) AND GOES FOR AT LEAST 5000 MILES BETWEEN OIL
CHANGES. EVERY DAY MORE GAS AND OIL ARE BURNT THROUGH
EXHAUST AS MORE GAS IS ADDED. I WILL COMPLY WITH THE
INJECTOR "FIX" BY THE GARAGE, BUT WANT MY WEAR TO THE
ENGINE ADDRESSED. THIS IS GROSS OVERFILLING AND DILUTION,

                                    - 67 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 68 of 129




KNOWN BY HONDA, AND SOLD TO ME ANYWAYS, WITH NO REPAIR
AS OF YET TO WEAR. WHAT HAPPENS WHEN WARRANTY RUNS OUT
AND THEY HAVE ALLOWED SUCH GROSS DILUTION AND WEAR?
THEY ARE CLAIMING A "COLD CLIMATE" PROBLEM, BUT MY DOES IT
IN THE HEAT OF THE SOUTH CAROLINA SUMMER! HONDA IS
COVERING UP.


NHTSA ID Number: 11310622

Incident Date February 15, 2020

Complaint Date February 21, 2020

Consumer Location BENICIA, CA

Vehicle Identification Number 1HGCV3F46JA****

Summary of Complaint

AFTER FILLING THE FUEL TANK, A STRONG ODOR OF GASOLINE WAS
SMELLED IN THE CAR. THE CAR WAS TAKEN TO THE LOCAL HONDA
DEALER AND AFTER 5 DAYS THEY STILL HAVEN'T FOUND THE CAUSE
OF THE PROBLEM. THEY HAVE ATTEMPTED TO DEODORIZE THE CAR
EACH DAY AND VENTILATE IT USING FANS BUT I DON'T KNOW IF THE
FUEL SYSTEM HAS BEEN CHECKED.

NHTSA ID Number: 11309775
Incident Date January 22, 2019
Complaint Date February 18, 2020
Consumer Location CLIFFSIDE PARK, NJ
Vehicle Identification Number 2HKRW2H8XJH****
Summary of Complaint
ENGINE OIL DILUTION CONTINUES AFTER HONDA FIX WITH
REPROGRAMMING ENGINE COMPUTER AND AC CONTROL MODULE
REPLACEMENT. HONDA HAS EXTENDED THE POWERTRAIN
WARRANTY TO 6 YEARS UNLIMITED MILEAGE FROM THE ORIGINAL


                                    - 68 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 69 of 129




SALE DATE. CURRENT MILEAGE 14,000. ENGINE OIL AND FILTER HAS
BEEN CHANGED 8 TIMES DUE TO THIS PROBLEM.



NHTSA ID Number: 11309739
Incident Date February 17, 2020
Complaint Date February 17, 2020
Consumer Location VALPARAISO, IN
Vehicle Identification Number 1HGCV1F45JA****
Summary of Complaint
THE VEHICLE HAS DEVELOPED EXCESSIVE GAS/OIL SMELL
HALFWAY THROUGH THE OIL CHANGE CYCLE EVEN WHEN THE
MAINTENANCE MINDER SHOWS 70% OIL LIFE. THE SMELL OCCURS
WHEN DRIVING IN THE MIDWEST AND CAUSES THE GARAGE TO
SMELL LIKE AN OIL/GAS MIXTURE. OIL DILUTION HAS BEGUN
OCCURRING EVEN WHEN PROVIDED ENOUGH TIME TO WARM UP.


NHTSA ID Number: 11309467

Incident Date February 11, 2020

Complaint Date February 16, 2020

Consumer Location RAPIDS CITY, IL

Vehicle Identification Number 2HKRW2H83KH****

Summary of Complaint

THE ENGINE IS GETTING GAS IN THE OIL. I HAVE TAKEN OIL
SAMPLES THAT SHOW GREATER THAN 5% GAS IN THE ENGINE WITH
LOWER THAN MINIMUM OIL VISCOSITY. I HAVE TAKEN IT TO THE
DEALER WHO CHANGED THE OIL. LESS THAN 1000 MILES LATER, THE
PROBLEM IS BACK. THE ENGINE HESITATES RANDOMLY ESPECIALLY
WHEN SLOWING DOWN. I'VE TAKEN THE VEHICLE TO TWO
DIFFERENT DEALERS WITH THE SAME "THERE'S NOTHING WE CAN


                                    - 69 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 70 of 129




DO". I ASKED THEM IF THEY COULD PULL THE INJECTORS AND
CHECK TO SEE IF ONE IS FAULTY AND WAS TOLD "IT'S DIRECT
INJECTION, THE INJECTORS CANNOT BE PULLED", WHICH OF COURSE
IS FALSE. THE LAST MECHANIC TOLD ME THAT UNLESS THE OIL
LEVEL IS MORE THAN 1.5 INCHES ABOVE THE ADD MARK, THERE
WAS NO CHANCE OF DAMAGE TO THE ENGINE. I ESTIMATE THAT AT
THAT LEVEL, THERE WOULD BE 30% GAS IN OIL. THE COMPANY
STATED THAT THE PROBLEM FOR THE 1.5 TURBO ENGINE IN THE 2019
CR-V WAS SOLVED. I DON'T BELIEVE IT HAS BEEN SOLVED BASED ON
MY AND OTHERS EXPERIENCE.



NHTSA ID Number: 11308097
Incident Date January 31, 2020
Complaint Date February 9, 2020
Consumer Location METAIRIE, LA
Vehicle Identification Number 2HKRW1H59KH****
Summary of Complaint
OIL DILUTION. DIP-STICK WAS READING HIGH AFTER RECENT OIL
CHANGE AT DEALERSHIP. DIP-STICK HAD STRONG ODOR OF
GASOLINE. HONDA REMEDY WAS ANOTHER OIL CHANGE. FILED
COMPLAINT WITH HONDA, CASE #10193498 AND WITH DEALERSHIP I
PURCHASED FROM. I MAY NEED TO HIRE A LAWYER


NHTSA ID Number: 11302498
Incident Date January 24, 2020
Complaint Date January 28, 2020
Consumer Location ELMIRA, NY
Vehicle Identification Number 2HKRW2H59KH****
Summary of Complaint
2019 HONDA CRV- OIL DILUTION CAUSING OIL LEVEL TO RISE-
CAUSED CAR TO GO INTO "LIMP MODE". INVOICE ATTACHED. I HAVE

                                    - 70 -
          CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 71 of 129




A 2019 HONDA CRV WITH ONLY 3196 MILES ON IT. ON 1/24/20, I WAS IN
THE PASSING LANE OF A BUSY HIGHWAY WHEN THE CAR SUDDENLY
LOST ACCELERATION! I PUT THE GAS PEDAL TO THE FLOOR AND
NOTHING! THERE WERE CARS ALL AROUND ME AND IT WAS
ABSOLUTELY TERRIFYING. I AND EVERYONE DRIVING AROUND ME
WERE LUCKY, AS IT COULD EASILY HAVE BEEN A LARGE PILE UP ON
THE HIGHWAY WITH CATASTROPHIC REPERCUSSIONS. THE CAR WAS
TOWED TO THE DEALER WHERE IT WAS DETERMINED THAT THE
ISSUE WAS CAUSED BY " OIL DILUTION CAUSING ELEVATED OIL
LEVEL"..."FOULED PLUGS AND MISFIRE CODES"..."OIL VERY THIN
VERY DARK AND SMELLED". THIS IS THE SAME ISSUE THAT
OCCURRED IN PRIOR YEARS CRVS! THE HONDA TECH LINE DIDN'T
HAVE A FIX FOR 2019S YET SO ADVISED THE DEALER TO CHANGE MY
OIL AND REPLACE THE SPARK PLUGS. I AM TERRIFIED TO DRIVE THIS
CAR AND AM STUCK IN A LEASE FOR 2 1/2 MORE YEARS. I CALLED
HONDA CORPORATION AND THEY WOULDN'T GIVE ME ANY
INFORMATION ON WHAT THEY WERE DOING FOR THIS, EXCEPT TO
TELL ME THAT NO NOTICE IS EVER SENT TO OWNERS OF A CAR
UNTIL A FIX IS FOUND. THAT IS FRIGHTENING. I CAN'T BELIEVE THEY
CAN CONTINUE TO SELL THEM WHILE THIS DANGEROUS SITUATION
EXISTS.


NHTSA ID Number: 11299154
Incident Date December 30, 2019
Complaint Date January 13, 2020
Consumer Location SISTERSVILLE, WV
Vehicle Identification Number 7FARW2H81KE****
Summary of Complaint
HONDA STATED THAT THE OIL DILUTION PROBLEM HAD BEEN
CORRECTED FOR 2019 CRV'S. IT WAS NOT IN MY 2019 CRV. I HAVE
APROX 21000 MILES AND EACH TIME OIL IS CHANGED. ITS BEEN A
QUART HIGH OR MORE ON THE DIPSTICK WITH A GASOLINE SMELL.
THE DEALER WILL NOT TELL ME THAT THIS IS THE PROBLEM. THEY
KEEP PUTTING ME OFF. VERY SIMPLY THIS IS ADDING TO WEAR AND
TEAR ON THE CRV. ANOTHER PROBLEM IS THE GAS FUMES IN THE
CAR CABIN WHICH ARE VERY DANGEROUS . WE HAVE FELT LIGHT

                                   - 71 -
          CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 72 of 129




HEADED WHILE DRIVING . THIS WOULD CAUSE AN ACCIDENT IF WE
WOULD PASS OUT FROM THE FUMES,


NHTSA ID Number: 11291172
Incident Date December 27, 2018
Complaint Date December 25, 2019
Consumer Location BLOOMINGTON, IL
Vehicle Identification Number 5J6RW2H95JL****
Summary of Complaint
PURCHASED HONDA 2018 CRV TOURING IN OCTOBER OF 2018. IN
DECEMBER RECEIVED LETTER FROM HONDA REGARDING A FIX FOR
THE OIL DILUTION ISSUE. OIL CHANGE 12/27/18 AND AGAIN 5/30/19 AT
3544 MILES AS OIL ABOVE FULL ON DIPSTICK. OIL CHANGE AGAIN
8/21/19 AT 7,386 MILES FOR SAME ISSUE. NOW AT 10,971 NEEDING OIL
CHANGE AGAIN BECAUSE OF EXCESS OIL/FUEL MIXTURE. ALSO,
STILL GETTING GAS SMELL IN THE CABIN OF THE VEHICLE. ON
GOING PROBLEM WITH THIS ENGINE. ## VIN PASSED ## ##


NHTSA ID Number: 11289970

Incident Date December 18, 2019

Complaint Date December 18, 2019

Consumer Location BEXLEY, OH

Vehicle Identification Number 2HKRW2H58KH****

Summary of Complaint

INTERMITTENT RAW GAS FUMES INSIDE CABIN OF 2019 HONDA CR-V.
RAW GAS SMELL PRESENT WHILE VEHICLE IS PARKED, MOVING ON
CITY STREETS AND ON THE HIGHWAY. DEALER WAS UNABLE TO
REPLICATE THE PROBLEM. DEALER CONDUCTED AN EVAP FUNCTION
TEST. THE VEHICLE PASSED.



                                   - 72 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 73 of 129




NHTSA ID Number: 11256013
Incident Date September 12, 2019
Complaint Date September 16, 2019
Consumer Location KEW GARDENS, NY
Vehicle Identification Number 7FARW2H52JE****
Summary of Complaint
OIL DILUTION BAD GAS SMELL FROM OIL CAN CAUSE A FIRE CAR
ONLY HAS 3750 MILES


NHTSA ID Number: 11244554
Incident Date August 16, 2019
Complaint Date August 16, 2019
Consumer Location PENITAS, TX
Vehicle Identification Number SHHFK7G42JU****
Summary of Complaint
2018 HONDA CIVIC HATCHBACK, GASOLINE SMELL IN CABIN
OCCURRED ON 8/16/2019. 1.5L OIL DILUTION COULD BE CAUSE OF
ISSUE.
NHTSA ID Number: 11244229
Incident Date August 1, 2019
Complaint Date August 15, 2019
Consumer Location WAUSAU, WI
Vehicle Identification Number 7FARW2H94KE****
Summary of Complaint
HONDA OIL DILUTION - DRIVING THE CAR ON THE INTERSTATE AND
THE ENGINE LIGHT CAME ON AND THE ENGINE SHUT OFF. PULLED
OVER AND RESTARTED THE CAR. DROVE 2 MILES AND ENGINE SHUT


                                    - 73 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 74 of 129




OFF AGAIN. PULLED OVER STARTED CAR DROVE 100 FT AND ENGINE
SHUT OFF AND EVERYTHING INCLUDING WHEELS LOCKED UP. CAR
TAKEN TO HONDA DEALER AND THEY STATE THAT THE ENGINE
RUNNING ON 3 CYLINDERS BECAUSE SPARK PLUG FOWLED UP.
REPLACED SPARK PLUG. PICKED UP THE CAR DROVE IT 300 MILES
AND ENGINE STUTTERED, DID NOT SHUT OFF AND BLUE SMOKE
PLUMES CAME OUT OF EXHAUST. SHUT THE CAR OFF AND BLUE
SMOKE WENT AWAY, DID NOT DRIVE THE CAR FOR ONE WEEK.
DROVE CAR 100 MILES ON INTERSTATE, ENGINE LIGHT COMES ON
AND ENGINE SHUTS OFF. PULL OVER. RESTART THE ENGINE AND
WAS ABLE TO DRIVE 50 MILES TO THE SAME HONDA DELEAR FOR
THE FIRST TIME REPAIR. MECHANIC TELLS ME THAT THE OIL CASE
WAS 1/2 QUART TOO MUCH. SOUND LIKE OIL DILUTION ISSUE. *JS


NHTSA ID Number: 11243389
Incident Date May 1, 2019
Complaint Date August 12, 2019
Consumer Location FRANKLIN PARK, NJ
Vehicle Identification Number 7FARW2H59KE****
Summary of Complaint
ENGINE OIL DILUTION


NHTSA ID Number: 11242737

Incident Date August 8, 2019

Complaint Date August 9, 2019

Consumer Location WEAVERVILLE, NC

Vehicle Identification Number 5J6RW6H38KL****

Summary of Complaint

TL* THE CONTACT OWNS A 2019 HONDA CR-V. AFTER STARTING THE
VEHICLE, A FUEL ODOR CAME THROUGH THE VENTS AND ALL THE

                                    - 74 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 75 of 129




WARNING INDICATORS ILLUMINATED ON THE INSTRUMENT PANEL.
THE CONTACT CALLED APPLE TREE HONDA (242 UNDERWOOD RD,
FLETCHER, NC 28732, (828) 684-4400) AND INFORMED THEM OF THE
FAILURE. THE VEHICLE WAS NOT DIAGNOSED OR REPAIRED. THE
MANUFACTURER WAS NOTIFIED OF THE FAILURE AND PROVIDED
CASE NUMBER: 09773700. THE APPROXIMATE FAILURE MILEAGE WAS
1,900.

NHTSA ID Number: 11242232
Incident Date January 3, 2019
Complaint Date August 7, 2019
Consumer Location ASHLAND, OR
Vehicle Identification Number 2HKRW2H52JH****
Summary of Complaint
TL* THE CONTACT OWNS A 2018 HONDA CR-V. THE CONTACT
SUSPECTED THAT FUEL AND OIL WERE IN THE OIL TANK, LEAKING
PAST THE CYLINDERS AND ENTERING THE OIL TANK. THE VEHICLE
WAS TAKEN TO LITHIA HONDA (4095 CRATER LAKE HWY, MEDFORD,
OR 97504, (541) 930-3021) WHERE AN OIL DILUTION FOR THE FUEL
ODOR WAS PERFORMED, BUT NO FAILURE WAS FOUND. THE
CONTACT STATED THAT THE DIPSTICK SHOWED THAT THE OIL WAS
ABOVE THE FULL MARK. THE VEHICLE WAS NOT REPAIRED. THE
MANUFACTURER WAS NOTIFIED OF THE FAILURE AND INFORMED
THE CONTACT TO CALL THE DEALER. THE APPROXIMATE FAILURE
MILEAGE WAS 10,864. *BF *JB


NHTSA ID Number: 11232108
Incident Date February 17, 2019
Complaint Date July 15, 2019
Consumer Location OCOEE, FL
Vehicle Identification Number 7FARW1H88JE****
Summary of Complaint


                                    - 75 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 76 of 129




MY 2018 HONDA CR-V 1.5T ENGINE IS "MAKING OIL". I CHANGE MY
OWN OIL AND MONITOR THE LEVEL WEEKLY. THE DEALER TOLD ME
THAT THE OIL DILUTION ISSUE THAT I READ ABOUT IN CONSUME
REPORTS WOULD NOT AFFECT ME BECAUSE I AM IN A WARM
CLIMATE (FLORIDA) BUT THAT IS NOT TRUE. THE OIL LEVEL ON MY
DIP STICK ROSE ABOUT 3/8 OF AN INCH IN 5000 MILES. I CHANGED
THE OIL AND WE TOOK A TRIP TO TENNESSEE IN THE WINTER AND
THE OIL LEVEL ROSE SO MUCH IN THE COLD WEATHER I WAS
CONCERNED THAT IT WOULD CAUSE TOO MUCH PRESSURE ON THE
SEALS SO I DRAINED SOME OIL OUT. I WOULD THINK THAT GAS IN
THE OIL WOULD SEVERELY EFFECT ENGINE LIFE. THE DEALER
DENIES THAT I HAVE A PROBLEM SAYING THE THIS IS A COLD
WEATHER ISSUE.


NHTSA ID Number: 11228346
Incident Date June 22, 2019
Complaint Date June 29, 2019
Consumer Location ROCKAWAY, NJ
Vehicle Identification Number 2HKRW2H89JH****
Summary of Complaint
OIL DILUTION CAUSE ENGINE WEAR IN SHORT TIME
NHTSA ID Number: 11218729


Incident Date February 15, 2019
Complaint Date June 9, 2019
Consumer Location LOS ANGELES, CA
Vehicle Identification Number 2HKRW1H89JH****
Summary of Complaint
ENGINE OIL DILUTION. SMELLS GAS. OIL LEVEL HIGHER THAN MAX.
SOME LOSS OF ENGINE POWER. ALL HAPPENED BEFORE 5K MILES.
LESS THAN 700 MILES ANOTHER OIL CHANGE FOR THE SAME


                                    - 76 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 77 of 129




REASON. DEALER SAID NOTHING WRONG. AFTER DRIVING 100 MILES
STILL SAME PROBLEMS.


NHTSA ID Number: 11217243

Incident Date December 29, 2018

Complaint Date June 1, 2019

Consumer Location VIENNA, VA

Vehicle Identification Number 2HKRW2H9XJH****

Summary of Complaint

THE 2019 HONDA CR-V TOURING VEHICLE HAS EXPERIENCED
GASOLINE CONTAMINATION OF THE ENGINE OIL DUE TO AN ISSUE
WITH THE ENGINE DESIGN. THE ABNORMAL LEVELS OF GASOLINE
CONTAMINATES HAS BEEN VALIDATED THROUGH A THIRD-PARTY
LAB TEST. THE DEGRADATION OF THE LUBRICATING PROPERTIES OF
THE ENGINE OIL RESULTS IN ENGINE PERFORMANCE AND IN-CABIN
AIR QUALITY ISSUES. THE VEHICLE HAS BEEN TAKEN INTO THE
MANUFACTURER'S SERVICE DEPARTMENT, HOWEVER, THEY HAVE
INDICATED THAT THERE IS NO FIX FOR THIS ISSUE AT THIS TIME
UNLESS YOU LIVE IN SPECIFIC STATES WHERE THE FIX IS BEING
OFFERED. THIS IS A KNOWN INTERNATIONAL ISSUE WITH THIS
VEHICLE TYPE AND HONDA HAS ACKNOWLEDGED THAT THIS IS A
PROBLEM. SOME REPORTS INDICATE THAT CONSUMERS HAVE
EXPERIENCED SEVERE VEHICLE PERFORMANCE ISSUES (I.E.,
STALLING) AS WELL AS HEALTH RELATED ISSUES DUE TO SUPER
STRONG GASOLINE ODORS IN THE CABIN OF THE VEHICLE. THE
REDUCED LUBRICATION QUALITY OF THE ENGINE OIL DUE TO THE
ENGINE DESIGN ISSUE HAS LONG-TERM PERFORMANCE
INDICATIONS.

NHTSA ID Number: 11217127
Incident Date July 31, 2018
Complaint Date May 31, 2019


                                    - 77 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 78 of 129




Consumer Location ANDOVER, MN
Vehicle Identification Number 5J6RW2H96JL****
Summary of Complaint
TL* THE CONTACT OWNS A 2018 HONDA CR-V. SEVERAL WEEKS
AFTER AN OIL CHANGE WAS PERFORMED ON THE VEHICLE, THE
CONTACT CHECKED THE ENGINE OIL DIPSTICK AND NOTICED THAT
THE ENGINE OIL WAS EXTREMELY DIRTY. THE VEHICLE WAS TAKEN
TO LUTHER BROOKDALE HONDA (LOCATED AT 6800 BROOKLYN
BLVD, BROOKLYN CENTER, MN 55429, (612) 424-7830) WHERE FUEL
WAS FOUND ON THE OIL DIPSTICK. THE CONTACT WAS INFORMED
THAT IT WAS A NORMAL OCCURRENCE. THE CONTACT WAS
CONCERNED ABOUT THE FUEL AND OIL DILUTION. THE VEHICLE
WAS NOT REPAIRED. THE MANUFACTURER WAS CONTACTED AND
PROVIDED CASE NUMBER: 09533542. THE APPROXIMATE FAILURE
MILEAGE WAS 4,495. *BF *TR


NHTSA ID Number: 11204123
Incident Date April 15, 2019
Complaint Date April 27, 2019
Consumer Location WHEELING, IL
Vehicle Identification Number SHHFK7H91KU****
Summary of Complaint
TERRIBLE SMELL INSIDE THE CAR AND OUTSIDE WHEN PARKED IN
GARAGE AFTER SHORT DRIVE. OIL DILUTION. STRONG GASOLINE
VAPORS . GASOLINE MIXING WITH OIL IN ENGINE


NHTSA ID Number: 11202809
Incident Date March 30, 2019
Complaint Date April 22, 2019
Consumer Location LEXINGTON, VA
Vehicle Identification Number 7FARW2H55JE****


                                    - 78 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 79 of 129




Summary of Complaint
MY CAR HAS THE OIL DILUTION ISSUE. HAVE HAD THE OIL CHANGED
2 TIMES WITH LESS THAN 7000 MILES ON CAR. DEALER CANNOT FIX
YET BECAUSE THEY ARE NOT AUTHORIZED.


NHTSA ID Number: 11202733
Incident Date February 1, 2019
Complaint Date April 21, 2019
Consumer Location BALTIMORE, MD
Vehicle Identification Number 7FARW2H52JE****
Summary of Complaint
WE PURCHASED A NEW 2018 HONDA CR-V EX IN DECEMBER 2018
FROM A NEAR-BY HONDA DEALER. WE LIVE IN BALTIMORE COUNTY,
MD, AND DO MOST OF OUR DRIVING LOCALLY. WITHIN A MATTER OF
WEEKS AFTER DRIVING, WE STARTED NOTICING A STRONG GAS
SMELL IN THE CABIN AND OUTSIDE THE CAR. THE ISSUE HAS
PERSISTED, AND STARTED TO GET WORSE. WE RESEARCHED OUR
ISSUE, AND NOTED MANY CUSTOMER COMPLAINTS REGARDING OIL
DILUTION PROBLEMS ON 2018 CR- V 1.5L TURBO-CHARGED ENGINES.
IN EARLY APRIL 2019, WE HAD OUR FIRST SERVICE VISIT TO CHECK
OUR CABIN GAS SMELL PROBLEM WITH THE DEALER. MILEAGE 1,500
MILES. ON THE SERVICE REPORT, DEALER NOTED "CONFIRMED OIL
AND GAS MIXTURE COMPLAINT. OIL LEVEL WAS MUCH HIGHER
THAN NORMAL ON DIPSTICK. HONDA IS AWARE OF THIS ISSUE BUT
DOES NOT HAVE A FIX AT THIS TIME. PLEASE CHECK OIL LEVEL
OFTEN". WE HAD THE DEALER PERFORM AN OIL AND FILTER
CHANGE DUE TO STRONG GAS ODOR IN OUR CABIN. THE DEALER
INDICATED HONDA WILL NOT PAY FOR THE OIL CHANGE, EVEN
THOUGH IT WAS PART OF A KNOWN UNRESOLVED ISSUE. THERE IS
NO RECALL IN MARYLAND YET, BUT THERE SHOULD BE IN OUR
OPINION. SINCE CHANGING THE OIL THREE WEEKS AGO, THE GAS
ODOR IS LESS OBSERVABLE AT THIS TIME. WE CONSIDER THE OIL
DILUTION PROBLEM TO BE A HEALTH CONCERN, AND A POTENTIAL
SAFETY PROBLEM ON THE CR-V. WE ARE CONCERNED TO HAVE A
SIGNIFICANT ISSUE WITH NO FIXES AVAILABLE IN MARYLAND. WE


                                    - 79 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 80 of 129




UNDERSTAND HONDA HAS ALREADY ISSUED FIXES FOR OIL
DILUTION ISSUES IN NEIGHBORING PENNSYLVANNIA AND
DELAWARE.


NHTSA ID Number: 11197062

Incident Date March 10, 2019

Complaint Date April 17, 2019

Consumer Location BLOOMINGTON, IN

Vehicle Identification Number 1HGCV2F38JA****

Summary of Complaint

AFTER CAR HAS WARMED UP, UPON A RESTART, GASOLINE ODOR
COMES THROUGH AIR VENTS AS CAR IDLES. THIS IS ON THE 2.0L
TURBO ENGINE IN THE SPORT MODEL.



NHTSA ID Number: 11186974
Incident Date March 14, 2019
Complaint Date March 15, 2019
Consumer Location AUBURN, WA
Vehicle Identification Number 2HKRW2H5XJH****
Summary of Complaint
FUEL IS LEAKING INTO THE OIL SYSTEM. OIL HAS VERY STRONG
SMELL OF GASOLINE. OIL DILUTION IS DOING UNTOLD DAMAGE TO
ENGINE.


NHTSA ID Number: 11186808
Incident Date October 15, 2018
Complaint Date March 14, 2019


                                    - 80 -
          CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 81 of 129




Consumer Location Unknown
Vehicle Identification Number 2HKRW2H89JH****
Summary of Complaint
TL* THE CONTACT OWNS A 2018 HONDA CR-V. THE CONTACT STATED
THAT THERE WAS AN ABNORMAL FUEL ODOR INSIDE THE VEHICLE.
THE VEHICLE WAS TAKEN TO AUTOPARK HONDA (LOCATED AT 3630
OLD RALEIGH RD, CARY, NC 27511, (919) 467-4747) FOR AN OIL
CHANGE AND THE DEALER DIAGNOSED THAT THERE WAS AN
ENGINE OIL DILUTION WITH FUEL DUE TO A SOFTWARE SETTING.
THE CONTACT WAS INFORMED THAT THE VEHICLE WAS SAFE TO
DRIVE AND THERE WOULD BE A SOFTWARE UPDATE TO REPAIR THE
FAILURE; HOWEVER, THE REMEDY WAS NOT AVAILABLE. THE
VEHICLE WAS NOT REPAIRED. THE MANUFACTURER WAS NOT
NOTIFIED OF THE FAILURE. THE APPROXIMATE FAILURE MILEAGE
WAS 2,500.


NHTSA ID Number: 11186820
Incident Date November 9, 2018
Complaint Date March 14, 2019
Consumer Location BURIEN, WA
Vehicle Identification Number 2HKRW2H50JH****
Summary of Complaint
TL* THE CONTACT OWNS A 2018 HONDA CR-V. AFTER CHECKING THE
OIL DIPSTICK, THE CONTACT OBSERVED THAT THE OIL LEVEL WAS
ABOVE THE HIGH MARK. THE CONTACT STATED THAT THERE WAS
ALSO A FUEL ODOR ON THE DIPSTICK. THE VEHICLE WAS TAKEN TO
RAIRDON'S HONDA OF BURIEN (LOCATED AT 15026 1ST AVE S,
BURIEN, WA 98148, (206) 489-2608) WHERE THE CONTACT WAS
INFORMED THAT THE MANUFACTURER WAS AWARE OF THE OIL
DILUTION AFFECTING SIMILAR VEHICLES. AN OIL CHANGE WAS
PERFORMED ON THE VEHICLE, BUT THE FAILURE WAS NOT
REPAIRED. THE MANUFACTURER WAS NOT NOTIFIED OF THE
FAILURE. THE APPROXIMATE FAILURE MILEAGE WAS 3,358.



                                   - 81 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 82 of 129




NHTSA ID Number: 11185038
Incident Date March 2, 2019
Complaint Date March 8, 2019
Consumer Location OSKALOOSA, IA
Vehicle Identification Number 7FARW2H8JE0****
Summary of Complaint
I WAS DRIVING OUR 2018 HONDA CR-V 1.5L SUV (WITH 4200 MILES
ODOMETER READING AT THE TIME OF THE INCIDENT) ON
SATURDAY, MARCH 2 ON IOWA STATE HIGHWAY 92 GOING
APPROXIMATE 62MPH AND WERE 25 MILES FROM HOME WHEN THE
VEHICLE STALLED AND LOST ENGINE POWER UNEXPECTEDLY AND
WE HAD TO GO TO THE SHOULDER OF THE HIGHWAY TO GET OUT OF
TRAFFIC COMING BEHIND US ON THE ROAD. THE VEHICLE WOULD
NOT ACCELERATE TO MORE THAN 6MPH AND THE ENGINE LIGHT
WAS FLASHING WHEN ANY EFFORT TO ACCELERATE WAS MADE. WE
CALLED HONDA ROADSIDE ASSISTANCE AND WERE TOLD IT WOULD
BE A 4 HOUR WAIT FOR A TOW. THE OUTSIDE TEMPERATURE THAT
DAY WAS 16 DEGREES ABOVE ZERO FAHRENHEIT . IT WAS 3 HOURS
BEFORE A TOW SERVICE ARRIVED. OUR VEHICLE WAS TOWED TO
SMART HONDA IN DES MOINES, IOWA WHICH WAS THE CLOSEST
HONDA DEALER. THE SERVICE DEPARTMENT SUSPECTED THE OIL
DILUTION PROBLEM AND DID AN OIL CHANGE THAT DAY. WE WERE
ASKED TO KEEP OUR VEHICLE AT SMART HONDA UNTIL THEY
COULD COMPLETE THE SERVICE REQUIRED. WE WERE NOT GIVEN A
LOANER VEHICLE TO USE WHILE THE CR-V WAS AT THE DEALER. WE
BOUGHT THIS VEHICLE IN JULY 2018 AND IN OCTOBER OF 2018 WE
RECEIVED AN EMAIL FROM CONSUMER REPORTS ABOUT THE OIL
DILUTION PROBLEM IN THE 2017-18 CR-V 1.5L ENGINES. WE DID NOT
RECEIVE ANY INFO FROM HONDA CORPORATION UNTIL JANUARY
2019 WHEN WE GOT A LETTER ABOUT A SOFTWARE UPDATE DUE TO
'DRIVABILITY CONCERNS'. DUE TO SEVERE WEATHER IN IOWA, WE
WERE NOT ABLE TO SCHEDULE A SERVICE APPOINTMENT AND
THERE WAS NO EMERGENCY URGENCY IN THE LETTER WE
RECEIVED. WE ARE HUGELY DISAPPOINTED AND UPSET ABOUT THIS
ISSUE AND CONSIDER IT EXTREMELY UNSAFE TO HAVE A VEHICLE
THAT CAN STALL AT ANYTIME AND ANYPLACE. A SAFETY RECALL


                                    - 82 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 83 of 129




ON THIS ENGINE SHOULD BE ISSUED BEFORE SOMEONE IS KILLED
WITH A STALLED ENGINE OCCURRING COMPLETELY AT RANDOM.


NHTSA ID Number: 11184928
Incident Date March 2, 2019
Complaint Date March 7, 2019
Consumer Location HAYMARKET, VA
Vehicle Identification Number SHHFK7H96JU****
Summary of Complaint
SUSPECTED OIL DILUTION... RECENT DEALERSHIP OIL CHANGE, LESS
THAN A WEEK LATER, THE VOLUME OF "OIL" WAS APPROX. 1/2 INCH
OVER THE TOP OF THE DIP STICK MEASUREMENT SECTION. DEALER
RE-DID THE OIL CHANGE TWO WEEKS LATER, AND WE WILL
CONTINUE TO OBSERVE. THE OIL DOES HAVE A STRONG SMELL OF
GASOLINE... COMPARED TO OTHER VEHICLES. I AM CONCERNED
ABOUT THE LONGEVITY OF THE ENGINE DUE TO EXCESSIVE WEAR
RELATED TO INSUFFICIENT LUBRICATION.


NHTSA ID Number: 11182772
Incident Date February 8, 2019
Complaint Date February 27, 2019
Consumer Location GLEN ALLEN, VA
Vehicle Identification Number 7FARW1H84JE****
Summary of Complaint
THIS VEHICLE IS ALSO EXPERIENCING THE OIL DILUTION ISSUE. I AM
CONCERNED ABOUT THE LONGEVITY OF THE ENGINE NOW SINCE
THE GAS IN THE OIL IS CHANGING THE VISCOSITY OF THE OIL.


NHTSA ID Number: 11182663
Incident Date February 15, 2019


                                    - 83 -
          CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 84 of 129




Complaint Date February 26, 2019
Consumer Location COLUMBUS, IN
Vehicle Identification Number 7FARW2H87JE****
Summary of Complaint
I NOTICED THE OIL LEVEL BEING OVER FULL IN THE FALL OF 2018, AT
THAT TIME WE HAD ABOUT 6,000 MILES ON THE VEHICLE. AT 7237
MILES I HAD MY FIRST OIL CHANGE OUR DEALER ON OCTOBER 15,
2018. I BECAME AWARE OF THE OIL DILUTION ISSUE AFTER
RECEIVING A LETTER FROM HONDA REGARDING SERVICE BULLETIN
18-114. I CHECKED THE OIL LEVEL AND FOUND IT TO BE WAY OVER-
FILLED ON DECEMBER 1, 2018. I VISITED THE DEALER AND THEY
ADVISED THAT A PERMANENT FIX WAS ON ITS WAY AND I SHOULD
WAIT FOR A FORMAL RECALL, HOWEVER I WAS VERY CONCERNED
ABOUT THE LONG TERM AFFECT ON OUR CAR'S ENGINE SO I
RETURNED TO THE DEALER AND EXPRESSED MY DISPLEASURE WITH
THE DELAY. THEY CALLED ME A DAY OR TWO LATER INDICATING
THAT THEY WOULD PERFORM THE RECALL WORK WHICH WAS
COMPLETED ON JANUARY 8, 2019. I CHECKED THE OIL LEVEL
IMMEDIATELY AFTER THE OIL CHANGE AND FOUND IT WAS AT THE
TOP OF THE ORANGE PLASTIC TIP OF THE DIPSTICK (I REALIZE THE
FULL LEVEL IS AT THE TOP HOLE IN THE ORANGE TIP). HOPING THAT
THE OIL DILUTION ISSUE WAS FIXED, I CHECKED THE OIL AGAIN
TODAY, FEBRUARY 15, 2019 AFTER THE VEHICLE SAT IN THE GARAGE
ALL NIGHT. THE OIL LEVEL WAS FOUND TO BE WAY ABOVE THE
FULL MARK AND BEYOND THE TOP OF THE ORANGE TIP BY MORE
THAN '. THE OIL DILUTION ISSUE HAS NOT BEEN CORRECTED IN MY
VEHICLE. I FILED A COMPLAINT WITH HONDA MC AND RECEIVED A
PHONE CALL FROM A TECH WHO INFORMED ME THAT "THERE WAS
NO ISSUE WITH THE VEHICLE AND IF THE CHECK ENGINE LIGHT
CAME ON TO RETURN TO THE DEALER". I EXPRESSED MY
DISPLEASURE WITH THIS RESPONSE AND SHE REPEATED HER
"CANNED" RESPONSE. I AM NOT THE ONLY OWNER OF THIS
VEHICLE/ENGINE WITH THE SAME ISSUE. I REQUEST THAT THE
NHTSA FORMALLY INVESTIGATE THIS MATTER AS THE CANADIAN
AND CHINESE GOVERNMENTS HAVE AND HAVE FOUND THIS
MATTER TO BE REAL.




                                   - 84 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 85 of 129




NHTSA ID Number: 11181927
Incident Date February 20, 2019
Complaint Date February 22, 2019
Consumer Location STATEN ISLAND, NY
Vehicle Identification Number 2HKRW2H52JH****
Summary of Complaint
OIL DILUTION PROBLEM - I SMELL GAS FROM EXHAUST, OIL DIP
STICK , CABIN AND WHEN I OPENED THE OIL CAP , ALSO VEHICLE IS
NOT MAINTAINING THE PROPER TEMPERATURE WHILE DRIVING
WITH THE HEAT ON. THIS MAYBE BE POTENTIALLY DANGEROUS TO
OCCUPANTS AS WELL AS VEHICLE AND ENGINE.


NHTSA ID Number: 11174010
Incident Date January 14, 2019
Complaint Date February 20, 2019
Consumer Location BALTIMORE, MD
Vehicle Identification Number N/A
Summary of Complaint
2018 HONDA CRV EXL. CONSUMER WRITES WITH CONCERNS TO A OIL
DILUTION PROBLEM WITH NEWLY PURCHASED VEHICLE. *AS *TR


NHTSA ID Number: 11181179
Incident Date February 19, 2019
Complaint Date February 19, 2019
Consumer Location TROOPER, PA
Vehicle Identification Number 2HKRW2H8XJH****
Summary of Complaint




                                    - 85 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 86 of 129




OIL DILUTION IN ENGINE. ONLY 1,000 MILES AFTER OIL CHANGE MY
OIL SMELLS LIKE GAS AND IS 1/4" ABOVE MAX LEVEL. HONDA SAYS
NO FURTHER FIXES AFTER THE REPAIR ALREADY COMPLETED. TOLD
VEHICLE IS AT RISK FOR STALLING AND TOTAL ENGINE FAILURE.


NHTSA ID Number: 11180672
Incident Date August 5, 2018
Complaint Date February 17, 2019
Consumer Location DESTREHAN, LA
Vehicle Identification Number 2HKRW1H93JH****
Summary of Complaint
SEVERE OIL DILUTION IN 1.5L TURBO ENGINE. LIVE/ DRIVE IN WARM
CLIMATE (NEW ORLEANS). LEVEL ON DIPSTICK CONTINUALLY
CLIMBS UPWARD TO GREATER THAN 21MM ABOVE FULL MARK
WHICH TRANSLATES TO 24.7% DILUTION. WE DO NOT DRIVE SHORT
TRIPS...ENGINE TEMPERATURE GAUGE IS UP TO NORMAL WITHIN 3
BLOCKS FROM OUR HOUSE AND ABOUT 3 MINUTES AFTER STARTUP.
WE DRIVE ALMOST EXCLUSIVELY ON INTERSTATE HIGHWAYS


NHTSA ID Number: 11180600
Incident Date August 27, 2018
Complaint Date February 17, 2019
Consumer Location MILLERSVILLE, MD
Vehicle Identification Number 7FARW2H81JE****
Summary of Complaint
THIS CAR HAS SUFFERED FROM OIL DILUTION WITH GASOLINE SINCE
IT WAS PURCHASED IN AUGUST 2018. I HAVE TAKEN IT TO THE
DEALER WHO CHANGED THE OIL AT MY EXPENSE AND CLAIMED
THAT INCREASING OIL IN THE CRANKCASE IS NORMAL AND SHOULD
BE EXPECTED. THE OIL LEVEL INCREASES ABOUT 1 QUART FOR
EVERY 2000 MILES DRIVEN AND THE OIL SMELLS LIKE GASOLINE.
THIS PROBLEM HAPPENS AT ALL AMBIENT TEMPERATURES, AND

                                    - 86 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 87 of 129




REGARDLESS OF WHETHER THE VEHICLE IS TRAVELING IN SHORT
TRIPS OR EXTENDED HIGHWAY DRIVES.


NHTSA ID Number: 11180457
Incident Date February 14, 2019
Complaint Date February 16, 2019
Consumer Location WARE, MA
Vehicle Identification Number 2HKRW2H53JH****
Summary of Complaint
AFTER HAVING A MANDATORY UPDATE DONE BY HONDA JANUARY
3 2019 I NO LONGER HAVE HEAT IN MY VEHICLE WHEN ITS BELOW
FREEZING. MY WINDOWS CANNOT STAY DEFROSTED OR SAFE TO SEE
OUT OF. I HAVE TO KEEP PULLING OVER TO SCRAPE WINDOWS
DURING STORMS. ALSO FEBRUARY 14 I NOTICED MY ENGINE
RAPPING BADLY. I HAD IT TOWED TO THE HONDA DEALER. MY
ENGINE OIL WAS 1 INCH OVER THE HIGH FILL LINE. HONDA
CORPORATE TOLD THE DEALERSHIP TO TELL ME THAT IT'S 100%
NORMAL AND FINE, AND OIL DILUTION IS NORMAL AND FINE. MY
ENGINE IS RAPPING BADLY, I HAVE HAD COWORKERS WHO ARE ASE
CERTIFIED LOOK AT THE VEHICLE AND THEY SAID THAT'S ENGINE
DAMAGE AND THE ENGINE WILL FAIL AND PROBABLY SOON. MY OIL
WAS LAST CHANGED 1600 MILES AGO, AND IN THAT TIME IT GOT 1
INCH OVER FILLED, GASOLINE IS IN MY OIL NOW. HONDA DENIES
THE HEAT AND THE OIL DILUTION. YOU MUST INTERVENE AND HELP
HONDA CRV CUSTOMERS! THERE ARE THOUSANDS OF U S
EXPERIENCING THIS AND HONDA REFUSES TO HELP!! PLEASE HELP! I
HAVE A VIDEO OF MY ENGINE RAPPING, COMPARED IT TO OTHER
HONDA CRV'S AND MINE IS DEFINITELY GOT SOMETHING WRONG!



NHTSA ID Number: 11180354
Incident Date November 15, 2018
Complaint Date February 15, 2019
Consumer Location BOURBONNAIS, IL

                                    - 87 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 88 of 129




Vehicle Identification Number 5J6RW2H90JL****
Summary of Complaint
OIL DILUTION IN 1.5 L TURBO ENGINE. STRONG SMELL OF FUEL
OUTSIDE VEHICLE. ONLY HAVE <9000 MILES AND HAVE HAD TO
CHANGE OIL 3 TIMES AS LEVEL GOES UP ANS SMELLS OF GAS.
CURRENTLY HAVE 300 MILES ON THIS OIL CHANGE AND CAN
ALREADY SEE LEVEL RISING. ALL DRIVING IS 20 PLUS MILE TRIPS.


NHTSA ID Number: 11176036
Incident Date January 16, 2019
Complaint Date February 10, 2019
Consumer Location MOUNT JOY, PA
Vehicle Identification Number 7FARW2H99JE****
Summary of Complaint
VEHICLE WAS RECALLED FOR OIL DILUTION ISSUE AND ENGINE NOT
WARMING UP PROPERLY AND GASOLINE SMELL INSIDE VEHICLE.
HONDA REPAIRED ON 1/11/19. RECALL REPAIR DID NOT WORK. TOOK
IT BACK ON 1/16/19. STILL DOES NOT WORK. I STARTED VEHICLE IN
DRIVEWAY AND LEFT IT RUN FOR 35 MINUTES WITH HEATER ON
HIGH AND FAN ON HIGH STILL BLOWING ICE COLD AIR TEMP GAUGE
DID NOT MOVE AT ALL. STILL SMELL GAS IN VEHICLE ENGINE OIL IS
OVERFILLED ABOUT 3/8 INCH ABOVE FULL ON DIP STICK. ANOTHER
APPOINTMENT ON 2/12/19 TO TRY AND FIX FOR THIRD TIME.
SATURDAY MORNING 2/9/19 AT 7:10 IN MORNING ON WAY HOME
FROM WORK 23 DEGREES OUT I HAD TO PUT THE WINDOWS DOWN
BECAUSE GAS SMELL INSIDE VEHICLE WAS MAKING ME SICK.
SUNDAY MORNING AT 7:10 ON WAY HOME FROM WORK 17 DEGREES
OUTSIDE STARTED VEHICLE UP AT 6:50 7:05 I GOT IN VEHICLE STILL
ICE COLD CLEANED FROST AND ICE OFF VEHICLE AS BEST I COULD.
VEHICLE WILL NOT WARM UP UNLESS IT IS DRIVEN!!! STARTED
DRIVING HOME AND WINDSHIELD IS SOLID ICE NO SENSE IN
STOPPING BECAUSE WILL NOT HEAT UP UNLESS VEHICLE IS MOVING.
THESE VEHICLES ARE ACCIDENTS WAITING TO HAPPEN. HONDA IS
AWARE OF ALL THESE ISSUES BUT DOES NOTHING. I GUESS NOT
ENOUGH PEOPLE WERE KILLED BY THEIR FAULTY VEHICLES YET

                                    - 88 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 89 of 129




AND NOT ENOUGH LAWSUITS. EVERYONE OF THESE VEHICLES
SHOULD BE RECALLED AND BANNED FROM THE ROAD UNTIL
REPAIRED. I ASKED JONES HONDA OF LANCASTER PA WHERE I
BOUGHT THIS VEHICLE FOR A LOANER CAR UNTIL IT IS REPAIRED
AND THEY SAID NO THEY DO NOT GIVE OUT LOANER CARS BUT WILL
RENT ME ONE. I PAID ABOUT $32,000 FOR THIS VEHICLE AND THIS IS
HOW THEY TREAT THEIR CUSTOMERS.


NHTSA ID Number: 11175952
Incident Date September 3, 2018
Complaint Date February 9, 2019
Consumer Location ABINGDON, MD
Vehicle Identification Number 2HKRW2H90JH****
Summary of Complaint
MY 2018 HONDA CRV HAS THE OIL DILUTION ISSUE AT MY FIRST OIL
CHANGE I ASKED THE SERVICE ADVISER WHY MY OIL LEVEL WAS
OVER THE TOP OF THE DIP STICK BY ABOUT 3/4 AN INCH AND THE
OIL SMELLED LIKE GAS AND I ALSO ASKED HIM WHY I SMELLED IT
IN THE CABIN. HE SAID ANYTHING WAS WRONG IT WAS NORMAL. I
CHECKED THE OIL EVERY 1000 MILES AND IT WOULD GO UP 1/8 INCH
EVERY 1000 MILES. I TOOK THE CRV BACK THE DEALER BECAUSE
THE HEATER WOULD NOT GET WARM AT ALL AT IDLE AND THE
SMELL OF GAS WAS TERRIBLE MY GARAGE EVEN HAD A STRONG
SMELL OF GAS.THE DEALER TOLD ME I DEFINITELY HAD GAS IN THE
OIL AND THE HEATER PROBLEM WAS PART OF THE GAS IN THE OIL
ISSUE AND AT THIS TIME HONDA HAD NO FIX FOR THE ISSUE. THEY
DID A OIL CHANGE AND TOLD ME THEY WOULD CONTACT ME IF
HONDA CAME UP WITH A FIX. IT'S NOW 4 DAYS AFTER THE OIL
CHANGE AND THE OIL IS ALREADY OVER THE DIP STICK. I OPENED A
CASE WITH HONDA CUSTOMER SERVICE AND AFTER TALKING TO
THREE DIFFERENT PEOPLE I FINALLY TALK TO A CASE MANAGER
AND HE TOLD ME GAS IN THE OIL WAS NORMAL AND TO TAKE THE
CRV BACK TO THE DEALER IF THE HEATER WAS NOT WORKING. HE IS
PROTECTING HONDA BECAUSE THEY HAVE A HUGH ISSUE. I DID NOT
GET THE EXTENDED WARRANTY SO THIS IS A BIG DEAL FOR MANY
PEOPLE LIKE ME. PLEASE HELP HONDA DOES NOT CARE ABOUT THE

                                    - 89 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 90 of 129




CUSTOMERS IN THE USA LOOK AT WHAT THEY DID IN CANADA AND
CHINA FOR THE EXACT SAME ISSUE. THANK YOU!


NHTSA ID Number: 11173554
Incident Date January 14, 2019
Complaint Date February 1, 2019
Consumer Location EDINA, MN
Vehicle Identification Number 5J6RW2H96JL****
Summary of Complaint
THE ACTIVE SAFETY AND DRIVER ASSIST SYSTEMS RANDOMLY
SWITCH THEMSELVES ON AND OFF WHILE IN MOTION AND ARE
UNRELIABLE. THIS HAS HAPPENED AT BOTH HIGH AND LOW SPEEDS.
IT HAS HAPPEN IN NORMAL DRIVING WEATHER CONDITIONS AND
COLD WITH SNOW FLURRIES. THIS VEHICLE FAILS TO WARM TO TO
"NORMAL" OPERATING TEMPERS ESPECIAL ON MN COLD DAYS. IT
MAY NOT WARM UP PERIOD ON DAYS WHERE THE TEMPERATURE
FALL TO 15 DEGREES OR LOWER. ON DAYS OF 50 DEGREES OR LESS IT
WARMS UP WHEN DRIVING HIGHWAY SPEEDS BUT IN LOW SPEED
SITUATIONS IT MAY NOT WARM UP AT ALL. THERE IS THE DISTINCT
SMELL OF GASOLINE IN THE CAR AT TIMES. ADDITIONALLY THIS
VEHICLE APPEARS TO HAVE AN OIL DILUTION PROBLEM AS THE OIL
LEVEL REGISTERS ABOVE THE MAX OIL LEVEL LINE ON A REGULAR
BASIS. IN MY MIND THESE ARE ALL SAFETY ISSUES. I WONDER IF THE
SAFETY SYSTEMS WILL ACTUALLY WORK IF AND WHEN I NEED
THEM. I WONDER IF THIS CAR IS GOING TO BURST INTO FLAMES AS I
CAN SMALL GASOLINE IN THE CABIN. IF I SMELLED GAS IN ME
HOUSE THEY RECOMMEND I LEAVE THE PREMISES. I CAN'T REALLY
DO WITH I AM DRIVING DOWN THE ROAD. I DO HAVE A FEW
PICTURES OF SOME OF THE ELECTRONIC WARNING AND TEMP
GAUGE BUT CANNOT DOWNLOAD FROM THIS LOCATION. I AM
LISTING HERE THE FIRST INCIDENCE BUT KNOW THERE ARE A FEW
INCIDENCES.


NHTSA ID Number: 11172984


                                    - 90 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 91 of 129




Incident Date October 1, 2018
Complaint Date January 29, 2019
Consumer Location TAMPA, FL
Vehicle Identification Number 7FARW1H86JE****
Summary of Complaint
I'M HAVING TWO ISSUES WITH MY CR-V 1) ENGINE OIL LEVEL IS
SHOWING MORE THAN THE HIGHER LIMIT BECAUSE OF ENGINE OIL
DILUTION. 2) GASOLINE SMELL IN THE CABIN. I CONTACTED HONDA
ON THESE ISSUES BUT THEY SAID MY VEHICLE DOESN'T HAVE ANY
RECALL NOTICE AND THERE IS NOTHING THEY CAN DO.




NHTSA ID Number: 11171612
Incident Date January 1, 2019
Complaint Date January 23, 2019
Consumer Location WINCHESTER, VA
Vehicle Identification Number 2HKRW2H83JH****
Summary of Complaint
OIL DILUTION. THE OIL LEVEL IN THE CRANKCASE CONTINUALLY
RISES DUE TO GAS SEEPAGE CAUSING PREMATURE WEAR TO THE
ENGINE. ONGOING SINCE PURCHASED VEHICLE NEW. THE ENGINE
ALSO NEVER WARMS UP TO OPERATING TEMPERATURE UNLESS
YOUR GOING HIGHWAY SPEEDS. THIS IS HIGHLY UNSATISFACTORY
WHEN AROUND TOWN.


NHTSA ID Number: 11170828
Incident Date January 18, 2019
Complaint Date January 18, 2019
Consumer Location KLAMATH FALLS, OR
Vehicle Identification Number 2HKRW2H90JH****

                                    - 91 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 92 of 129




Summary of Complaint
CONTACTED HONDA REGARDING BRAND NEW 2018 HONDA CRV
VOYAGER REGARDING OIL DILUTION. THE COMPANY SAYS THAT
THE GAS SMELL ON THE VEHICLES OIL DIP STICK IS "NORMAL." THEY
ALSO STATED THAT IF THE OIL LEVEL IS TOO HIGH AN INTERIOR
LIGHT OR ENGINE NOISE WOULD INDICATE AN ISSUE. MEANING
THAT THE OIL LEVEL IS ARBITRARY.

NHTSA ID Number: 11170368
Incident Date January 16, 2019
Complaint Date January 16, 2019
Consumer Location PLAINFIELD, IL
Vehicle Identification Number 2HKRW2H9XJH****
Summary of Complaint
AFTER RECEIVING HONDA TSB 18-124 FROM HONDA, WHICH
SUPPOSEDLY FIXED THE OIL DILUTION ISSUE ISSUE, MY CR-V
PROBLEMS HAVE GOTTEN WORSE! NOW, NOT ONLY DOES THE
VEHICLE GET A TERRIBLE SMELL OF GASOLINE INSIDE THE CABIN,
(ESPECIALLY ON INITIAL START-UP AND WHILE IDLING), BUT THE
VEHICLE HAS DEVELOPED NEW PROBLEMS. INCLUDED AMONG
THESE ARE: - WORSE OIL DILUTION (GAS IN THE ENGINE OIL) . IT
ROSE BY 1 QUART IN 2 WEEKS SINCE GETTING THE UPDATE (ABOUT
500 MILES OF DRIVING) - A STRONG SMELL OF GASOLINE IN THE OIL
AND EVEN AROUND THE EXTERIOR OF THE VEHICLE - WORSE GAS
MILEAGE. A DECLINE BY SEVERAL MPGS - COLDER CABIN -- TAKES
MUCH LONGER TO GENERATE HEAT THIS IS JUST WRONG ON A NEW
VEHICLE AND NEEDS A PROACTIVE RECALL AND FURTHER
INVESTIGATION ASAP. PLEASE DO NOT BELIEVE HONDA ' USERS ARE
STILL EXPERIENCING THESE ISSUES AFTER THEIR UPDATE.



NHTSA ID Number: 11166629
Incident Date January 4, 2019
Complaint Date January 12, 2019


                                    - 92 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 93 of 129




Consumer Location NILES, IL
Vehicle Identification Number 2HKRW2H87JH****
Summary of Complaint
OIL DILUTION, GASOLINE GETTING INTO CRANKCASE


NHTSA ID Number: 11165328
Incident Date December 30, 2018
Complaint Date January 5, 2019
Consumer Location TUCSON, AZ
Vehicle Identification Number 2HKRW2H90JH****
Summary of Complaint
OIL DILUTION, OVER FULL OIL MARK, ENGINE OIL LEAK NOTICED
WHEN STATIONARY. GAS SMELL INSIDE VEHICLE.
NHTSA ID Number: 11165259
Incident Date December 17, 2018
Complaint Date January 4, 2019
Consumer Location HEBER SPRINGS, AR
Vehicle Identification Number 7FARW1H98JE****
Summary of Complaint
OUR 2018 HONDA CRV TOURING HAS THE OIL DILUTION PROBLEM.
OUR OIL LEVEL INCREASED ABOUT 3/4 INCH ON THE OIL STICK FROM
MAY, 2018 TO DECEMBER, 2018 AND IT SMELLS LIKE GAS. WE HAVE
ALSO SMELLED GAS INSIDE OUR CAR. HONDA IS FIXING SOME CARS,
BUT WE LIVE IN ARKANSAS AND OUR STATE IS NOT ON THE LIST TO
BE REPAIRED. WE COULD HAVE AN ENGINE FIRE SO FEEL IT IS NOT
SAFE TO DRIVE. ALSO, THE ENGINE WILL WEAR OUT A LOT FASTER
WITH THE DILUTION....EVEN THOUGH THE HONDA DEALER SAID IT
WON'T!!


NHTSA ID Number: 11164223

                                    - 93 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 94 of 129




Incident Date December 31, 2018

Complaint Date: December 31, 2018

Consumer Location ATLANTIC BEACH, FL

Vehicle Identification Number 1HGCV1F94JA****

Summary of Complaint

ENGINE OIL SMELLS STRONGLY OF GASOLINE. THIS IS THE SAME 1.5L
TURBO GDI ENGINE THAT HAS BEEN RECALLED ALREADY IN THE
CIVIC AND CRV.

NHTSA ID Number: 11163629
Incident Date September 1, 2018
Complaint Date December 27, 2018
Consumer Location NOVI, MI
Vehicle Identification Number 5J6RW2H50JL****
Summary of Complaint
ABNORMAL OIL DILUTION CAUSING EXCESSIVE WEAR AND TEAR ON
THE ENGINE. CAR TALKING LONG TIME TO WARM UP. NOT RUNNING
SMOOTHLY. FOUL SMELL OF GAS IN THE CABIN



NHTSA ID Number: 11163577

Incident Date October 25, 2018

Complaint Date December 26, 2018

Consumer Location CARLSBAD, CA

Vehicle Identification Number 2HKRW2H91HH****

Summary of Complaint




                                    - 94 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 95 of 129




EXCESS OIL FUEL IN ENGINE BROUGHT TO DEALER THEY SAID NO
PROBLEM ONLY IN COLD STATES I LIVE IN CALIFORNIA. HAD TO PAY
TO CHANGE OIL EVEN THOU MANUAL SAYS DO NOT OVER FILL THE
SAME DEALER HAD CHANGED OIL BEFORE AND DID NOT OVERFILL.



NHTSA ID Number: 11162688
Incident Date December 10, 2018
Complaint Date December 20, 2018
Consumer Location BIG BEAR CITY, CA
Vehicle Identification Number 7FARW2H81JE****
Summary of Complaint
I PURCHASED MY CR-V IN FEBRUARY 2018. I COMPLETED MY FIRST
OIL CHANGE AT 6804 MILES IN DECEMBER. THE OIL WAS VERY
DARK(BLACK), WATERY, AND SMELLED STRONGLY OF FUEL. ISSUES
WITH VEHICLE ARE CAUSING AN OIL DILUTION PROBLEM. I LIVE IN
SOUTHERN CALIFORNIA BUT AT AN ELEVATION OF 6800 FEET. MY
COMMUTE IS SHORT AND IT GETS COLD AT NIGHT. THE CR-V IS
STORED IN A HEATED GARAGE DURING THE NIGHT. I FEEL THIS
PROBLEM HAS CAUSED UNNECESSARY WEAR TO MY ENGINE AND AT
THIS TIME HONDA IS ONLY GOING TO DIAGNOSE MY PROBLEM BUT
NOT FIX IT ON FIRST VISIT. THEY SHOULD BE ISSUING A RECALL AND
NOT MAKE ITS CUSTOMERS JUMP THROUGH HOOPS TO FIX A
PROBLEM THEY'RE ALREADY WELL AWARE OF



NHTSA ID Number: 11162525
Incident Date December 19, 2018
Complaint Date December 19, 2018
Consumer Location LA CROSSE, WI
Vehicle Identification Number N/A
Summary of Complaint


                                    - 95 -
          CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 96 of 129




OIL DILUTION CAUSING ELEVATED ENGINE OIL LEVELS AND
CAMSHAFT PINGING NOISE. ALSO SMELL OF GAS IN OIL AND ENGINE
TAKES EXTENDED TIME TO WARM UP. INITIALLY, SLIGHT PINGING
NOISE (~5K MILES) WHICH BECAME PROGRESSIVELY WORSE.


NHTSA ID Number: 11161138
Incident Date December 13, 2018
Complaint Date December 13, 2018
Consumer Location Unknown
Vehicle Identification Number 7FARW2H89JE****
Summary of Complaint
3-MONTH-OLD 2018 CR-V EX-L - NOTICED OIL DILUTION PROBLEMS
WITHIN FIRST 2 MONTHS. DEALER HAS BEEN UNRESPONSIVE. GAS
HAS BEEN GETTING INTO OIL IN APPARENTLY SIGNIFICANT
AMOUNTS. PERSISTENT SMELLS OF GAS AND 'ROTTEN EGGS/MEAT'
WHILE OPERATING. OIL LEVEL GETS HIGHER ABOVE MEASURING
SECTION OF DIPSTICK EVERY TIME I CHECK, SMELLS OF GAS. CAR
BEGINS TO STALL A BIT OCCASIONALLY. HAD OIL CHANGED AT 5K
MILES - TECH CONFIRMED OIL WAS VERY THIN, HIGHER VOLUME
THAN SHOULD BE, AND SMELLED OF GAS. VERY CONCERNED ABOUT
SAFETY NOW (WHAT IF IT STALLS WHILE IN HEAVY HIGHWAY
TRAFFIC?) AND ALSO LONG-TERM ENGINE DAMAGE SINCE DILUTED
OIL WILL NOT LUBRICATE AS WELL. RESEARCHED ONLINE ONLY
AFTER DISCOVERING PROBLEM - APPARENTLY WELL KNOWN
PROBLEM, AND WIDESPREAD - BUT BARELY ACKNOWLEDGED BY
HONDA.
NHTSA ID Number: 11155301
Incident Date November 5, 2018
Complaint Date December 1, 2018
Consumer Location HOMOSASSA, FL
Vehicle Identification Number 5J6RW1H51JL****
Summary of Complaint



                                   - 96 -
          CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 97 of 129




PURCHASED A NEW 2018 HONDA CR-V EX IN FLORIDA 4/18. WORKED
FINE UNTIL A RECENT TRIP TO INDIANA WHERE IT WAS SUBJECTED
TO COLD TEMPERATURES. THE VEHICLE WOULD NOT HEAT FOR 10
MINUTES AND IT'S PERFORMANCE SEEMED TO SUFFER COMPARED
TO HOW IT WAS OPERATING IN WARMER FLORIDA. THE WORST PART
WAS THE FAINT SMELL OF GASOLINE IN THE CAR THE ENTIRE TIME
IN INDIANA. WASN'T SURE WHAT WOULD HAVE CAUSED THAT UNTIL
I RETURNED TO FLORIDA AND STARTED INVESTIGATING THE
MATTER AND FOUND OUT ABOUT THE OIL DILUTION PROBLEM AND
THE SMALL OF GASOLINE IN THE OIL. THERE IS NO SMELL OF
GASOLINE IN THE VEHICLE NOW THAT IT'S BACK IN FLORIDA, SO I
HAVE TO ASSUME IT HAD SOMETHING TO DO WITH THE COLD
CLIMATE IT WAS SUBJECTED TO. IN EITHER CASE I NEED TO TRAVEL
TO INDIANA IN THE WINTER FREQUENTLY AND THE PROBLEM WITH
GASOLINE FUMES IN THE CABIN (WHATEVER IT'S CAUSE) NEEDS TO
BE FIXED. I NOW READ WHERE HONDA IS GOING TO ROLL OUT A FIX,
BUT IT WILL ONLY COVER CR-V'S IN NORTHERN STATES. IF THAT'S
THE CASE THEN THAT IS NOT RIGHT! WHAT ABOUT PEOPLE LIKE ME
THAT TRAVEL FROM WARM CLIMATE FLORIDA TO INDIANA IN THE
WINTER - WE SHOULDN'T HAVE TO ENDURE GASOLINE FUMES AND
WE SHOULDN'T HAVE TO LIVE WITH POTENTIAL HARM TO OUR
VEHICLES. WE SHOULD ALL HAVE THE MODIFICATION DONE TO OUR
CR-V'S.
NHTSA ID Number: 11154666
Incident Date November 28, 2018
Complaint Date November 29, 2018
Consumer Location GLENMOORE, PA
Vehicle Identification Number 2HKRW2H83JH****
Summary of Complaint
OIL DILUTION ISSUE, THE OIL LEVEL OF THE VEHICLE IS WELL
ABOVE THE FULL MARK ON THE DIPSTICK. I HAVE SEEN OTHER
REPORTS OF THIS AND HAVE BEEN MONITORING THE SITUATION FOR
SEVERAL WEEKS. EACH TIME UPON CHECKING OIL LEVEL THERE
HAS BEEN AN INCREASE. AS OF TODAY IT APPEARS TO BE ABOUT 1/2
INCH ABOVE THE FULL MARK.



                                   - 97 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 98 of 129




NHTSA ID Number: 11154327
Incident Date November 27, 2018
Complaint Date November 27, 2018
Consumer Location ESSEX, MD
Vehicle Identification Number 2HKRW2H98JH****
Summary of Complaint
ENGINE OIL DILUTION - GASOLINE IS LEAKING INTO THE ENGINE
AND DILUTING THE ENGINE OIL. IT CAUSES THE ENGINE TO STALL. IT
SMELLS LIKE GASOLINE A LOT INSIDE THE CAR IN THE PASSENGER
SEAT. THE ENGINE DOES NOT GET WARMED UP FAST ENOUGH. THE
ENGINE OPERATES TOO COLD EVEN AFTER DRIVING ABOUT A MILE
DISTANCE. ANOTHER MAJOR ISSUE IS THAT THE ENGINE OIL IS
LEAKING OUT. LEAKED OIL IS OBSERVED UNDER THE ENGINE
WHERE THE TRANSMISSION AND THE ENGINE JOIN. THE DEALERS IN
US WOULD NOT FIX THESE ISSUES OR DO NOT EVEN HAVE A FIX FOR
THEM ALTHOUGH IT IS MAJOR ISSUES FOR MANY 9TH GEN CR-VS.


NHTSA ID Number: 11151403
Incident Date October 29, 2018
Complaint Date November 14, 2018
Consumer Location ORLANDO, FL
Vehicle Identification Number 2HKRW2H99JH****
Summary of Complaint
PURCHASED NEW 2018 HONDA CR-V AWD DECEMBER 2017 FROM
DEALER IN ORLANDO FL. WITHIN FIRST FEW MONTHS OF OWNERSHIP
HAD MULTIPLE OCCASIONS WHERE "GAS/FUEL" SMELL FILLED THE
CABIN OF CAR WHILE DRIVING. IT WAS BROUGHT TO MY ATTENTION
BY A FRIEND (LATE SUMMER) THAT THERE APPEARS TO BE ISSUE
WITH THE 1.5 L EARTHDREAMS HONDA ENGINE. AREA OF ISSUE
IS OIL DILUTION BY FUEL "LEAKING" INTO IT & MIXING. I THEN
BEGAN RESEARCHING THIS ISSUE AND WAS QUITE SURPRISED TO
FIND THAT HONDA HAD ALREADY RECALLED A HUGE NUMBER OF
VEHICLES IN CHINA WITH THIS OIL DILUTION ISSUE ON THIS

                                    - 98 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 99 of 129




SPECIFIC ENGINE. WHEN I CALLED MY HONDA DEALER TO ASK
ABOUT ISSUE/REPAIR, I WAS TOLD BY SERVICE ADVISOR THAT THEY
WERE NOT AWARE OF ANY ISSUE OF THIS TYPE AND THERE WERE
NO ACTIVE RECALLS/TSBS REGARDING ISSUE. WOW? THAT'S WHEN
MY CONCERN LEVEL ROSE, AS ON THE DEALER LEVEL THERE SEEMS
TO BE COMPLETE DENIAL/ADMITTANCE OF ANY PROBLEM. OTHER
HONDA OWNERS OF VEHICLES WITH THIS ENGINE HAVE
EXPERIENCED "GAS ODOR" IN CABIN, POOR PERFORMANCE AND
EVEN STALLING OF ENGINE WHILE DRIVING VEHICLE. I HAVE NOT
HAD A STALLING ISSUE (YET) - BUT I DRIVE VEHICLE FREQUENTLY
IN MODERATE /HEAVY TRAFFIC AREAS AND CAN'T IMAGINE THE
DANGER THAT COULD RESULT FROM MY CAR "STALLING" WHILE I'M
DRIVING(OR MY WIFE OR DAUGHTER).ANOTHER "CHECK" TO VERIFY
IF MY CAR HAS THIS ISSUE IS TO EXAMINE OIL LEVEL ON DIPSTICK.
WHEN MY OIL LEVEL IS CHECKED, THE LEVEL TENDS TO READ HIGH
(EVEN ABOVE FULL LINE ON DIPSTICK) AND DIPSTICK HAS STRONG
SMELL OF GASOLINE. NOT GOOD AS IT SIGNALS FUEL IS MAKING IT'S
WAY INTO MY ENGINE OIL. ONCE FUEL MIXES WITH THE OIL IT WILL
BREAK DOWN THE VISCOSITY AND ENGINE WILL "WEAR OUR
PREMATURELY" OR LEAD TO FAILURE. AS OF TODAY (11/14/18) MY
CAR IS NOT STALLING OUT (ABOUT 15K MILES ON IT) BUT MY
CONCERN FOR SAFETY IS RISING AS HONDA SEEMS TO BE DRAGGING
THEIR FEET REGARDING ADMITTING AND FIXING THIS DANGEROUS
ISSUE.


NHTSA ID Number: 11150982
Incident Date October 24, 2018
Complaint Date November 12, 2018
Consumer Location TAYLORS, SC
Vehicle Identification Number 7FARW2H9XJE****
Summary of Complaint
MY 2018 CR-V SUFFERS FROM THE DREADED [OIL DILUTION ISSUE]
WHERE GASOLINE GETS INTO THE OIL RAISING THE LEVEL ABOVE
THE FULL MARK. THE RESULT IS A STRONG GASOLINE SMELL,
SOMETIMES IN THE CABIN BUT ALWAYS WHEN YOU PULL THE
DIPSTICK TO CHECK THE OIL. THE OIL LEVEL IS ALWAYS

                                    - 99 -
          CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 100 of 129




CONSIDERABLY HIGHER THAN THE FULL MARK. I PRESENTED THIS
ISSUE TO MY DEALER, AND THEY CONFIRMED THE SMELL OF GAS IN
THE OIL, THE HIGH LEVEL AND THE FACT THAT MANY 2017-18 CRV'S
SUFFER FROM THIS SAME ISSUE. THEIR UNACCEPTABLE SOLUTION
WAS TO CHANGE THE OIL AND MAKE LONGER TRIPS TO TRY TO
BURN OFF THE GASOLINE IN THE OIL. THEY ALSO SAID THAT HONDA
WOULD BE ISSUING A STATEMENT IN THE FALL ABOUT FIXING THE
ISSUE. FIRST A BIT ABOUT THE ISSUE. THERE ARE MANY REPORTS OF
CRV OWNERS WITH THIS PROBLEM UNEXPECTEDLY STALLING AND
LOSING POWER WHILE IN MOTION. SOME HAVE SUFFERED
ACCIDENTS. DOES THIS SOUND LIKE A VEHICLE YOU'D LIKE TO PUT
YOUR FAMILY IN? ALSO, DILUTED MOTOR OIL HAS TO HAVE LONG
TERM DAMAGING EFFECTS ON THE ENGINE. I AM VERY WORRIED
ABOUT THE LONG TERM VALUE OF A CAR THAT WAS SUPPOSED TO
HAVE GREAT RESALE VALUE - THAT'S WHY I BOUGHT IT. SO HONDA
ROLLS OUT THEIR "FIX", AND I NOTICE THAT THEY'RE ONLY GOING
TO ADDRESS WHAT THEY CONSIDER "COLD WEATHER STATES".
THEY ALSO PLAN TO ROLL THESE "COULD WEATHER STATE" FIXES
OUT OVER A MULTIPLE MONTH SCHEDULE. NOT ACCEPTABLE AT
ALL. WHAT ABOUT MY CAR HONDA. I WOULD THINK THAT HONDA
WOULD TREAT ALL OF THEIR CUSTOMERS THE SAME AND WOULD
WANT TO FIX AS MANY AFFLICTED VEHICLES AS POSSIBLE BECAUSE
OF POSSIBLE SAFETY ISSUES. HONDA HAS A VERY LOYAL OWNER-
BASE. I BETCHA HOW THEY HANDLE THIS WILL AFFECT PEOPLE'S
DECISIONS IN THE FUTURE. I KNOW IT WILL AFFECT MINE.


NHTSA ID Number: 11150906
Incident Date November 2, 2018
Complaint Date November 12, 2018
Consumer Location PLAINFIELD, IL
Vehicle Identification Number 2HKRW2H9XJH****
Summary of Complaint
THIS VEHICLE GETS A TERRIBLE SMELL OF GASOLINE INSIDE THE
VEHICLE, ESPECIALLY ON INITIAL START-UP. THIS VEHICLE IS
UNPLEASANT TO DRIVE DO TO THIS SMELL, ESPECIALLY IN THE
WINTER WITH THE CLIMATE CONTROL SYSTEM ON. MY WIFE

                                   - 100 -
          CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 101 of 129




SUFFERS FROM MIGRAINES AND CANNOT RIDE IN THE VEHICLE. THE
PROBLEM WAS CONFIRMED BY MY LOCAL HONDA DEALERSHIP,
VALLEY HONDA, IN AURORA IL. NO RESOLUTION WAS PROVIDED AS
THEY INDICATED THE SMELL IS TIED TO THE WELL KNOW OIL-
DILUTION PROBLEM WITH THIS 1.5 TRBO ENGINE, WHICH THEY
CONFIRMED THIS VEHICLE ALSO HAS (BUT FOR WHICH NO 'FIX' HAS
BEEN ISSUED IN THE U.S.) SO NOW, NOT ONLY AM I DAMAGING THE
NEW ENGINE WHEN DRIVEN, BUT ALSO THE OCCUPANT HEALTH BY
EXPOSING THEM TO GASOLINE FUMES. THIS IS JUST WRONG ON A
NEW VEHICLE AND NEEDS A PROACTIVE RECALL ASAP.

NHTSA ID Number: 11150028
Incident Date October 25, 2018
Complaint Date November 8, 2018
Consumer Location WEST SACRAMENTO, CA
Vehicle Identification Number SHHFK7H4XJU****
Summary of Complaint
AT 2025 MILES MY 2018 CIVICTHAT I HAD FOR 2ISH MONTHS STARTED
SMELLING LIKE FUEL IN THE CAB. SO I LOOKED IT UP AND THE
EARTH DREAMS MOTOR IS HAVING OIL DILUTION PROBLEMS AND IT
IS BECOMING MORE COMMON. SO I CHECKED MY OIL AND FOUND
MY CAR A QUART OVERFULL WITH FUEL IN MY OIL. I THEN HAD IT
TOWED TO THE DEALERSHIP WHERE THEY GAVE IT A FREE OIL
CHANGE AND SAID THAT THERE IS NO FIX ANDIT IS NORMAL. THE
OIL VISCOSITY WILL DETERIORATE EVENTUAL LEAVING ME WITHA
KNOCK OR DISABLED ON THE SIDE OF THE ROAD. IT IS AN ISSUE
THAT CAN CAUSE A CRASH OR SICKNESS WHEN THE NOXIOUS GAS
SMELL COMES BACK. I HAVE NOW PUT 450 MILES ON IT SINCE THE
OIL CHANGE AND AM SMELLING FUEL IN MY OIL AGAIN.


NHTSA ID Number: 11149551
Incident Date November 5, 2018
Complaint Date November 5, 2018
Consumer Location AUSTIN, TX

                                  - 101 -
          CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 102 of 129




Vehicle Identification Number 2HKRW2H25JH****
Summary of Complaint
AFTER 500KM OF DRIVING, THE OIL LEVEL WAS OVER THE TOP LIMIT
AND THERE WAS STRONG GAS SMELL COMING OUT FROM UNDER
THE HOOD. THE CAR TAKES A LOT TIME TO WARM UP. VISITED THE
SHERWOOD PARK HONDA DEALER ON NOV 5, 2018 FOR THIS
PROBLEM, THEY FOUND THE OIL LEVEL WAS 25MM ABOVE THE
LIMIT. THEY DISCHARGED SOME OF THE OIL WITHOUT OIL CHANGE.
THEY FOUND NO RECALLS ON THIS SO THEY COULDN'T FIX THE
PROBLEM BUT THEY CONSIDER THIS PROBLEM AS MINOR AND
SAYING PERHAPS THEY FILLED MORE OIL THAN NECESSARY. I
CALLED HONDA CANADA TWICE ON NOV 5, 2018 REGARDING THE FIX
TO THIS PROBLEM. THE CASE NUMBER IS 1150181. THEY SAID THERE
WILL BE AN "UPDATE" ADDRESSING THIS PROBLEM FROM EARLY
NOVEMBER, BUT NOT SURE WHETHER MY VEHICLE WILL BE
INCLUDED INTO THIS "UPDATE". THEY PROVIDED THE RECALL LINK
FOR ME TO CHECK PERIODICALLY. HONDA CANADA MENTIONED
DURING THE PHONE CALL THAT IF THE PROBLEM LIKE THIS FOUND,
SHERWOOD HONDA SHOULD CALL THE TECHNICAL LINE FOR
SUGGESTION. WHEN ASKED WHETHER THEY HAVE CALLED HONDA
CANADA REGARDING SUGGESTION OF OIL DILUTION PROBLEM,
SHERWOOD HONDA SAID THEY HAVE THE CALL AS WHAT TO DO
WITHOUT CONSULTING TO HONDA CANADA.


NHTSA ID Number: 11143916
Incident Date January 3, 2018
Complaint Date October 29, 2018
Consumer Location PORTLAND, OR
Vehicle Identification Number 7FARW2H88JE****
Summary of Complaint
I PURCHASED MY 2018 HONDA CR-V EX-L IN DECEMBER OF 2017. I
NOTICED WITHIN A COUPLE OF WEEKS THAT THE ENGINE
TEMPERATURE GAUGE WAS EXTREMELY SLOW TO CLIMB, AND
OFTENTIMES WOULD "LOSE" TEMPERATURE ON COLDER DAYS. I
SPENT TIME TESTING THE CONDITIONS WHEN THE TEMPERATURE

                                  - 102 -
          CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 103 of 129




GAUGE WOULD FLUCTUATE SO I WOULD HAVE ADDITIONAL
INFORMATION TO PROVIDE THE DEALERSHIP. I WOULD DRIVE BOTH
STOP-AND-GO, AS WELL AS ON THE HIGHWAY FOR 15-30 MINUTES AT
A TIME TO GET THE ENGINE TEMPERATURE NORMAL, AND THEN
PULL INTO A PARKING LOT WITH THE ENGINE STILL RUNNING.
AFTER ABOUT 2-5 MINUTES, THE ENGINE TEMPERATURE WOULD
START TO DROP, EVENTUALLY DROPPING TO 1-2 INDICATOR MARKS
ON THE GAUGE. I WOULD ALSO NO LONGER HAVE ANY HEAT AT
THAT POINT (THE HVAC SYSTEM WOULD BLOW COLD). I WENT
THROUGH 2 SEPARATE DEALERS TROUBLESHOOTING THIS ISSUE.
THE DEALERSHIP I PURCHASED THE CAR FROM HAD IT IN SERVICE
THE LONGEST. AFTER MULTIPLE DAYS IN THE SHOP WITH NO
UPDATE, I FELT THEY WERE NOT MAKING ANY PROGRESS ON THE
ISSUE SO I FILED A COMPLAINT WITH HONDA OF AMERICA. THEY
ASSIGNED THE ISSUE TO ONE OF THEIR CUSTOMER ADVOCATES TO
OVERSEE THIS SERVICE ISSUE WITH THE CAR. I WAS TOLD BY
HONDA OF AMERICA THAT THE ISSUE WAS REFERRED TO THE
REGIONAL MANAGER OF SUPPORT FOR HONDA IN MY AREA. AFTER
SOME ADDITIONAL TIME IN SERVICE, I WAS TOLD THE ISSUE WAS
REVIEWED W/ HONDA'S TECHNICAL / ENGINEERING TEAM WHO
DEEMED THIS AS "NORMAL". LAST MONTH I CAME ACROSS
MULTIPLE ARTICLES RELATED TO A GASOLINE OIL DILUTION
PROBLEM IN 2017/2018 CR-V'S, AND A "SIDE EFFECT" OF THAT
PROBLEM BEING LOW ENGINE TEMPERATURE / LOSS OF ENGINE
TEMPERATURE. I CHECKED THE OIL DIPSTICK ON THE VEHICLE AND
NOTICED A VERY STRONG SMELL OF GASOLINE.



NHTSA ID Number: 11143633

Incident Date October 29, 2018

Complaint Date October 29, 2018

Consumer Location ATLANTIC BEACH, FL

Vehicle Identification Number 1HGCV1F94JA****

Summary of Complaint



                                  - 103 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 104 of 129




STRONG ODOR OF GASOLINE IN THE ENGINE AND RISING OIL LEVEL.
CAR DOESN'T EVEN HAVE 200 MILES ON IT! THIS IS NOT WHAT I HAD
EXPECTED FROM A HONDA.



NHTSA ID Number: 11142994
Incident Date July 24, 2018
Complaint Date October 26, 2018
Consumer Location FAIRMONT, WV
Vehicle Identification Number 2HKRW2H5XJH****
Summary of Complaint
I HAVE THE OIL DILUTION PROBLEM WITH MY 2018 CR-V. I BOUGHT
THE CAR IN MARCH OF THIS YEAR, BRAND NEW. I CURRENTLY HAVE
9000 MILES AND HAD TO HAVE THE OIL CHANGED FOUR TIMES DUE
TO GAS MIXING WITH THE OIL, STRONG GAS ODOR AND OIL OVER
FULL. I HAVE ALSO HAD AN ISSUE WITH ALL THE WARNING LIGHTS
COMING ON AT ONCE AND CYCLING OVER AND OVER, THIS HAS
HAPPENED AT LEAST THREE TIMES. I CONTACTED HONDA AMERICA
AND WAS TOLD THIS WAS A NORMAL OCCURRENCE AND NO HARM
WILL COME TO MY ENGINE. I DID NOT KNOW THIS WAS AN ISSUE
UNTIL THE CHECK ENGINE LIGHT CAME ON.


NHTSA ID Number: 11142146
Incident Date October 1, 2018
Complaint Date October 23, 2018
Consumer Location GREENSBORO, NC
Vehicle Identification Number 2HKRW2H87JH****
Summary of Complaint
WHEN TURNING LEFT ONTO 4-LANE HIGHWAY, THE VEHICLE
EXHIBITED UNEXPECTED SEVERE HESITATION. I TOOK THE VEHICLE
TO A DEALER ASKING FOR DIAGNOSIS, AND ANY ECU OR CVT
SOFTWARE UPDATES. ON 10/4/2018 THE DEALER "COULD NOT


                                   - 104 -
          CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 105 of 129




REPLICATE" AND REPORTED SOFTWARE IS UP TO DATE. SEE
ATTACHED INVOICE. ON 10/5/18 I READ THE CONSUMER'S UNION
REPORT REGARDING ENGINE OIL DILUTION ON THIS VEHICLE. WHILE
THE FILL LEVEL ON MY DIPSTICK IS ~1/8TH INCH ABOVE FULL, NO
GASOLINE SMELL FROM THE DIPSTICK OR INTERIOR HAS OCCURRED
TO DATE.


NHTSA ID Number: 11141573
Incident Date October 13, 2018
Complaint Date October 20, 2018
Consumer Location HOOVER, AL
Vehicle Identification Number 5J6RW1H91JL****
Summary of Complaint
THIS IS AN ADDENDUM TO COMPLAINT NUMBER 11140475. BESIDES A
MAINTENANCE ISSUE OF THE OIL DILUTION BY GASOLINE LEAKAGE
INTO THE CRANKCASE, AS REPORTED IN THAT COMPLAINT, THERE IS
A SAFETY ISSUE WITH THE GASOLINE MIXING WITH THE ENGINE OIL
ON THE 1.5 LITER TURBO. THERE ARE RAW GASOLINE FUMES IN THE
PASSENGER COMPARTMENT WITH THE ENGINE RUNNING IN CITY
TRAFFIC. THIS HAS CAUSED HEADACHES AND NAUSEA TO CHILDREN
IN THE REAR PASSENGER SEAT AND PROBLEMS FOR THE DRIVER AS
WELL. THE ONLY SOURCE OF THE GAS FUMES APPEARS TO BE THE
GAS LEAKAGE INTO THE ENGINE.

NHTSA ID Number: 11121250
Incident Date May 9, 2018
Complaint Date August 21, 2018
Consumer Location Unknown
Vehicle Identification Number 7FARW2H5XJE****
Summary of Complaint
AFTER DRIVING A SHORT DISTANCE ON A CITY STREET, I NOTICED A
GAS SMELL IN THE CABIN. UPON ADDITIONAL RESEARCH, I LEARNED


                                  - 105 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 106 of 129




THAT OTHER CR-V OWNERS HAVE EXPERIENCED THE SAME
SITUATION WITH OIL DILUTION (GAS GETTING MIXED IN WITH OIL).
WHEN I CHECKED THE OIL, THE LEVEL WAS OVER WHAT IS SHOULD
BE AND THE DIPSTICK SMELLED OF GAS.


NHTSA ID Number: 11112866
Incident Date July 21, 2018
Complaint Date July 21, 2018
Consumer Location HOUSTON, TX
Vehicle Identification Number 7FARW1H54JE****
Summary of Complaint
NEW 2018 CR-V WAS PURCHASED IN FEBRUARY. WITH SOME
REPORTED ISSUES WITH OIL DILUTION REPORTED ON 2017 CR-V
MODELS I KEPT A CLOSE WATCH ON THE OIL LEVEL. NO ISSUE
BEFORE OR AFTER THE 1ST OIL CHANGE FROM THE DEALERSHIP.
(6000MILES) THIS WEEK AFTER A RANDOM CHECK ON THE OIL LEVEL
I DISCOVERED IT WAS WAY ABOVE THE NORMAL LEVEL OIL LEVEL
WITH DEFINITE GASOLINE SMELL. I TOOK IT TO A HONDA DEALER
AND THEY CHECKED THE VEHICLE OVER (10000 MILES) AFTER
COMPREHENSIVE TESTING INCLUDING EACH INDIVIDUAL CYLINDER
THEY COULD FIND NO ISSUES. (HONDA TECH LINE WAS
INVOLVED)THE DEALER SERVICE REP COMMENTED THAT THEY HAD
NO FIX FOR THE ISSUE AND THAT THERE WAS NO RECALL. I WAS
GIVEN A FREE OIL/FILTER CHANGE AND SENT ON MY WAY. I TOOK
THE CAR TO WORK AFTER THE DEALERSHIP AND THEN HOME (40
MILES TOTAL APPROX.) AFTER SITTING OVERNIGHT I CHECKED THE
DIPSTICK TODAY AND THE LEVEL IS RIGHT WHERE THE ORANGE
PLASTIC INDICATOR PIECE MEETS THE METAL DIPSTICK. ALREADY
ABOVE NORMAL AGAIN. OIL WAS VERY SOUPY DRIPPING FROM
DIPSTICK (NORMAL 0-20W OIL DOES NOT DO THIS) SO JUST
OVERNIGHT THE PROBLEM HAS RETURNED, NOT IN A COLD
CLIMATE. NO EXCESSIVE IDLING SINCE YESTERDAY AFTER THE OIL
CHANGE. I THINK THE REASON MORE PEOPLE HAVE NOT REPORTED
THIS IS MANY HAVE NOT CHECKED THEIR DIPSTICK/ OIL LEVEL. AND
WHY WOULD YOU IF YOU ARE DRIVING A NEW CAR. OIL IS
BREAKING DOWN THE LUBRICATION OF THE OIL. THIS IS A VERY

                                   - 106 -
          CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 107 of 129




SERIOUS PROBLEM ESPECIALLY FOR A CAR WITH A TURBO WHICH
DEPENDS ON THAT OIL. TICKING TIME BOMB FOR HONDA AND
SADLY FOR ME AS WELL.


NHTSA ID Number: 11096549
Incident Date May 9, 2018
Complaint Date May 17, 2018
Consumer Location SAINT CLAIR SHORES, MI
Vehicle Identification Number 7FARW2H5XJE****
Summary of Complaint
AFTER DRIVING A SHORT DISTANCE ON A CITY STREET, I NOTICED A
STRONG GAS SMELL IN THE CABIN. I HAVE SINCE READ ON SOCIAL
MEDIA AND WEBSITES WHERE OTHER CR-V OWNERS HAVE
EXPERIENCED THE SAME PROBLEM AND THERE IS AN OIL DILUTION
PROBLEM. EVERY TIME I CHECK THE OIL LEVEL, I CAN SMELL GAS
ON THE DIPSTICK. I AM AWARE HONDA HAS ISSUED A RECALL IN
CHINA FOR THIS SAME ISSUE. THEY NEED TO FIX THE PROBLEM IN
THE U.S. AS WELL AND DO IT IMMEDIATELY.


NHTSA ID Number: 11094155
Incident Date May 16, 2018
Complaint Date May 16, 2018
Consumer Location LEAWOOD, KS
Vehicle Identification Number 7FARW2H9XJE****
Summary of Complaint
BOUGHT A BRAND NEW 2018 FULLY LOADED TOURING CR-V 3 DAYS
AGO ON MONDAY. FILING THIS REPORT ON WEDNESDAY. THE CAR
HAS ONLY 35 MILES ON IT AS I WRITE THIS. WE DROVE ROUGHLY 25
MILES TOTAL SINCE LEAVING THE DEALERSHIP. AFTER HEARING
ABOUT OIL DILUTION PROBLEMS ENCOUNTERED BY OTHER
DRIVERS, I DECIDED TO CHECK THE OIL TO SEE IF IT SMELLED LIKE
GASOLINE JUST IN CASE. FYI, IT WAS PARKED IN OUR ENCLOSED

                                  - 107 -
          CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 108 of 129




GARAGE. I WAS SHOCKED THAT IT ACTUALLY DID SMELL, BUT IT
DIDN'T JUST SMELL A LITTLE. IT SMELLED LIKE WHEN YOU GET
GASOLINE ON YOUR HANDS. I IMMEDIATELY TOOK IT BACK TO THE
DEALERSHIP WITH THE PAPER TOWEL IN HAND. EVERY
SALESPERSON AND TECHNICIAN I HANDED THE PAPER TOWEL TO
CONFIRMED THE OIL FROM THE DIPSTICK THAT WAS WIPED ON THE
TOWEL SMELLED LIKE GASOLINE. THEY ARE REVIEWING THE
PROBLEM,AND HAVE DECIDED TO SPEND MORE TIME LOOKING AT IT
DUE TO MY CONCERNS. SOUNDS MORE SERIOUS, BUT I DON'T WANT
TO ASSUME. I AM CONCERNED THIS PROBLEM WHICH IS KNOWN IN
CHINA AND JAPAN WILL GROW TO BE LIKE THE OTHER COMPLAINTS
REGISTERED WITH THE NHSTA. CHINA HAS HALTED SALES OF THE
CR-V UNTIL THEY CAN DETERMINE A REASONABLE FIX.
APPARENTLY A RECALL TO ADJUST SOFTWARE TIMINGS WAS NOT
ENOUGH. ALSO SHOULD MENTION HONDA CANADA IS MONITORING
THIS AND SENT A BULLETIN TO THEIR DEALERS.


NHTSA ID Number: 11092009
Incident Date May 1, 2018
Complaint Date May 5, 2018
Consumer Location SIMI VALLEY, CA
Vehicle Identification Number 2HKRW1H57JH****
Summary of Complaint
OIL DILUTION IN THE ENGINE! GAS FUMES SMELL IN THE CABIN DUE
TO IT!


NHTSA ID Number: 11079886
Incident Date March 16, 2018
Complaint Date March 16, 2018
Consumer Location EYOTA, MN
Vehicle Identification Number 5J6RW2H81JL****
Summary of Complaint


                                  - 108 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 109 of 129




LIKE MANY OTHER 2017-2018 HONDA CR-V OWNERS, I DISCOVERED A
SIGNIFICANT AMOUNT OF GASOLINE IN THE OIL RESERVOIR OF MY
VEHICLE AFTER NORMAL USAGE. IN LESS THAN A MONTH OF
OWNERSHIP AND LESS THAN 1,000 MILES DRIVEN, MY CR-V'S OIL
RESERVOIR WAS 0.5 QUARTS OVER FULL DUE TO DILUTION FROM
UNCOMBUSTED GASOLINE. THIS PROBLEM AND ITS CAUSE HAVE
BEEN DOCUMENTED BY CR-V OWNERS ON MULTIPLE OTHER
WEBSITES AND FORUMS. WHEN I PULLED THE OIL DIPSTICK FROM
MY CR-V'S ENGINE, I IMMEDIATELY SMELLED GASOLINE AND
RECOGNIZED THAT EXCESSIVE DILUTION HAD OCCURRED. I AM
GREATLY CONCERNED ABOUT THE PERFORMANCE, SAFETY, AND
LONGEVITY OF MY CR-V'S ENGINE DUE TO THIS DEFICIENCY.
FURTHERMORE, I AM QUESTIONING THE SAFETY OF THE 2017-2018
HONDA CR-V GIVEN THAT MULTIPLE CR-V OWNERS HAVE
DOCUMENTED STALLED ENGINES AND ENGINE DAMAGE DUE TO
THIS PROBLEM. I AM THANKFUL I CAUGHT THIS PROBLEM IN MY CR-
V BEFORE THE CHECK ENGINE LIGHT CAME ON OR BEFORE MY
ENGINE STALLED; HOWEVER, OIL DILUTION WILL CONTINUE TO
PLAGUE THESE VEHICLES UNTIL HONDA PROVIDES A LONG-TERM
SOLUTION OR RECALL.

                        CLASS ACTION ALLEGATIONS

      105. Plaintiffs bring this action on behalf of themselves, and on behalf of

the following nationwide class pursuant to Fed. R. Civ. P. 23(a), 23(b)(2), and/or

23(b)(3). Specifically, the nationwide class consists of the following:

      Nationwide Class:
      All persons or entities in United States who are current or former owners
      and/or lessees of a Class Vehicle (the “Nationwide Class”).

      106. In the alternative to the Nationwide Class, and pursuant to Fed. R.

Civ. P. 23(c)(5), Plaintiffs seek to represent the following state classes only in the

event that the Court declines to certify the Nationwide Class above:




                                        - 109 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 110 of 129




      Minnesota Class:
      All persons or entities in Minnesota who are current or former owners and/or
      lessees of a Class Vehicle (the “Minnesota Class”).

      Colorado Class:
      All persons or entities in Florida who are current or former owners and/or
      lessees of a Class Vehicle (the “Colorado Class”).

      Illinois Class:
      All persons or entities in California who are current or former owners and/or
      lessees of a Class Vehicle (the “Illinois Class”).


      107. Together, the Minnesota Class, Colorado Class, and Illinois Class

shall be collectively referred to herein as the “State Sub-Classes.” Excluded from

the Classes are Defendants, their affiliates, employees, officers and directors,

persons or entities that purchased the Class Vehicles for resale, and the Judge(s)

assigned to this case. Plaintiffs reserve the right to modify, change or expand the

Class definitions.

      108. Numerosity: Upon information and belief, the Classes are so

numerous that joinder of all members is impracticable. While the exact number and

identities of individual members of the Classes are unknown at this time, such

information being in the sole possession of Honda and obtainable by Plaintiffs only

through the discovery process, Plaintiffs believe that tens of thousands of Class

Vehicles have been sold and leased in each of the states that are the subject of the

Classes.

      109. Existence and Predominance of Common Questions of Fact and Law:

                                       - 110 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 111 of 129




Common questions of law and fact exist as to all members of the Classes. These

questions predominate over the questions affecting individual Class members.

These common legal and factual questions include, but are not limited to:

         a. whether the engines in the Class Vehicles are predisposed to

            premature failure;

         b. whether the engines in the Class Vehicles contain a manufacturing

            defect;

         c. whether the defective PCV system is common to all or some of the

            Class Vehicles;

         d. if so, whether the Engine Defect causes engines to fail in the Class

            Vehicles;

         e. whether Defendants knowingly failed to disclose the existence and

            cause of the Engine Defect in Class Vehicles;

         f. whether Defendants’ conduct violates the Minnesota, Colorado,

            and/or Illinois consumer protection statutes;

         g. whether, as a result of Defendants’ omissions and/or

            misrepresentations of material facts related to the Engine Defect,

            Plaintiffs and members of the Class have suffered ascertainable loss of

            monies and/or property and/or value;

         h. whether, as a result of Defendants’ omissions and/or



                                      - 111 -
            CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 112 of 129




              misrepresentations of material facts related to the Engine Defect,

              Plaintiffs and members of the Class have suffered an increased cost of

              maintenance related to the Class Vehicles; and

           i. whether Plaintiffs and Class members are entitled to monetary

              damages and/or other remedies and, if so, the nature of any such

              relief.

      110. Typicality: All of the Plaintiffs’ claims are typical of the claims of the

Classes since Plaintiffs purchased Class Vehicles with Engine Defects, as did each

member of the Class. Furthermore, Plaintiffs and all members of the Classes

sustained monetary and economic injuries including, but not limited to,

ascertainable loss arising out of Honda’s wrongful conduct. Plaintiffs are

advancing the same claims and legal theories on behalf of themselves and all

absent Class members.

      111. Adequacy: Plaintiffs are adequate representatives because their

interests do not conflict with the interests of the Classes that they seek to represent,

they have retained counsel competent and highly experienced in complex class

action litigation, and they intend to prosecute this action vigorously. The interests

of the Classes will be fairly and adequately protected by Plaintiffs and their

counsel.

      112. Superiority: A class action is superior to all other available means of



                                        - 112 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 113 of 129




fair and efficient adjudication of the claims of Plaintiffs and members of the

Classes. The injury suffered by each individual Class member is relatively small in

comparison to the burden and expense of individual prosecution of the complex

and extensive litigation necessitated by Honda’s conduct. It would be virtually

impossible for members of the Classes to individually and effectively redress the

wrongs done to them. Even if the members of the Classes could afford such

individual litigation, the court system could not. Individualized litigation presents a

potential for inconsistent or contradictory judgments. Individualized litigation also

increases the delay and expense to all parties, and to the court system, presented by

the complex legal and factual issues of the case. By contrast, the class action

device presents far fewer management difficulties, and provides the benefits of

single adjudication, economy of scale, and comprehensive supervision by a single

court. Upon information and belief, members of the Classes can be readily

identified and notified based on, inter alia, Honda’s vehicle identification numbers

(VINs), warranty claims, registration records, and the database of complaints.

      113. Injunctive Relief: Pursuant to Fed. R. Civ. P. 23(b)(2), Honda has

acted or refused to act on grounds generally applicable to the Classes, thereby

making appropriate final injunctive relief, corresponding declaratory relief, or final

equitable relief with respect to the class as a whole.




                                        - 113 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 114 of 129




                            VIOLATIONS ALLEGED

                            COUNT I
   VIOLATION OF THE MINNESOTA PREVENTION OF CONSUMER
              FRAUD ACT (MINN. STAT. § 325F.68-70)
                (On Behalf of the Minnesota Class)

      114. Plaintiffs and the Classes incorporate by reference each preceding and

succeeding paragraph as though fully set forth at length herein.

      115. Plaintiffs and members of the Classes are each “persons” as defined

by the Minnesota Prevention of Consumer Fraud Act (“MPCFA”), MINN. STAT. §

325F.68(2). The Class Vehicles sold or leased to Plaintiffs and the Classes are

“Merchandise” as defined by MINN. STAT. § 325F.68(2).

      116. The MPCFA makes unlawful “[t]he act, use, or employment by any

person of any fraud, false pretense, false promise, misrepresentation, misleading

statement or deceptive practice, with the intent that others rely thereon in

connection with the sale of any merchandise, whether or not any person has in fact

been misled, deceived, or damaged thereby.” MINN. STAT. § 325F.69(1). The

MPCFA further provides that “any person injured by a violation of [the MPCFA]

may bring a civil action and recover damages, together with costs and

disbursements, including costs of investigation and reasonable attorney's fees, and

receive other equitable relief as determined by the court.” MINN. STAT. § 8.31(3a).

      117. Honda engaged in unlawful conduct in violation of the MPCFA by

making knowing and intentional omissions. Honda knowingly failed to disclose the

                                        - 114 -
            CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 115 of 129




manufacturing and/or material Engine Defect in the Class Vehicles in order to

secure the sale of the Vehicles, and to offer them at a premium price.

      118. Furthermore, when the engines in the Class Vehicles fail to function

properly and require repair due to the Engine Defect, Honda also does not reveal to

Class members that such premature engine failure is the result of a manufacturing

and/or material defect actually caused by Honda. Instead, Class members are

forced to pay out of pocket for repairs necessitated by Defendant’s defective

product.

      119. Honda did not fully and truthfully disclose to its customers the true

nature of the inherent defect in the engines, which was not readily discoverable

until after the Vehicles were purchased. As a result, Plaintiffs and the other Class

members were fraudulently induced to lease and/or purchase the Class Vehicles

with the said Engine Defect and all of the resultant problems. These facts that

Honda concealed were solely within its possession.

      120. Honda intended that Plaintiffs and all Class members rely on the acts

of concealment and omissions, so that they would purchase the Class Vehicles.

      121. Defendant’s conduct caused Plaintiffs and Class members to suffer an

ascertainable loss. In addition to direct monetary losses, Plaintiffs and Class

members have suffered an ascertainable loss by receiving less than what was

promised.



                                        - 115 -
            CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 116 of 129




        122. A causal relationship exists between Defendant’s unlawful conduct

and the ascertainable losses suffered by Plaintiffs and the Classes. Had the Engine

Defect in the Class Vehicles been disclosed, consumers would not have purchased

them or would have paid less for the Class Vehicles had they decided to purchase

them.

        123. Plaintiffs and the Classes sustained damages as a result of Defendant’s

unlawful acts and are, therefore, entitled to damages and other relief as provided

under the MPCFA.

                          COUNT II
  VIOLATION OF THE COLORADO CONSUMER PROTECTION ACT
                (On Behalf of the Colorado Class)

        124. Plaintiffs and the Classes incorporate by reference each preceding and

succeeding paragraph as though fully set forth at length herein.

        125. Colorado’s Consumer Protection Act (the “CCPA”) prohibits a person

from engaging in a “deceptive trade practice,” which includes knowingly making

“a false representation as to the source, sponsorship, approval, or certification of

goods,” or “a false representation as to the characteristics, ingredients, uses,

benefits, alterations, or quantities of goods.” Colo. Rev. Stat. § 6-1-105(1)(b), (e).

The CCPA further prohibits “represent[ing] that goods . . . are of a particular

standard, quality, or grade . . . if he knows or should know that they are of

another,” and “advertis[ing] goods . . . with intent not to sell them as advertised.”



                                        - 116 -
            CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 117 of 129




Colo. Rev. Stat. § 6-1-105(1)(g), (i).

      126. Honda is a “person” within the meaning of Colo. Rev. Stat. § 6-1-

102(6).

      127. Honda has engaged in unfair competition and unfair, unlawful or

fraudulent business practices by the practices described above, and by knowingly

and intentionally concealing from Plaintiffs and Class members the fact that the

Class Vehicles suffer from a manufacturing defect (and the costs, risks, and

diminished value of the Vehicles as a result of this problem), which was not readily

discoverable until after purchase. Honda should have disclosed this information

because it was in a superior position to know the true facts related to this defect,

and Plaintiffs and Class members could not reasonably be expected to learn or

discover the true facts related to this defect until after manifestation of the defect.

      128. Honda’s actions as set forth above occurred in the conduct of trade or

commerce.

      129. Honda’s conduct proximately caused injuries to Plaintiff Biggs and

the Colorado Class Members.

      130. Plaintiff Biggs and the other Class members have suffered an injury in

fact, including the loss of money or property, as a result of Defendant’s unfair,

unlawful, and/or deceptive practices. In purchasing their Class Vehicles, Plaintiffs

and the other Class members relied on the misrepresentations and/or omissions of



                                         - 117 -
            CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 118 of 129




Honda with respect to the reliability of the Class Vehicles. Defendant’s

representations were untrue because the Class Vehicles are defective. Had Plaintiff

Biggs and the other Class members known this, they would not have purchased

their Class Vehicles and/or paid as much for them. Accordingly, Plaintiff Biggs

and the other Class members overpaid for their Class Vehicles and did not receive

the benefit of their bargain

      131. Plaintiff Biggs and the Colorado Class Members were injured as a

result of Defendant’s conduct in that they overpaid for their Class Vehicles and did

not receive the benefit of their bargain, and their Class Vehicles have suffered a

diminution in value. These injuries are the direct and natural consequence of

Defendant’s misrepresentations and omissions.

                           COUNT III
        VIOLATION OF THE ILLINOIS CONSUMER FRAUD AND
              DECEPTIVE BUSINESS PRACTICES ACT
                   (On Behalf of the Illinois Class)

      132. Plaintiffs and the Classes incorporate by reference each preceding and

succeeding paragraph as though fully set forth at length herein.

      133. Honda is a “person” as that term is defined in 815 Ill. Comp. Stat. §

505/1(c).

      134. Plaintiff Mattison and the Illinois Class are “consumers” as that term

is defined in 815 Ill. Comp. Stat. § 505/1(e).

      135. The purpose of the Illinois Consumer Fraud and Deceptive Business

                                       - 118 -
            CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 119 of 129




Practices Act (“Illinois CFA”) is to enjoin trade practices which confuse or deceive

the consumer. The Illinois CFA prohibits “unfair or deceptive acts or practices,

including but not limited to the use or employment of any deception, fraud, false

pretense, false promise, misrepresentation or the concealment, suppression, or

omission of any material fact, with intent that others rely upon the concealment,

suppression, or omission of such material fact . . . in the conduct of trade or

commerce . . . whether any person has in fact been misled, deceived or damaged

thereby.” 815 Ill. Comp. Stat. § 505/2.

      136. Honda participated in deceptive trade practices that violated the

Illinois CFA as described below and alleged throughout the Complaint. By failing

to disclose the defect, by concealing the defect, by marketing its vehicles as safe,

reliable, durable, efficient, and of high quality, and by presenting itself as a

reputable manufacturer that valued safety, performance and efficiency, and stood

behind its vehicles after they were sold, Honda knowingly and intentionally

misrepresented and omitted material facts in connection with the sale or lease of

the Class Vehicles. Honda systematically misrepresented, concealed, suppressed,

or omitted material facts relating to the Class Vehicles and the defect in the course

of its business.

      137. Honda engaged in unfair or deceptive practices prohibited by the

Illinois CFA, including: (1) representing that the Class Vehicles have



                                          - 119 -
            CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 120 of 129




characteristics, uses, benefits, and qualities which they do not have; (2)

representing that the Class Vehicles are of a particular standard, quality, and grade

when they are not; and (3) advertising the Class Vehicles with the intent not to sell

them as advertised.

      138. Honda also engaged in unlawful trade practices by employing

deception, deceptive acts or practices, fraud, misrepresentations, or concealment,

suppression, or omission of any material fact with intent that others rely upon such

concealment, suppression, or omission, in connection with the sale of the Class

Vehicles.

      139. Defendant’s unfair and deceptive acts or practices occurred repeatedly

in Defendant’s trade or business, were capable of deceiving a substantial portion of

the purchasing public, and imposed a serious safety risk on the public.

      140. Defendant’s methods of competition and unfair and deceptive acts or

practices were likely to and did in fact deceive reasonable consumers.

      141. Honda knew that the Class Vehicles and their engines suffered from a

defect and were not suitable for their intended use.

      142. Honda knew or should have known that its conduct violated the

Illinois CFA.

      143. Plaintiff Mattison and the Illinois Class reasonably relied on Honda's

misrepresentations and omissions of material facts in its advertisements of the



                                       - 120 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 121 of 129




Class Vehicles and in the purchase of the Class Vehicles.

      144. Had Illinois Plaintiffs and the Illinois Class known that the Class

Vehicles were defective, they would not have purchased or leased the Class

Vehicles, or would have paid less for them. Plaintiffs did not receive the benefit of

their bargain as a result of Defendant’s misconduct.

      145. Honda owed the Illinois Class a duty to disclose the truth about the

defect because Defendant: (a) possessed exclusive knowledge of the Class

Vehicles and the defect; (b) intentionally concealed it; and/or (c) made incomplete

representations regarding the quality, durability, and safety of the Class Vehicles,

while purposefully withholding material facts that contradicted these

representations.

      146. Due to Honda’s specific and superior knowledge that the engines in

the Class Vehicles will fail due to the defect, its false representations regarding the

Class Vehicles, and reliance by the Illinois Class on these material representations,

Honda had a duty to disclose to Class members that the defect will cause failure in

Class Vehicles, that Class Vehicles do not have the advertised or expected

durability, reliability, and/or safety that Honda guaranteed, that the defect will

cause damage to Class Vehicle engines and engine systems, and that Class

members would be required to bear the cost of the damage to their vehicles.

Having volunteered to provide information, Honda had the duty to disclose not just



                                        - 121 -
            CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 122 of 129




the partial truth, but the entire truth.

       147. These omitted and concealed facts were material because they directly

impact the value of the Class Vehicles purchased or leased by the Illinois Class.

Longevity, durability, performance, and safety are material concerns to consumers.

Honda represented to the Illinois Class that they were purchasing or leasing

vehicles that were durable, reliable, safe, efficient, of high quality, and containing

engines of advanced and superior characteristics and technology as alleged

throughout this Complaint, when in fact it is only a matter of time before the

engine parts and vehicle systems are damaged by the defect.

       148. Plaintiff Mattison and the Illinois Class suffered injury in fact to a

legally protected interest. As a result of Defendant’s conduct, they were harmed

and suffered actual damages in the form of the diminished value of their vehicles.

       149. As a result of Defendant’s conduct, Plaintiff Mattison and the Illinois

Class were harmed and suffered actual damages as a result of Defendant’s

misrepresentations and omissions with regard to their Class Vehicles’ engines

because they purchased vehicles that do not perform as advertised.

       150. As a direct and proximate result of Defendant’s unfair or deceptive

acts or practices, Plaintiff Mattison and the Illinois Class suffered and will continue

to suffer injury in fact and/or actual damages.

       151. Defendant’s violations present a continuing risk to Plaintiff Mattison



                                           - 122 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 123 of 129




and the Illinois Class as well as to the general public. Defendant’s unlawful acts

and practices complained of herein affect the public interest.

      152. Pursuant to 815 Ill. Comp. Stat. § 505/10a(a), Plaintiff Mattison and

the Illinois Class seek monetary relief against Honda in the amount of actual

damages, as well as punitive damages because Honda acted with fraud and/or

malice and/or was grossly negligent.

      153. Plaintiff Mattison and the Illinois Class also seek attorneys’ fees, and

any other just and proper relief available under 815 Ill. Comp. Stat. § 505/1, et seq.

                                 COUNT IV
                  BREACH OF EXPRESS WARRANTY
          (On Behalf of the Nationwide Class and State Sub-Classes)

      154. Plaintiffs and the Classes incorporate by reference each preceding and

succeeding paragraph as though fully set forth at length herein.

      155. Defendants expressly warranted that the Class Vehicles were of high

quality and, at a minimum, would actually work properly. Honda also expressly

warranted that it would repair and/or replace defects in material and/or

workmanship free of charge that occurred during the New Vehicle Limited

Warranty, Powertrain Limited Warranty and certified pre-owned (“CPO”)

warranty periods.

      156. Defendants breached these warranties by selling to Plaintiffs and

Class members the Class Vehicles with known engine problems, which are not of



                                       - 123 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 124 of 129




high quality, and which fail prematurely and/or fail to function properly.

      157. As a result of the Defendants’ actions, Plaintiffs and Class members

have suffered economic damages including but not limited to costly repairs, loss of

vehicle use, substantial loss in value and resale value of the vehicles, and other

related damage.

      158. Defendants’ attempt to disclaim or limit these express warranties vis-

à-vis consumers is unconscionable and unenforceable under the circumstances

here. Specifically, Defendants’ warranty limitations are unenforceable because it

knowingly sold a defective product without informing consumers about the

manufacturing and/or material defect. Furthermore, Defendants continue to charge

Class members for repairing the defective engines – if it repairs them at all -- when

in fact such repairs are actually necessitated because of Defendants’ defective

product.

      159. The time limits contained in Defendants’ warranty periods were also

unconscionable and inadequate to protect Plaintiffs and members of the Class.

Among other things, Plaintiffs and Class members had no meaningful choice in

determining these time limitations, the terms of which unreasonably favored

Defendants. A gross disparity in bargaining power existed between Honda and

Class members, and Honda knew or should have known that the Class Vehicles

were defective at the time of sale and would fail well before their useful lives.



                                        - 124 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 125 of 129




      160. Plaintiffs and Class members have complied with all obligations

under the warranties, or otherwise have been excused from performance of said

obligations as a result of Defendants’ conduct described herein.

                                  COUNT V
                   BREACH OF IMPLIED WARRANTY
           (On Behalf of the Nationwide Class and State Sub-Classes)

      161. Plaintiffs and the Class incorporate by reference each preceding and

succeeding paragraph as though fully set forth at length herein.

      162. A warranty that the Class Vehicles were in merchantable condition is

implied by law.

      163. These Class Vehicles, when sold and at all times thereafter, were not

in merchantable condition and are not fit for the ordinary purpose for which cars

are used. Specifically, the Class Vehicles are inherently defective in that there are

defects in the Class Vehicles’ engines, which are not of high quality, and which

fail prematurely and/or fail to function properly.

      164. Honda was provided notice of these issues by numerous informal and

formal complaints filed against them, including the instant Complaint, and by

numerous individual letters and communications sent by Plaintiffs and other Class

members.

      165. As a direct and proximate result of Defendant’s breach of the

warranties of merchantability, Plaintiffs and the other Class members have been



                                       - 125 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 126 of 129




damaged in an amount to be proven at trial.

                                 COUNT VI
                          COMMON LAW FRAUD
          (On Behalf of the Nationwide Class and State Sub-Classes)

      166. Plaintiffs and the Class incorporate by reference each preceding and

succeeding paragraph as though fully set forth at length herein.

      167. Defendants made material omissions concerning a presently existing

or past fact. For example, Defendants did not fully and truthfully disclose to its

customers the defective nature of the Class Vehicles’ engines, which was not

readily discoverable until after the Vehicles were purchased. As a result, Plaintiffs

and the other Class members were fraudulently induced to lease and/or purchase

the Class Vehicles with the said Engine Defect and all of the resultant problems.

      168. These omissions were made by Honda with knowledge of their falsity,

and with the intent that Plaintiffs and Class members rely upon them.

      169. Plaintiffs and Class members reasonably relied on these omissions,

and suffered damages as a result.

                                COUNT VII
                 BREACH OF THE DUTY OF GOOD FAITH
                          AND FAIR DEALING
                   (On Behalf of the Minnesota Sub-Class)

      170. Plaintiffs and the Class incorporate by reference each preceding and

succeeding paragraph as though fully set forth at length herein.

      171. Every contract in Minnesota contain an implied covenant of good

                                       - 126 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 127 of 129




faith and fair dealing. The implied covenant of good faith and fair dealing is an

independent duty and may be breached even if there is no breach of a contract's

express terms.

      172. Defendants breached the covenant of good faith and fair dealing

through malicious conduct by, inter alia, failing to notify Plaintiffs and Class

members of the Engine Defect in the Class Vehicles, and failing to fully and

properly repair this defect.

      173. Defendants acted in bad faith and/or with a malicious motive to deny

Plaintiffs and Class members some benefit of the bargain originally intended by

the parties, thereby causing them injuries in an amount to be determined at trial.

                                 COUNT VIII
                           UNJUST ENRICHMENT
           (On Behalf of the Nationwide Class and State Sub-Classes)

      174. Plaintiffs and the Class incorporate the foregoing allegations. This

count is pled in the alternative to the contract-based claims.

      175. Plaintiffs and members of the Class conferred a benefit on

Defendants.

      176. Defendants had knowledge that this benefit was conferred upon them.

      177. Defendants have been and continue to be unjustly enriched at the

expense of Plaintiffs, and their retention of this benefit under the circumstances

would be inequitable.



                                        - 127 -
           CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 128 of 129




                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs, on behalf of themselves and members of the

Classes, respectfully requests that this Court:

      A.     determine that the claims alleged herein may be maintained as a class

             action under Rule 23 of the Federal Rules of Civil Procedure, and

             issue an order certifying the Classes as defined above;

      B.     appoint Plaintiffs as the representative of the Classes and their counsel

             as Class counsel;

      C.     award all actual, general, special, incidental, statutory, and

             consequential damages to which Plaintiffs and Class members are

             entitled;

      D.     award pre-judgment and post-judgment interest on such monetary

             relief;

      E.     grant appropriate injunctive and/or declaratory relief, including,

             without limitation, an order that requires Honda to repair, recall,

             and/or replace the Class Vehicles and to extend the applicable

             warranties to a reasonable period of time, or, at a minimum, to

             provide Plaintiffs and Class members with appropriate curative notice

             regarding the existence and cause of the manufacturing defect;

      F.     award reasonable attorney’s fees and costs; and



                                        - 128 -
          CASE 0:22-cv-00736 Doc. 1 Filed 03/23/22 Page 129 of 129




     G.    grant such further relief that this Court deems appropriate.


Dated: March 23, 2022         Respectfully submitted,

                                s/ Daniel C. Hedlund
                                Daniel C. Hedlund (#258337)
                                Daniel E. Gustafson (#202241)
                                Catherine K. Smith (#353723)
                                Anthony J. Stauber (#401093)
                                Canadian Pacific Plaza
                                120 South Sixth Street, Suite 2600
                                Minneapolis, Minnesota 55402
                                Tel: (612) 333-8844
                                Fax: (612) 339-6622
                                dhedlund@gustafsongluek.com
                                dgustafson@gustafsongluek.com
                                csmith@gustafsongluek.com
                                tstauber@gustafsongluek.com

                                Matthew D. Schelkopf (pro hac vice to be filed)
                                Joseph B. Kenney (pro hac vice to be filed)
                                SAUDER SCHELKOPF
                                1109 Lancaster Avenue
                                Berwyn, PA 19312
                                Tel: (610) 200-0581
                                Facsimile: (610) 421-1326
                                mds@sstriallawyers.com
                                jbk@sstriallawyers.com

                                Nicholas A. Migliaccio (pro hac vice to be filed)
                                Jason S. Rathod (pro hac vice to be filed)
                                Migliaccio & Rathod LLP
                                412 H Street N.E., Ste. 302
                                Washington, DC 20002
                                Tel: (202) 470-3520
                                nmigliaccio@classlawdc.com
                                jrathod@classlawdc.com

                                Counsel for Plaintiffs

                                     - 129 -
